                                                                         Page 1
 1           KIRK WYE BROWN, Ph.D.
 2                 UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF NEW YORK
 3   ---------------------------------------------------------
     VILLAGE OF STILLWATER, TOWN OF STILLWATER,
 4   TOWN OF WATERFORD, WATER COMMISSIONERS OF
     THE TOWN OF WATERFORD, VILLAGE OF WATERFORD,
 5   TOWN OF HALFMOON and COUNTY OF SARATOGA,
 6                                    Plaintiffs,
 7              -against-                             1:09-CV-0228, DNH-DRH
 8

     GENERAL ELECTRIC COMPANY, UNITED STATES
 9   ENVIRONMENTAL PROTECTION AGENCY and LISA P.
     JACKSON, Administrator of the United States
10   Environmental Protection Agency,
11                                    Defendants.
     ---------------------------------------------------------
12   SARATOGA COUNTY WATER AUTHORITY,
13                                    Plaintiff,
14             -against-                              1:11-CV-0006 DNH-DRH
15   GENERAL ELECTRIC COMPANY,
16                                    Defendant.
     ---------------------------------------------------------
17

18                STENOGRAPHIC MINUTES OF VIDEOTAPED SWORN
19   TESTIMONY conducted of KIRK WYE BROWN, Ph.D., on the 16th
20   day of April 2014, at the offices of Dreyer Boyajian, 75
21   Columbia Street, Albany, New York, commencing at 9:06
22   a.m., before DIANE DALY-GAGE, a Shorthand Reporter and
23   Notary Public within and for the State of New York.
24

25   TSG Job #72747

                      TSG Reporting - Worldwide   877-702-9580
                                                                Page 2
 1           KIRK WYE BROWN, Ph.D.
 2   APPEARANCES:
 3   On behalf of Plaintiffs Village of Stillwater,
     Town of Stillwater, Town of Waterford, Water
 4   Commissioners of the Town of Waterford, Village of
     Waterford, County of Saratoga and Saratoga County
 5   Water Authority:
 6          DREYER BOYAJIAN
            75 Columbia Street
 7          Albany, New York 12210
            BY: DONALD BOYAJIAN, ESQ.
 8
 9
10   On behalf of Plaintiff Town of Halfmoon,
11          NOLAN & HELLER
            39 North Pearl Street
12          Albany, New York 12207
            BY: PATRICK TEDESCO, ESQ.
13
14
15
16   On behalf of Defendant General Electric Company:
17          WILLIAMS & CONNOLLY
            725 Twelfth Street, NW
18          Washington, DC 20005
            BY: NEELUM WADHWANI, ESQ.
19          -and-
            JONATHAN WILLIAMS, ESQ.
20
21
22
23
24
25   VIDEOGRAPHER:   DREA LEANZA

                     TSG Reporting - Worldwide   877-702-9580
                                                                Page 3
 1           KIRK WYE BROWN, Ph.D.
 2                    S-T-I-P-U-L-A-T-I-O-N-S
 3

 4             It is hereby stipulated and agreed by and
 5   between the attorneys for the respective parties hereto
 6   that the sealing and filing of the Notary's oath be
 7   waived; that the examination be conducted before Diane
 8   Daly-Gage, a Shorthand Reporter and Notary Public in and
 9   for the State of New York; that the filing of the
10   transcript of testimony in the Office of the Clerk of the
11   Court be waived; that all objections to questions, except
12   as to the form thereof, are specifically reserved to the
13   time of trial; and that the transcript of testimony may
14   be signed before any Notary Public or other officer
15   authorized to administer oaths.
16

17

18

19

20

21

22

23

24

25



                     TSG Reporting - Worldwide   877-702-9580
                                                                         Page 4
 1             KIRK WYE BROWN, Ph.D.
 2        VIDEOGRAPHER:             This is the start of tape
 3   labeled number one of the videotaped deposition
 4   of Kirk Wye Brown, Ph.D., in the matter of
 5   Village of Stillwater, et al, plaintiffs
 6   against General Electric Company, defendant,
 7   United States District Court, Northern District
 8   of New York, case number 1:09-CV-00228 DNH-DRH.
 9   This deposition is being held at Dreyer
10   Boyajian, 75 Columbia Street, Albany, New York
11   on April 16th, 2014 at approximately 9:06 a.m.
12        My name is Drea Leanza.                       I am the legal
13   video specialist from TSG Reporting, Inc.
14   headquartered at 747 3rd Avenue, New York, New
15   York.    The court reporter is Diane Daly in
16   association with TSG Reporting.
17        Will counsel please introduce yourself.
18        MR. BOYAJIAN:             I'm Donald Boyajian from
19   Dreyer Boyajian on behalf of Saratoga County
20   and the Saratoga County Water Authority.
21        MR. TEDESCO:             Patrick Tedesco from Nolan
22   and Heller on behalf of the Town of Halfmoon.
23        MS. WADHWANI:             Neelum Wadhwani from
24   Williams & Connolly on behalf of General
25   Electric Company.


             TSG Reporting - Worldwide   877-702-9580
                                                                            Page 5
 1                        KIRK WYE BROWN, Ph.D.
 2                  MR. WILLIAMS:              And Jonathan Williams from
 3             Williams & Connolly on behalf of General
 4             Electric Company.
 5                  VIDEOGRAPHER:              Will the court reporter
 6             please swear in the witness.
 7   Thereupon,
 8                              KIRK WYE BROWN,
 9             (having been first duly sworn by the Notary
10             Public, was examined and testified as follows:)
11                  VIDEOGRAPHER:              Please proceed.
12   BY MS. WADHWANI:
13   Q   Good morning, Dr. Brown.
14   A   Good morning.
15   Q   As a prefatory statement I will tell you that I have
16       a little bit of a cold today.                    So if you're having a
17       hard time hearing me, especially through my scratchy
18       voice, I apologize.            Please just ask me to speak up
19       and I will do so.
20                  You've been deposed before?
21   A   I have.
22   Q   How many times?
23   A   Oh, it's near 100.
24   Q   When was the last time you were deposed?
25   A   It's on my resume.            It was late last year.


                        TSG Reporting - Worldwide   877-702-9580
                                                                                 Page 6
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   Okay.   Since you've been deposed well over a hundred
 3       times if it's okay with you I'll skip over the
 4       preamble about how this will work.                       I'm sure you
 5       know that very well.
 6                   When were you first engaged to work on the
 7       matter in this case?
 8   A   I was first engaged back in 2009.
 9   Q   2009 did you say?
10   A   Yes.
11   Q   And at that time in 2009 what was the nature of your
12       engagement?
13   A   I was asked to look at the dredging, potential
14       dredging, I was engaged before the dredging, the
15       potential impact of the dredging on the PCB
16       concentrations in the river.
17   Q   Who were you engaged by?
18   A   Boyajian.
19   Q   Dreyer Boyajian?
20   A   Yes.
21   Q   Was it Mr. Don Boyajian sitting here today?
22   A   Yes.
23   Q   And were you retained on behalf of any particular
24       municipality or entity?
25   A   There were a group of them but I don't know whether


                       TSG Reporting - Worldwide   877-702-9580
                                                                                Page 7
 1                      KIRK WYE BROWN, Ph.D.
 2       that's changed over time.                Stillwater, Waterford are
 3       the two that stick out in my mind.
 4   Q   Okay.    I see that you've brought some materials with
 5       you today.
 6   A   Right.
 7   Q   What did you bring?
 8   A   I brought a copy of my report, rebuttal report,
 9       other people's reports, rebuttal reports in this
10       case.    I also brought the references that I used in
11       my report.    So I have the references, in some cases
12       not the whole thing, but the excerpts from them.                       I
13       brought papers -- one of the problems that we've had
14       was we were looking at papers concerning what was
15       known when about the movement of groundwater, the
16       modeling of groundwater and things of that nature
17       and that work was done particularly at the Hanford
18       site, among others, but there was a lot done at the
19       Hanford site.      And some of those papers made it into
20       my report, but because of the age of the papers,
21       it's been difficult to get them.                    Since then I've
22       gotten a few more.          So I brought that to disclose
23       that for you.
24   Q   And let me ask you a question there about those
25       papers related to the Hanford site.                     Did you have


                      TSG Reporting - Worldwide   877-702-9580
                                                                Page 8
 1                    KIRK WYE BROWN, Ph.D.
 2       those papers with you when you formed your opinions
 3       in this case?
 4   A   Those that are cited in my report I had at the time.
 5       But since you have to get these off of interlibrary
 6       loan and microfiche, some came in later and I just
 7       wanted to be sure that you had the complete package.
 8   Q   I appreciate that.        My question to you is, the ones
 9       that came in later had you read those later articles
10       prior to submitting your expert report in this case?
11   A   No, I didn't have them at that time.
12   Q   And did you have those articles prior to submitting
13       your rebuttal report in this case?
14   A   One or two of them came in in between, but I would
15       have difficulty sorting out that.
16   Q   If you look through those could you tell me which
17       ones came in between your expert report and your
18       rebuttal report?
19   A   No, I couldn't tell you.
20   Q   Did you read and rely upon the one or two articles
21       related to the Hanford site that came in subsequent
22       to your original report but before your rebuttal
23       report in drafting your rebuttal report?
24   A   No, I did not.     And then to complete the response to
25       your question, I brought in a few documents that


                    TSG Reporting - Worldwide   877-702-9580
                                                                          Page 9
 1                     KIRK WYE BROWN, Ph.D.
 2       deal with statistical analysis that I did of some of
 3       the data and some excerpts of transect studies, some
 4       information on sediment traps, machines and also a
 5       series of memos and internal memos and other
 6       correspondence concerning the notice of violations
 7       and the response to those by the GE employees.
 8   Q   Okay.   What we'll probably do is at a break I'll
 9       take a look at these and we'll probably mark some.
10       But for now I'd like you just to set those aside and
11       at any point during my questioning if you want to
12       look at those, you should feel free to do so.
13                  I'm going to go ahead and mark exhibits
14       one, two and three right now.                 Exhibit 1 is the
15       expert report of Kirk Wye Brown dated
16       September 13th, 2013.
17            (Brown Exhibit 1 was marked for
18            identification.)
19                  MS. WADHWANI:           I'm going to mark as
20            Exhibit 2 the expert rebuttal report of Dr.
21            Brown, dated February 14th, 2014.
22            (Brown Exhibit 2 was marked for
23            identification.)
24                  MS. WADHWANI:           And we're going to mark as
25            Exhibit 3 what was handed to me this morning by


                     TSG Reporting - Worldwide   877-702-9580
                                                                   Page 10
 1                         KIRK WYE BROWN, Ph.D.
 2              Mr. Peluso and represented to be an update of
 3              your resume, Dr. Brown; is that correct?
 4   A   That's correct.
 5              (Brown Exhibit 3 marked for identification.)
 6   BY MS. WADHWANI:
 7   Q   Dr. Brown, can you please confirm that the two
 8       exhibits we marked as Brown Exhibit 1 and Brown
 9       Exhibit 2 are the expert witness report and the
10       expert rebuttal report that you have submitted in
11       this case?
12   A   Yes, they are.
13   Q   Focusing on Brown Exhibit 1, your expert report in
14       this case, could you please turn to page 13?
15   A   Yes.
16   Q   Section 1.3 states that your hourly rate of
17       compensation in this case is $300 per hour for
18       non-testimony time, and $350 per hour for testimony
19       time.    Are those statements factually correct?
20   A   Yes.
21   Q   I saw in your report that you're an independent
22       consultant; is that right?
23   A   That's correct.
24   Q   Does that mean that you don't work for any company
25       presently?


                        TSG Reporting - Worldwide   877-702-9580
                                                                    Page 11
 1                      KIRK WYE BROWN, Ph.D.
 2   A   That's right.
 3   Q   You work for yourself?
 4   A   Right.
 5   Q   How many non-testifying hours have you spent working
 6       on this engagement?
 7   A   A little bit over 100.             Now, let me also, sort of
 8       full disclosure, I have a man who works with me on
 9       this.
10   Q   What's the name of that gentleman?
11   A   Mike Goladay, G-O-L-A-D-A-Y.
12   Q   Do you know how many hours Mr. Goladay has worked?
13   A   I do not, but we could look at the billing through
14       what was billed.
15   Q   Okay.    Do you have a best approximation of how many
16       hours Mr. Goladay has worked?
17   A   More than I have.
18   Q   Besides Mr. Goladay did you hire, retain any other
19       person to assist you with work on this matter?
20   A   Did retain -- actually Mike did, a graduate student
21       to run the statistical analysis that I relied on.
22   Q   And what's the name of this graduate student?
23   A   Oh, boy, I don't recall.
24   Q   And what's the statistical analysis that this person
25       performed?


                      TSG Reporting - Worldwide   877-702-9580
                                                                  Page 12
 1                      KIRK WYE BROWN, Ph.D.
 2   A   Ran a regression analysis on the concentrations
 3       measured at several locations in the Hudson River,
 4       concentrations of PCBs.
 5   Q   Do you know when this statistical analysis was
 6       performed?
 7   A   Not specifically.         It was before the -- before the
 8       report.
 9   Q   Do you know where that data concerning the PCB
10       concentrations in the river was derived from?
11   A   Yes.    From the EPA databank.
12   Q   Do you know what years were used?
13   A   Yes.    2004 through 2013.
14   Q   When did Mr. Goladay start working on this matter?
15   A   2009.
16   Q   And what has been the nature, generally speaking, of
17       the work he has assisted you with?
18   A   Well, initially we were in the process of preparing
19       I believe it was an affidavit before there was a
20       settlement reached concerning the possibility of
21       replacing the water supplies during dredging.           That
22       was the initial activity.
23   Q   A settlement with whom?
24   A   I'm not clear on who the settlement was, but my
25       understanding was that there was an agreement that


                      TSG Reporting - Worldwide   877-702-9580
                                                                             Page 13
 1                     KIRK WYE BROWN, Ph.D.
 2       EPA would provide all the water or pay for if
 3       necessary during that period.
 4   Q   And for whom -- scratch that.
 5                  With whom was this settlement reached?
 6                  MR. BOYAJIAN:           Objection.          Asked and
 7             answered.
 8   A   Yeah.   I don't know the details of that.
 9   Q   You don't know which municipality or entity received
10       the water supplies during that settlement?
11   A   I don't know what the details of that are.                    No.
12   Q   Okay.   Did you know at the time?
13   A   No.
14   Q   What else has Mr. Goladay done to assist you in your
15       engagement in this matter?
16   A   Moving forward then once we were given the current
17       assignment which was to write a report.                    He gathered
18       the literature and does all the electronic
19       communication on it.          He also drafted parts of the
20       report.
21   Q   Okay.   Sitting here today do you recall which parts
22       of the report that Mr. Goladay drafted or which
23       sections, subject matters?
24   A   Yeah.   We worked together on it and discussed it
25       back and forth.      And he generally after our


                     TSG Reporting - Worldwide   877-702-9580
                                                                          Page 14
 1                       KIRK WYE BROWN, Ph.D.
 2       discussions writes it up, gets the references
 3       together to support it and then I review it, revise
 4       it as I want.       I also tell him what points I want to
 5       make and what references we ought to use for them,
 6       that type of thing.           We've been doing this for 15
 7       years together.        He was my graduate student at one
 8       time, so we make a rather effective team at putting
 9       these things together.
10   Q   Did you supervise Mr. Goladay's dissertation?
11   A   I did.
12   Q   What was the topic of his dissertation?
13   A   Oh, boy, I don't recall.                  It's been too far back and
14       I've supervised so many that I don't recall.
15   Q   Was Mr. Goladay in the department of agronomy at
16       Texas A&M when he received his dissertation?
17   A   He was at that time, yes.
18   Q   And he received his dissertation from Texas A&M?
19   A   It's a master's degree.
20   Q   A master's degree, I apologize.                     Thank you.
21   A   Yes.
22   Q   Do you know if Mr. Goladay went on and received a
23       Ph.D.?
24   A   He did not.
25   Q   Besides Mr. Goladay and yourself did anyone else


                       TSG Reporting - Worldwide    877-702-9580
                                                                        Page 15
 1                     KIRK WYE BROWN, Ph.D.
 2       draft segments of your expert rebuttal report or
 3       your expert report?
 4   A   No.
 5   Q   Did you review and approve the final versions of
 6       your report before they were submitted to GE on your
 7       behalf?
 8   A   Oh, yes.
 9   Q   Can you please turn to page eight of your original
10       report that we've marked as Exhibit 1.                 In Section
11       1.0 at the top of page eight of your initial report
12       it's entitled Introduction.                Do you see that?
13   A   Yes.
14   Q   And in this section you identified the topics you
15       were asked to opine about in this matter for
16       purposes of this report in letters A through D.
17       Does Section 1.0 accurately set forth the topics you
18       were asked to provide opinions on in this case?
19   A   Yes.   For the report.
20   Q   What do you mean by that?
21   A   Well, once it came to the rebuttal report, than that
22       expanded somewhat because we were then responding to
23       other experts' reports.
24   Q   For purposes of your expert report that you
25       submitted on September 13, 2013 the topics listed in


                     TSG Reporting - Worldwide   877-702-9580
                                                                        Page 16
 1                     KIRK WYE BROWN, Ph.D.
 2       A through D are the topics for which you were asked
 3       to provide opinions on; correct?
 4   A   Correct.
 5   Q   And so is it fair to say that in short you were
 6       asked to provide opinions concerning the impact of
 7       PCBs on the Hudson River, the impacts of PCBs on the
 8       public water systems that rely upon the Hudson for
 9       potable water and the impacts of PCBs upon the
10       exposure of residents and communities along the
11       Hudson?
12   A   Yes.
13   Q   And what do you mean here in this Section 1.0 by
14       impacts?
15   A   Essentially how it altered the, and it changes
16       somewhat from one to another, but how the PCBs
17       altered the concentration of PCBs in the river and
18       how they were partitioned between, for instance oil
19       settlement in the river and the water, which isn't
20       specifically mentioned there.                 Well, the water is
21       the second one.      And then how that would've impacted
22       the drinking water.
23   Q   Okay.   And when you say how the PCBs altered the
24       concentrations in the water, the concentrations of
25       what?


                     TSG Reporting - Worldwide   877-702-9580
                                                                          Page 17
 1                      KIRK WYE BROWN, Ph.D.
 2   A   Of PCBs.
 3   Q   So I'm a little confused now.
 4   A   Well, what we were looking at is the PCBs were
 5       released into the river, they're partitioned into
 6       various components, the sediments, the oils, and
 7       then that impacts what the concentrations are going
 8       to be in the water.
 9   Q   Okay.    You said just a moment ago that what you mean
10       by impacts changes a little bit for each of these
11       topics that you've listed here in Section 1.0.                   So
12       looking first at Section A, what do you mean by the
13       impacts of PCBs released by the General Electric
14       Company facilities on the oil, sediments, channel
15       and river banks of the Hudson River?
16   A   What I mean is how the released PCBs changed the
17       concentration in these segments, the oil and
18       sediment and then the water.                 So once they were
19       released into the river, how did they partition to
20       these different components.
21   Q   Just so I'm clear then.             For Section A you looked at
22       how once the PCBs made their way into the river they
23       partitioned into various aspects of the river, soils
24       versus sediments versus the flowing water?
25   A   Right.


                      TSG Reporting - Worldwide   877-702-9580
                                                                           Page 18
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   Thank you.     And for Section B what do you mean by
 3       impacts in this statement?
 4   A   Here how what the concentrations were in the water.
 5       So their release impacted the concentration in the
 6       water is a better way to look at it perhaps.
 7   Q   Okay.    I'm still a little confused as to what
 8       precisely we're looking at.                  PCBs released into the
 9       water.    Were you looking at the impact on
10       concentrations over time of PCBs in the Hudson
11       River?
12   A   Yes.
13   Q   Was there a specific time period that you were
14       looking at?
15   A   Essentially the time period for which there's data
16       available.
17   Q   And what periods were those?
18   A   Well, samples were started back in the late '60s
19       early '70s.     Data was sporadic.                 And then of course
20       much more concentrated once we got into the 2006,
21       2007 timeframe.
22   Q   What were the sources of the data that you looked at
23       concerning PCB concentrations in the river?
24   A   It was collected by the New York State Health
25       Department, it was collected by the EPA and then


                       TSG Reporting - Worldwide   877-702-9580
                                                                        Page 19
 1                      KIRK WYE BROWN, Ph.D.
 2       ultimately it was collected by GE and their
 3       contractors.
 4   Q   Turning to Section C, impacts in this section means
 5       what?
 6   A   Means how did the concentrations in the water impact
 7       the concentrations that were being picked up by the
 8       water supply systems.
 9   Q   And what did you conclude with regard to that?
10   A   Well, certainly that the PCBs were being picked up
11       by the water supply systems.
12   Q   Which water supply systems were you looking at?
13   A   Halfmoon, Waterford, Stillwater and yeah, I lost the
14       fourth one in my mind.            There are four of them.      For
15       some reason I'm drawing a blank on it.                 I'll come up
16       with it in a bit.
17   Q   Okay.   If you remember you can let me know.               What
18       kind of impact did you conclude occurred with those
19       public water systems?
20   A   Well, certainly the PCBs were being picked up and
21       were present in the water supply systems.
22   Q   Do you recall what concentrations those PCBs were
23       present at in the water systems?
24                  MR. BOYAJIAN:           Objection to form.
25   A   Not without looking back at the data.


                     TSG Reporting - Worldwide   877-702-9580
                                                                  Page 20
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   Do you recall what timeframes you saw these PCBs in
 3       the water supply systems?
 4   A   It would've been in the 2008, 2009 timeframe.
 5   Q   Okay.   And any other timeframe?
 6   A   Not that I recall.
 7   Q   In Section D here what do you mean by impacts?
 8   A   Well, once they get into the water system then
 9       they're going to be distributed to the residents who
10       drink them.     So it's a matter of the health risks to
11       those residents.
12   Q   When you say once they get into the water system,
13       are you referring to PCBs?
14   A   Yes.
15   Q   And what water system are you referring to?
16   A   The water systems in question in this case, the
17       Stillwater, Halfmoon, Waterford.
18   Q   Okay.   Are you aware that the Waterford plaintiffs
19       and the Stillwater plaintiffs have settled their
20       claims with the General Electric Company?
21   A   I am.
22   Q   So is it your intent to provide any opinions related
23       to the claims brought by the Stillwater plaintiffs
24       and the Waterford plaintiffs in this case?
25   A   No.    And I got my mind around the fourth plaintiff,


                       TSG Reporting - Worldwide   877-702-9580
                                                                            Page 21
 1                      KIRK WYE BROWN, Ph.D.
 2       and that is the County of Saratoga and their water
 3       supply district.
 4   Q   Okay.    Are you referring to the Saratoga County
 5       Water Authority?
 6   A   Yes.
 7   Q   Do you know when the Saratoga County Water Authority
 8       went on line?      When it first started serving water?
 9   A   I don't have an exact date in mind.                     It was in late
10       2010s.    We don't have a name for that decade.
11   Q   2010 does that sound right?
12   A   Well, right.
13   Q   Do you have an understanding of where the Saratoga
14       County Water Authority draws its raw water from?
15   A   Yes.
16   Q   What is your understanding?
17   A   Above the location where the river was polluted.
18   Q   Okay.    Do you know specifically that location?
19   A   Yes.    Moreau.
20   Q   Moreau?
21   A   Moreau, yes.
22   Q   And so what impacts of PCBs were you looking at
23       related to Saratoga County Water Authority?
24   A   Well, they had to make a decision as to where they
25       were going to take their water from the river.                    And


                      TSG Reporting - Worldwide   877-702-9580
                                                                          Page 22
 1                     KIRK WYE BROWN, Ph.D.
 2       the impact is that the presence of PCB influenced
 3       their decision to take the water out above the
 4       contamination.
 5   Q   How do you know that?
 6   A   Reading the reports that were done on the water
 7       systems.
 8   Q   Which reports?
 9   A   There were a series of reports going all the way
10       back to '95 in which they were aware and mentioned
11       that the PCBs were consideration in where they
12       should get their water as they began to look at
13       water sources to supply the county.
14   Q   Okay.   In your original report here do you provide
15       any opinions to the effect of what you just stated
16       about the Saratoga County Water Authority?
17   A   No.
18   Q   Looking at part D you also state here that you're
19       looking at the impacts of PCBs released by the
20       General Electric Company facilities on the
21       continuing exposure of residents of the communities
22       along the Hudson River to PCBs.                  What do you mean by
23       exposure here?
24   A   Well, exposure via drinking water, but their
25       exposure by other avenues certainly.                   Contamination


                     TSG Reporting - Worldwide   877-702-9580
                                                                                Page 23
 1                      KIRK WYE BROWN, Ph.D.
 2       of the air, contamination of fish in the river.
 3   Q   But for part D when you use the word exposure, you
 4       were referring to the drinking water?
 5   A   That was a primary exposure, but there are others.
 6   Q   In preparing your initial report that we've marked
 7       as Exhibit 1 did you communicate either in writing
 8       or in conversation with either -- I'm sorry, with
 9       any of the other plaintiffs' experts in this case?
10   A   No, I did not.
11   Q   How about as you prepared your rebuttal report that
12       we marked as Exhibit 2, did you communicate with any
13       of the other plaintiffs' experts in this case?
14   A   I did not.
15   Q   In preparing either of your reports did you review
16       any of the other reports by plaintiffs' experts in
17       this case?
18   A   Yes.
19   Q   Whose reports did you review?
20   A   I reviewed the reports of, and I have them right
21       here.    That's the best way to do it.                    Johnson,
22       Shifrin, Warner and Connolly.
23   Q   And so you just mentioned --
24                   MR. BOYAJIAN:           Go ahead.           You're going
25              follow-up?


                      TSG Reporting - Worldwide   877-702-9580
                                                                     Page 24
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   Yeah.    You just mentioned experts who are defense
 3       experts.    Is that your understanding?
 4   A   Yes.    Right, right.
 5   Q   And I want to get to that but my question to you
 6       was -- we'll start again.
 7                   In preparing your original expert report
 8       that we are marked as Exhibit 1, did you review any
 9       of the other reports prepared by plaintiffs' experts
10       in this case?
11   A   No.
12   Q   In preparing your rebuttal report did you review any
13       of the reports by plaintiffs' experts in this case,
14       either rebuttal or initial reports?
15   A   Not that I recall.
16   Q   Are you relying on any of the opinions expressed by
17       any of the other plaintiffs' experts in this case?
18   A   No.
19   Q   Now, sorry to cut you off earlier when you were
20       telling me the reports that you had reviewed that
21       were defense expert reports.                 Did you have
22       additional ones?
23   A   The four that I mentioned were the ones that I
24       reviewed.
25   Q   Did you review those in preparation for your


                      TSG Reporting - Worldwide   877-702-9580
                                                                       Page 25
 1                       KIRK WYE BROWN, Ph.D.
 2       rebuttal report?
 3   A   Yes.
 4   Q   Did you attend the deposition of Robert Michaels
 5       yesterday?
 6   A   I did.
 7   Q   Did you attend the entire deposition?
 8   A   No.
 9   Q   What time did you leave the deposition,
10       approximately?
11   A   Approximately an hour before it was over is my
12       understanding.
13   Q   Do you remember what time of day you left?
14   A   It would have been approximately 3:30.
15   Q   Did you find it helpful to attend Mr. Michaels
16       deposition in preparation for your own today?
17                 MR. BOYAJIAN:              Objection to the form.
18   A   It may be.     We'll find out.
19   Q   When you left yesterday did you find that experience
20       to have been helpful in your preparation for today's
21       deposition?
22                 MR. BOYAJIAN:              Objection to the form.
23   A   It didn't impact it one way or the other.                I still
24       did my preparation.
25   Q   Did Mr. Michaels state any opinions at his


                       TSG Reporting - Worldwide   877-702-9580
                                                                  Page 26
 1                       KIRK WYE BROWN, Ph.D.
 2       deposition with which you disagreed?
 3                 MR. TEDESCO:              Objection to form.
 4   A   No.
 5   Q   Did you discuss Dr. Michaels testimony with him at
 6       any point during his deposition or breaks during his
 7       deposition?
 8   A   No.
 9   Q   Did you discuss Mr. Michaels testimony with him
10       after his deposition was completed?
11   A   No.
12   Q   Was yesterday the first time that you met
13       Mr. Michaels?
14   A   Yes.
15   Q   Are you relying on any opinions expressed by any
16       experts in this case about whether the use of the
17       Hudson River as a source of drinking water will pose
18       health risks to the citizens of Halfmoon after the
19       dredging project is over?
20   A   I guess the question kind of depends on whether or
21       not they will continue -- they'll go back to using
22       the water from the Hudson River after the dredging
23       project is over.
24   Q   Why does your response to whether you're relying on
25       any opinions expressed by other experts depends on


                       TSG Reporting - Worldwide   877-702-9580
                                                                      Page 27
 1                      KIRK WYE BROWN, Ph.D.
 2       whether Halfmoon goes back to using the Hudson River
 3       as their drinking water source?
 4                   MR. BOYAJIAN:           Objection to the form.
 5   A   Well, if they don't go back to using it then the
 6       questions is answered.             They won't have continuing
 7       health impacts.       If they do go back to using it in
 8       my opinion they will have then continuing exposure
 9       which could have health -- adverse impacts on their
10       health.
11   Q   Okay.    My question to you, Dr. Brown, is -- let's
12       start this way.       You have looked at some number of
13       expert reports in this case other than your own;
14       correct?
15   A   Right.
16   Q   And of the expert reports that you have looked at
17       are you relying on any opinions contained within
18       those reports about whether the Hudson River will
19       pose health risks to the citizens of Halfmoon if
20       they go back to using the Hudson River?
21                   MR. BOYAJIAN:           Objection to the form.
22   A   No, I'm not relying on other experts for that.               I
23       have my own opinion on that.
24   Q   Okay.    And what is your opinion on that?
25   A   That they will continue to suffer exposure and


                      TSG Reporting - Worldwide   877-702-9580
                                                                 Page 28
 1                      KIRK WYE BROWN, Ph.D.
 2       health risks if they go back to using the river
 3       water.
 4   Q   When you say they will continue to suffer exposure
 5       what do you mean by that?
 6   A   Well, they've already been exposed over time.
 7   Q   And it's your opinion that if the Town of Halfmoon
 8       goes back to using the Hudson River its customers
 9       will be further exposed to PCBs?
10   A   Yes.
11   Q   And it's also your opinion that if the Town of
12       Halfmoon goes back to using the Hudson River that
13       its customers will be at risk of adverse health
14       effects?
15   A   Yes.
16                  MR. TEDESCO:           Object to the form.
17   Q   And what's the basis of your opinion that there's a
18       risk of adverse health effects to the customers of
19       the Town of Halfmoon if they use the Hudson River?
20   A   Ingestion of PCB contaminated water increases the
21       probability of cancer and other health risks.
22   Q   And how do you know that?
23   A   From reading the literature, from my studies, from
24       my awareness of this problem for decades.
25   Q   What literature have you looked at?


                     TSG Reporting - Worldwide   877-702-9580
                                                                 Page 29
 1                       KIRK WYE BROWN, Ph.D.
 2   A   Well, certainly the most recent one was the
 3       International Agency on Research on cancer made a
 4       statement.    But I've followed carefully over the
 5       years the various sets of data that are utilized to
 6       determine whether a chemical is a potential
 7       carcinogen or whether it's a carcinogen, and I know
 8       that process well.          Actually, I've been a reviewer
 9       for the ATSDR for making that determination on
10       certain chemicals.
11   Q   Are you a toxicologist, Dr. Brown?
12   A   I have not -- I don't have a degree in toxicology,
13       but I have in fact worked on various components of
14       toxicology over the years.
15   Q   Over the years have you worked on components of
16       toxicology related to human health risks associated
17       with PCBs?
18   A   Not specifically PCBs, but I have worked on many
19       other chemicals.
20   Q   But not PCBs?
21   A   Not PCBs.
22   Q   Are you an epidemiologist?
23   A   No.
24   Q   Do you have epidemiological training?
25   A   No.


                      TSG Reporting - Worldwide   877-702-9580
                                                                         Page 30
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   Have you published any articles on the human health
 3       effects of PCBs in peer reviewed literature?
 4   A   I have not.
 5   Q   So following up on this discussion we've been
 6       having.   Can you turn to page 44 please of your
 7       original report which we marked as Exhibit 1.
 8   A   Yes.
 9   Q   I'll be there in a second.                 And I'm looking at
10       specifically here at Section 4.11 entitled
11       Alternative Water where you state that, "It is your
12       opinion that until all of PCBs already in the river
13       in the sources of PCBs still entering the river have
14       been identified and removed including those in the
15       well field at Stillwater, an alternative water
16       source that is proven and reliable must be available
17       to the Village of Stillwater and Towns of Waterford
18       and Halfmoon to protect against the risk of
19       unacceptable amounts of PCBs threatening the water
20       supplies."     Now, we've already discussed that
21       insofar as your opinions here are towards the claims
22       of the Stillwater plaintiffs and the Waterford
23       plaintiffs, you won't be offering those opinions at
24       trial; correct?
25   A   That's correct.


                       TSG Reporting - Worldwide   877-702-9580
                                                                             Page 31
 1                     KIRK WYE BROWN, Ph.D.
 2   Q   So focusing on the Town of Halfmoon.                   Is it your
 3       opinion that until there are zero PCBs in the river
 4       it is unsafe for the Town of Halfmoon to provide
 5       drinking water through its water treatment plant to
 6       its customers?
 7   A   Yes.
 8   Q   Do you have an opinion as to when Halfmoon's
 9       exposure to PCBs started?
10                  MR. TEDESCO:           Objection to the form.
11   A   I'd have to look back at the record.
12   Q   What do you need to look back at?
13   A   I have to look back at something that said when
14       their water supply system was constructed.
15   Q   Is it your opinion that as soon as the Town of
16       Halfmoon built their own water treatment plant and
17       started using it, they were exposed to PCBs?
18                  MR. TEDESCO:           Objection to the form.
19   A   Once they began drawing from the river and supplying
20       that water, yes, I believe people would have been
21       exposed to PCBs.
22   Q   Okay.   Were you aware that prior to the Town of
23       Halfmoon using their own water treatment plant with
24       an intake in the Hudson River, that the Town of
25       Halfmoon had obtained water from Waterford?


                     TSG Reporting - Worldwide   877-702-9580
                                                                       Page 32
 1                        KIRK WYE BROWN, Ph.D.
 2   A   Yes.
 3   Q   And do you know what Waterford's source of drinking
 4       water was that was providing to Halfmoon?
 5   A   My understanding was it was the Hudson River.
 6   Q   Is it your opinion then that when the customers of
 7       the Town of Halfmoon were taking water from
 8       Waterford, which was coming from the Hudson River,
 9       that the customers of the Town of Halfmoon were
10       exposed to PCBs at that point?
11                   MR. BOYAJIAN:             Note my objection to the
12              form.
13   A   Yes.
14   Q   Do you know when the Town of Halfmoon entered into
15       its contract with Waterford to take water from
16       Waterford?
17                   MR. TEDESCO:             Objection to the form.
18   A   I don't have a -- I know that transition happened,
19       but I don't know the date.
20   Q   If I represent to you that it was in the early '80s,
21       my recollection is 1981, although I could be wrong,
22       but it was in the early 1980s, do you have any
23       reason to disagree with that?
24   A   No.
25   Q   So is it your opinion that the residents of the Town


                        TSG Reporting - Worldwide   877-702-9580
                                                                      Page 33
 1                      KIRK WYE BROWN, Ph.D.
 2       of Halfmoon have been exposed to PCBs since the
 3       early 1980s?
 4                 MR. BOYAJIAN:           Objection to the form.
 5   A   Yes.
 6   Q   I'd like to turn now, and this will be a little bit
 7       of a juggling act, to your resume, which is appended
 8       to the back of your original report that we've
 9       marked as Exhibit 1, in appendix one to that report,
10       along with your updated supplement to your resume
11       that we've marked as Exhibit 3.                 Looking at
12       Exhibit 1 in appendix one, this first document is
13       your resume; correct?
14   A   That's correct.
15   Q   And subject to the supplement that you provided this
16       morning, is everything else in this resume current
17       as far as you know?
18   A   Yes.
19   Q   On the first page of your resume you list here areas
20       of expertise.    Is this a fair and accurate statement
21       of your expertise?
22   A   Yes.
23   Q   Is this section called areas of expertise fully
24       inclusive of the areas of your expertise or are
25       there other areas of expertise that are not stated


                    TSG Reporting - Worldwide   877-702-9580
                                                                             Page 34
 1                     KIRK WYE BROWN, Ph.D.
 2       here?
 3   A   Well, there's always you know interpretation of that
 4       and expansion of that.            For instance, I've listed
 5       toxicity and risk assessment of soils, and I would
 6       add water to that.         So there's some things that I
 7       might if I updated it add to it or.
 8   Q   And that's what I'm trying to get at, is what would
 9       you add to it?      You've told me that you would add
10       water to your expertise on toxicity of soils.                      And
11       is the entry that you're specifically thinking of
12       the toxicity and risk phase assessment of soil
13       contaminates to plant and animals or are you
14       thinking of a different --
15   A   Well, plant, animals and humans.
16   Q   Okay.   So you would add humans to that?
17   A   Yes.
18   Q   And what soil contaminants are you specifically
19       referring to here?
20   A   Essentially it's a very long list.                     Inorganic
21       contaminants, metals, salts and then organic
22       contaminants.     I've studied all kinds of the impact
23       and what happens, fate and transport of what happens
24       to all kinds of organic chemicals, pesticides, oils,
25       organic chemicals, manufactured chlorinated organic


                     TSG Reporting - Worldwide   877-702-9580
                                                                             Page 35
 1                      KIRK WYE BROWN, Ph.D.
 2       chemicals.    A whole series of things.                 In fact I
 3       wrote a book for the EPA in the early '80s on how
 4       these chemicals behave in the soil and how they
 5       would enter the groundwater and how they would enter
 6       the air from the soil.
 7   Q   Are there any other areas of expertise that are not
 8       included here in your resume that you would include
 9       if you were updating it?
10   A   I don't here include expertise on DNAPLs, but that
11       certainly falls within the fate and transport and
12       movement in the soil, in the bedrock underneath the
13       soil, how they get from one location to another.
14       That would be another thing that I would add.
15   Q   Okay.   Anything else?
16   A   Not that I can think of at this time.
17   Q   Is there anything relevant to the opinions you're
18       offering in this case that is not included in your
19       resume?
20                  MR. BOYAJIAN:            Objection to the form.
21   A   I don't believe so.
22   Q   Subject to the additions that you just discussed
23       concerning your areas of expertise, does this
24       section called Area of Expertise accurately and
25       completely describe your expertise for purposes of


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 36
 1                      KIRK WYE BROWN, Ph.D.
 2       consultings, including litigation?
 3   A   Yes, with the amendments that I made.
 4   Q   Okay.    In your areas of expertise you don't list or
 5       hold yourself out as an expert in the fate and
 6       transport the PCBs in surface waters; correct?
 7   A   Not specifically surface waters.                    But the
 8       distinction here is not very great because what
 9       one's looking at is surface waters are just -- you
10       can look at them as soils with just a whole lot more
11       water in them.       So when you look at the chemistry of
12       them and how things partition and how they move, so
13       you're right, I didn't specifically list surface
14       waters.    But that's one that certainly could be
15       added.    I've done that in other cases.
16   Q   Is it your opinion that the fate and transport of
17       PCBs through surface waters behaves exactly like the
18       fate and transport of PCBs in soils?
19                   MR. BOYAJIAN:           Objection.          Misstates the
20             witness's testimony.
21   A   No.   I didn't say exactly.               I'm saying the same --
22       some of the same relationships are used to describe
23       how the chemicals partition between the sediments,
24       the oils that are in the system and the water.                    The
25       movement is controlled differently because now we


                      TSG Reporting - Worldwide   877-702-9580
                                                                              Page 37
 1                        KIRK WYE BROWN, Ph.D.
 2       have velocity of water flowing, erosion and that
 3       type of thing, and certainly I've studied those in
 4       other contexts.
 5   Q   What other contexts have you studied those?
 6   A   Well, I've worked in -- I studied the movement of
 7       PCBs in particular in the Delaware River.                       That was
 8       for a particular litigation case, Metal Banks.
 9   Q   Maybe I can orientate you towards that in your
10       listing here.        And I'm going to use the listing in
11       your original supplement, but if there's something
12       in your original resume which you supplemented
13       relevant to that case, will you point me to it?
14   A   I shall.
15   Q   Okay.    So on let's see here, if we look at page 11
16       of your original report.
17   A   Yes.
18   Q   It says in the last paragraph towards the bottom
19       that...
20                   MR. BOYAJIAN:             I just want to make sure
21              that I'm looking at the right thing just before
22              you proceed.         Not in the appendix.            On the
23              body.
24                   MS. WADHWANI:             Yeah, page 11 of the body.
25                   MR. BOYAJIAN:             Okay.        Thank you.


                        TSG Reporting - Worldwide   877-702-9580
                                                                              Page 38
 1                        KIRK WYE BROWN, Ph.D.
 2   BY MS. WADHWANI:
 3   Q   The last sentence of page 11 that bleeds over onto
 4       page 12 says, "I have studied the partitioning of
 5       PCBs into non-aqueous phase liquids associated with
 6       the Delaware River at the Metal Bank of America
 7       Superfund site in addition to the fate and transport
 8       of PCB containing oils in the mud flats and river
 9       banks of the Delaware River."                     Is that what you were
10       just referring to?
11   A   Yes.
12   Q   And what specifically were you studying here?
13   A   Metal Banks had a piece of property which was
14       actually filled into the Delaware River, kind of a
15       peninsula stuck out into it.                    And they were a metal
16       recyclers.      So what they did was they were breaking
17       and opening transformers at that location in order
18       to recover the metals.               And the PCBs were either
19       spilled or escaped from them onto the soil.                    And
20       then some of them, very low concentrations, bled
21       into the Delaware River.                   And then I also looked at
22       the other sources of PCBs in the Delaware River at
23       that point.      There were some up-gradient sources
24       from some creeks, there were also immediately south,
25       so down-gradient.           There was a source meaning right


                        TSG Reporting - Worldwide    877-702-9580
                                                                         Page 39
 1                      KIRK WYE BROWN, Ph.D.
 2       next to the peninsula, there was a drain that was
 3       bringing water in that had PCBs in it.                 And so I was
 4       trying to look at the relative contribution of these
 5       various sources.
 6   Q   And so was the work that you describe here on pages
 7       11 and 12 of your original report part of your work
 8       in 2001 and 2002 on the United States versus Union
 9       Corp. Metal Bank and Con Ed of New York case that
10       you listed on page 24 of the appendix two to your
11       original report?
12   A   Yes.
13   Q   Now, you note in the appendix that you were retained
14       in that case by the defendants.                  Were you retained
15       by both Metal Bank and Con Ed of New York or just
16       one of them?
17   A   I believe just Metal Bank.
18   Q   And what were your opinions in that case?
19   A   My opinions were that the site did contribute to PCB
20       loaded in the river, but the concentrations that
21       were being released from the site were far lower
22       than the concentrations which already were in the
23       river.   So in fact the contribution was diluting
24       what was already in the river.
25   Q   How did you arrive at that conclusion?


                     TSG Reporting - Worldwide   877-702-9580
                                                                  Page 40
 1                       KIRK WYE BROWN, Ph.D.
 2   A   Essentially doing calculations as to the amount that
 3       was being discharged from the other sources as well
 4       as the amount being discharged from this source.
 5   Q   And how were you able to calculate the various
 6       amounts being discharged across the different
 7       sources?
 8   A   The flow rates and the drainage rates were used in
 9       the concentrations.
10   Q   The flow rates of what?
11   A   Of the streams entering that had PCBs in them and
12       then the draining drape from the Metal Bank site.
13   Q   And what kind of information did the flow rates give
14       you that allowed you to arrive at your opinion?
15   A   The mass that was entering the system.
16   Q   And I see that you were deposed in that case as
17       well; correct?
18   A   I was, yes.
19   Q   And that that testimony took place in May 2002?
20   A   Yes.
21   Q   And that you also provided trial testimony later in
22       2002?
23   A   Yes.
24   Q   At deposition or at trial did you offer any opinion
25       in the case in addition to the ones that we've


                       TSG Reporting - Worldwide   877-702-9580
                                                                            Page 41
 1                      KIRK WYE BROWN, Ph.D.
 2       already discussed?
 3   A   I'd have to go back and look at it.                     I don't recall.
 4   Q   Were there any opinions that you offered in your
 5       reports or in your deposition in that case that you
 6       were not permitted to testify to at trial by the
 7       court?
 8   A   Not that I recall.          No.
 9   Q   Since your work on that case in 2002 have you
10       provided any consulting outside of this matter
11       related to PCBs?
12   A   I've done consulting on other cases where PCBs were
13       involved, other locations that didn't turn into
14       cases.    They were either settled or for some other
15       reason.    But I've worked on other sites where PCBs
16       had been a consideration.
17   Q   And was your consultancy work at those sites
18       specific to PCBs or were PCBs just part of the
19       issues that were going on and you were working on
20       the other issues?
21   A   PCBs were part of the issues.
22   Q   Okay.    And those were part of the issues that you
23       were specifically engaged to work upon?
24   A   Right.
25   Q   Can you tell me about those projects?


                      TSG Reporting - Worldwide   877-702-9580
                                                                          Page 42
 1                      KIRK WYE BROWN, Ph.D.
 2   A   The one that comes to mind is the Krejci site in
 3       Ohio.
 4   Q   What was going on with that site?
 5   A   It was a site where I believe it was a drum recycler
 6       and they had spilled things around and PCBs on the
 7       soil, and PCBs were among them.                   And the question
 8       was what was the risk, how should it be cleaned up,
 9       who was responsible.
10   Q   And were those the three questions that you were
11       specifically looking at?
12   A   That's what I was looking at.                  Yes.
13   Q   Were you looking at any other questions related to
14       PCBs for the Krejci site?
15                   MR. BOYAJIAN:           Objection to the form.
16   A   Movement, how far they move, and what the risk was
17       of them moving off site.
18   Q   And what was the environmental media in which the
19       PCBs were moving?
20   A   That was soil.
21   Q   And what did you ultimately conclude?
22   A   We did the study and we were working towards a
23       report and then they settled, so we never really got
24       there.
25   Q   Okay.    Any other projects that you've worked on


                      TSG Reporting - Worldwide   877-702-9580
                                                                      Page 43
 1                      KIRK WYE BROWN, Ph.D.
 2       related to PCBs besides the Krejci site, the Metal
 3       Bank case and this case?
 4   A   No.    Those are the three projects that I recall.
 5       They've been peripheral in many other sites that
 6       I've worked on, because I worked on a couple dozen
 7       Superfund sites and PCBs often show up.                But none
 8       that really stick out where that was the focus.
 9   Q   Okay.    Do you have any background in chemical
10       engineering?
11   A   Yes.
12   Q   Are you licensed as a chemical engineer?
13   A   I'm not.
14   Q   What's your background in chemical engineering?
15   A   I've taken courses, graduate courses in chemical
16       engineering.
17   Q   You took those as part of your graduate work?
18   A   I did, yes.    And they were very valuable to me
19       throughout my career.
20   Q   Have you had any training or courses since your
21       graduate time in chemical engineering?
22   A   No.
23   Q   What about environmental engineering, did you take
24       any courses as part of your graduate work in
25       environmental engineering?


                     TSG Reporting - Worldwide   877-702-9580
                                                                           Page 44
 1                       KIRK WYE BROWN, Ph.D.
 2   A   When I was a student there were no courses in
 3       environmental engineering.                 In fact I developed some
 4       of the courses in environmental studies that
 5       engineers took.
 6   Q   What courses did you develop?
 7   A   I developed a course in the land disposal of waste.
 8   Q   Okay.
 9   A   That was taken by engineers.
10   Q   Any other courses that you developed?
11   A   Remediation of contaminated land.
12   Q   Anything else?
13   A   Those are the two.
14   Q   And when did you teach these courses, what
15       timeframe?
16   A   In the late '70s through 2000.
17   Q   Okay.    And going back for a moment to the Krejci
18       site.    When was the work that you did for that
19       performed?
20   A   I believe it would have been the late 1990s or early
21       2000s.    But in that timeframe.
22                   MS. WADHWANI:            Okay.        Why don't we take a
23            break.
24                   VIDEOGRAPHER:            One moment please.       Off the
25            record at 10:06 a.m.


                       TSG Reporting - Worldwide   877-702-9580
                                                                               Page 45
 1                        KIRK WYE BROWN, Ph.D.
 2              (There was a short recess in the proceedings.)
 3                   VIDEOGRAPHER:             On the record at 10:22 a.m.
 4   BY MS. WADHWANI:
 5   Q   Dr. Brown, I just want to quickly look with you at
 6       Exhibit 3 that we marked today, which was the
 7       supplement to your resume and appendix one that you
 8       brought in, and it looks like the supplement, the
 9       supplement of the testimony that you've provided?
10   A   Yes.    An update of it.
11   Q   Could you tell me specifically what was updated
12       here?
13   A   Specifically on page five the case that's listed is
14       number 84 in August, deposition in August of 2013.
15   Q   Have you provided an expert report in that case?
16   A   Yes.    And that is probably also listed -- well, I
17       know I did an expert report in that case.
18   Q   Sure.    Can you just summarize for me quickly what
19       the nature of the opinions are in this case, Burnia
20       versus, is that pronounced Fluor?
21   A   Yes, Fluor.      This is a case involving lead
22       contamination, and lead and soils.                        And my testimony
23       was concerning the concentration -- how the -- what
24       the sources of that lead would've been and the
25       concentrations and then how they would be taken up


                        TSG Reporting - Worldwide   877-702-9580
                                                                      Page 46
 1                    KIRK WYE BROWN, Ph.D.
 2       by children in residence in that area.
 3   Q   And by taken --
 4   A   How they would be exposed.
 5   Q   And when you say how they would be exposed, what
 6       does that mean?
 7   A   Well, the ingestion of soil and exposure to dust.
 8   Q   Are you, strike that.
 9                 Have you offered any opinions in that case
10       related to the potential health effects upon those
11       children of exposure to lead?
12   A   Yes.
13   Q   What's the nature of those opinions?
14   A   Well -- and my problem is I've given several
15       testimonies on that topic.               There's good evidence
16       that ingestion of lead contaminated soils has an
17       inverse -- adverse impact on an individual's IQ.
18   Q   And is that the nature of your testimony in this
19       case?
20   A   Yes.
21   Q   This Burnia case.       Okay.          Do you have an
22       understanding as to whether the Hudson River was
23       considered a safe source for drinking water in the
24       1990s and 2000s before dredging began?
25                 MR. BOYAJIAN:           Objection to the form.      You


                    TSG Reporting - Worldwide    877-702-9580
                                                                           Page 47
 1                        KIRK WYE BROWN, Ph.D.
 2              can answer.
 3   A   I know it was being used.                  I'm not aware of the
 4       considerations of that at that -- prior to dredging.
 5       I know there were PCBs in it, I know there were
 6       certainly detections of PCBs in some of the drinking
 7       water sources.         Some of the drinking water supplies
 8       I should say.        And when I got involved in the case a
 9       major emphasis was what would happen during
10       dredging.
11   Q   I take it from your earlier testimony that you
12       disagree that the Hudson River was a safe source of
13       drinking water in the 1990s and 2000s?
14   A   I do.
15   Q   Do you remember what concentrations were that you
16       saw in the 1990s of PCBs in the Hudson River?
17                   MR. TEDESCO:             Objection to the form.
18                   MR. BOYAJIAN:             Objection.
19   BY MS. WADHWANI:
20   Q   You can answer.
21   A   Yeah, there were a variety of concentrations that I
22       saw.    Some of them as high as a thousand.
23   Q   From the 1990s?
24   A   Yes.
25   Q   Can you please turn in your original report that


                        TSG Reporting - Worldwide   877-702-9580
                                                                         Page 48
 1                     KIRK WYE BROWN, Ph.D.
 2       we've marked as Exhibit 1 to page 19?
 3   A   Yes.
 4   Q   And the first opinion that you offer in this report
 5       is in Section 1 entitled PCBs Longevity and
 6       Lifetime; correct?
 7   A   Yes.
 8   Q   And your opinion states, "It is my opinion that any
 9       PCBs remaining in the river environment will impact
10       all forms of life in the river ecosystem, including
11       the inhabitants that live along the river and those
12       in the municipalities that rely on the Hudson River
13       below Fort Edward as a source of water."               Can you
14       explain what you mean here?
15   A   Well, the PCBs are long-lived compounds.               So they're
16       going to be persistent in this environment.               And
17       they are distributed throughout the ecosystem so
18       that they're in the algae, they're in the benthic
19       organisms, they're in the fish as well as being in
20       the water, the sediments, the river bank sediments,
21       the flood plains, the air, these evaporate into the
22       air.   So anyone living along the river certainly has
23       potential for exposure, and then those drinking from
24       the river, using the river as water source could be
25       exposed.


                     TSG Reporting - Worldwide   877-702-9580
                                                                   Page 49
 1                    KIRK WYE BROWN, Ph.D.
 2   Q   And what do you mean by impact here?
 3   A   Impact -- what I mean is an adverse impact, that
 4       they're going to have some deterioration of the
 5       systems because of the presence of the PCBs.
 6   Q   Of what systems?
 7   A   Well, the ecosystem and certainly in situations
 8       where these are then concentrated, for instance, in
 9       the fish, have adverse impact there as well as
10       people who consume the fish.
11   Q   And what kind of deterioration?
12   A   The ecosystem, when these type of chemicals are
13       released in the ecosystem not only are they taken up
14       but there are changes in growth pattern and that
15       type of thing that are not normal.
16   Q   Growth pattern of what?
17   A   Well, I haven't studied the literature throughly in
18       that area, but it's my understanding that the
19       ecosystem is deteriorated when it's contaminated
20       with chemicals of this nature, PCBs.
21   Q   The entire ecosystem or what specifically?            I'm just
22       trying to understand your opinion.
23   A   Well, components of it.           Certainly the higher ends
24       of fish are deteriorated.
25   Q   And by deteriorated you mean they're physically


                    TSG Reporting - Worldwide   877-702-9580
                                                                           Page 50
 1                      KIRK WYE BROWN, Ph.D.
 2       deteriorating or there are less?                    The population has
 3       gone down?    I'm trying to understand what you mean
 4       by deteriorated here in this context.
 5   A   That's what I'm saying, the population has gone
 6       down, they don't grow as well, they don't reproduce
 7       as well.
 8   Q   And what is the impact on the municipalities that
 9       rely on the Hudson River below Fort Edward as a
10       source of water?
11                   MR. TEDESCO:           Objection.
12   A   Well, those who are drinking the water, then the
13       PCBs are deposited in their body where they
14       accumulate in fatty tissues.
15   Q   Which tissues do they accumulate in?
16   A   Lipophilic tissue, lipids.                So they're in the
17       lipids, the fats.
18   Q   In your opinion what's the effect of this lipophilic
19       accumulation?
20   A   Well, a couple of things.                One is once it's in the
21       body it accumulates, and not -- very little of it is
22       excreted.    So you get a lifetime accumulation of
23       these chemicals.        So it's cumulative.             And that has
24       adverse impacts on various end points for health,
25       including cancer, hormone behavior and that type of


                      TSG Reporting - Worldwide   877-702-9580
                                                                        Page 51
 1                        KIRK WYE BROWN, Ph.D.
 2       thing.    And then the other thing is that it can then
 3       be excreted through breast milk to infants.
 4   Q   To your understanding has anyone in this case
 5       brought a claim alleging that they have been
 6       diagnosed with cancer as a result of PCB exposure?
 7                   MR. BOYAJIAN:             Objection to the form.
 8   Q   You can answer.
 9   A   I'm not aware of individual toxic tort lawsuits.
10                   MR. BOYAJIAN:             Well, just for the record,
11              this case doesn't involve any natural persons.
12              They're municipalities.
13                   MS. WADHWANI:             I understand what this case
14              involves.
15                   MR. BOYAJIAN:             Okay.
16   BY MS. WADHWANI:
17   Q   To your knowledge has anyone in the Town of Halfmoon
18       been diagnosed with cancer as a result of PCB
19       ingestion?
20                   MR. TEDESCO:             Objection.
21                   MR. BOYAJIAN:             Objection to the form.
22   A   I've not looked into that.
23   Q   So sitting here you don't know either way --
24   A   Yes.
25   Q   -- about the human health effects of PCB ingestion,


                        TSG Reporting - Worldwide   877-702-9580
                                                                       Page 52
 1                      KIRK WYE BROWN, Ph.D.
 2       if any, upon the customers of the Town of Halfmoon's
 3       water?
 4                   MR. TEDESCO:           Object to the form.
 5   A   Not on those individuals.                But I do know that from
 6       toxicological studies the ingestion of PCB increases
 7       the risk.    So their risk -- they've been impacted in
 8       the sense that their risk has to get cancer, for
 9       instance, has been increased by ingesting the PCB
10       contaminated water.
11   Q   By what fold has their cancer risk been increased?
12                   MR. TEDESCO:           Objection to the form.
13   A   I've not done a calculation of that.
14   Q   Okay.    What would you need to do to develop such a
15       calculation?
16   A   You'd have to look at the data over time as to what
17       the concentration trends were.
18   Q   Concentration trends in what?
19   A   Well, in the water.
20   Q   The finished drinking water?
21   A   Yes.    And also then you would want to add in other
22       exposure pathways, the air, fish consumption,
23       exposure to the flood plain, that type of thing to
24       do a risk assessment.            Then you could come to a
25       calculation.


                      TSG Reporting - Worldwide   877-702-9580
                                                                       Page 53
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   Would you also have to know what an individual's PCB
 3       body burden was?
 4   A   That's another way of going at it, but I have not.
 5       I don't have experience in that area.
 6   Q   Okay.    And what's the basis for your opinion here in
 7       Section 4.1?
 8   A   Well, one basis is that once its in the river, those
 9       that are trapped in the river...
10   Q   By trapped you mean PCBs?
11   A   PCBs.    In the sediment and the oils that are in the
12       sediment, they're going to last for a very long
13       time.    So if this was just a flush and it all flowed
14       down the river, the problem would be over.              But
15       these things are in the river, they're also still in
16       the bedrock, they're also still in the soils at the
17       plant sites.     The contaminants that are in the
18       soils, the PCBs that are in the soils, and the PCBs
19       that are in the groundwater at the sites and in the
20       DNAPL at the sites, which is a component of
21       groundwater, will continue to be a source into the
22       river.   So we have ongoing sources and we have
23       sources that already have been disbursed down the
24       river.   Those are going to be very long-term.             So
25       that's one part of the component because in order to


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 54
 1                       KIRK WYE BROWN, Ph.D.
 2       get harm, it's concentration over time.                     So there's
 3       the time factor.         So that's one basis.
 4   Q   I'm sorry just to interrupt.                  What do you mean that
 5       in order to get harm it's concentration over time?
 6   A   Well, if you have a very short exposure to
 7       something, then since these are accumulated in the
 8       body, you get body burden.                 Well, a very short
 9       exposure will increase your body burden a little
10       bit.    But since you have -- people who would be
11       drinking water or living near the water will be
12       exposed over a period of time.                    That's where you get
13       the large buildups and concentration in your body
14       and the greatest harm.
15   Q   Okay.    So over what period --
16                   MR. BOYAJIAN:            I don't think the witness
17              was done with his prior answer.                   So...
18   Q   I apologize.
19   A   I was done.
20                   MR. BOYAJIAN:            Okay.        I'll take your word
21              for it that you were done.
22   A   Sure.
23   Q   I thought you were done too, but I apologize if I
24       interrupted you.
25                   What levels of PCBs does one have to be


                       TSG Reporting - Worldwide   877-702-9580
                                                                         Page 55
 1                     KIRK WYE BROWN, Ph.D.
 2       exposed to to create the risk of harm?
 3                  MR. BOYAJIAN:           Objection to the form.
 4   A   In my view any exposure increases your risk of harm.
 5   Q   And what's the basis for that view?
 6   A   The MCL Goal is set at zero.                And the reason why the
 7       MCL Goal is set at zero is there's no known
 8       concentration, low concentration at which there's no
 9       harm detected.      So the concentration that you want
10       to be exposed to is zero.
11   Q   You think that any concentration over zero PCBs
12       carries with it the risk of cancer?
13   A   I do.
14   Q   What other adverse effects, risk of adverse effects
15       do you think any exposure to PCBs above zero
16       carries?
17   A   Besides risk of cancer?
18   Q   Correct.
19   A   There are a whole series of adverse effects that
20       have been listed.        But you know some of them are
21       found at higher concentration levels.                  And I haven't
22       made a study as to how low they would go, but there
23       was this horrible instance in Japan where people
24       consumed PCBs because it was mixed with the oil they
25       were using to cook with.


                     TSG Reporting - Worldwide   877-702-9580
                                                                  Page 56
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   Is that the Yusho incident that you're referring to
 3       in the late '60s?
 4   A   Yes, right.     And they list about 20 things that
 5       happened to people who did that, pigment change in
 6       their skin and acne type exposures on their skin and
 7       that type of thing.           But that was a single high-dose
 8       exposure.   I don't have the expertise to say how far
 9       down you have to go for those type of things to
10       happen.   But I do know that there are other adverse
11       impacts at some exposure level.
12   Q   Okay.   Do you know what levels of PCBs one has to be
13       exposed to to increase their risk of cancer?
14   A   Well, I already said that I think anything over
15       zero.
16   Q   Okay.
17   A   And the reason I think that is because it only takes
18       the alteration of one chemical reaction in your body
19       to be impacted by one molecule of PCB to cause a
20       change which can lead to cancer.
21   Q   So then what is that interplay between your view
22       that any exposure over zero PCBs can increase the
23       risk of cancer with your view concerning the
24       short-term exposure versus long-term exposure?
25   A   Well, I'm saying in the short-term exposure you get


                       TSG Reporting - Worldwide   877-702-9580
                                                                 Page 57
 1                      KIRK WYE BROWN, Ph.D.
 2       a whole list of other problems, a short high-dose
 3       exposure.    But any exposure increases your risk of
 4       cancer in my view.
 5   Q   Okay.    Are there specific medical or scientific
 6       articles you're relying upon for that view?
 7   A   There are articles that I've read and rely on.          I
 8       can't pull the author and the dates up at this time.
 9       But certainly the recent statement from the cancer
10       research group International Agency Research on
11       cancer, supports that opinion.
12   Q   Are you talking about the 2013 IRC statement?
13   A   Yes.
14   Q   Any other bases for your opinion here in 4.1 on page
15       19 of your original report?
16   A   I think we've covered them pretty well.
17   Q   Okay.    If you could turn please to page 26.
18   A   Yes.
19   Q   And I'm looking here at your opinion, 4.3, entitled
20       Dredging Failure.         And you state here that, "It is
21       my opinion that even with re-dredging it is unlikely
22       that all certification units in Phase 2 will meet
23       the residual standard for closure of the
24       certification units."            Correct?
25   A   Right.


                      TSG Reporting - Worldwide   877-702-9580
                                                                               Page 58
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   What's the basis for your opinion here?
 3   A   Well, first of all, as it was pointed out by, I'm
 4       not sure I'm pronouncing this right, Doody.
 5   Q   That's the correct pronunciation.                        It's D-O-O-D-Y.
 6   A   Okay.   He says that even with careful operations
 7       you're going to leave some behind.                       And we certainly
 8       saw that in Phase 1 where the certification, many of
 9       the -- well, a majority of the certification units
10       were above the standard that was set one milligram
11       per kilogram.       So then they went in and covered them
12       with a cap.     And so you leave these behind.                    In my
13       view caps are own temporary solutions.                       They will
14       erode away over time.             So those even in the
15       certification units, anything left there is still a
16       source that can come into the river.
17   Q   Okay.
18   A   The other thing about covering them, they're
19       covering them with a layer of sand and then rock.
20       There is water exchanged between the sand and the
21       rock.   The PCBs that remain in the sediment will
22       slowly partition into the water and diffuse up
23       through the sand around become part of the river.
24       So they will be -- they will eventually erode away,
25       most of them in my opinion, but even without that


                       TSG Reporting - Worldwide   877-702-9580
                                                                       Page 59
 1                       KIRK WYE BROWN, Ph.D.
 2       erosion they will be a continuing source of PCBs
 3       into the river water.
 4   Q   And the erosion, are you referring here to the
 5       capping?
 6   A   The capping, yes.         So the capping is not PCB proof
 7       and it's only temporary.
 8   Q   Okay.    Do you think that General Electric has
 9       engaged in carefully operations in its execution of
10       the dredging project so far?
11                   MR. BOYAJIAN:            Objection to the form.
12   A   It's my view that dredging is a difficult thing to
13       do, and that there's no way you're going to get it
14       all.    As far as careful operations, that's a
15       relative thing.        I'd like to think they're doing
16       their best to try to get it out of the river.
17   Q   Do you have any reason to believe GE is not doing
18       its best?
19   A   As far as removal I think they're trying to remove
20       it.    As far as what's going on after -- during and
21       after removal, I think they're doing some things
22       that are wrong, that misrepresent what's actually
23       going on.
24   Q   Such as?
25   A   I think the biggest problem is the -- their


                      TSG Reporting - Worldwide   877-702-9580
                                                                          Page 60
 1                     KIRK WYE BROWN, Ph.D.
 2       redeposition studies.           Certainly during Phase 1 the
 3       redeposition studies I think were perfectly done.
 4       You put pans out there and catch it, and then you
 5       know what's being redeposited.                  In Phase 2 they've
 6       changed their sampling method.                  Instead of setting
 7       pans out, they're taking a 5-centimeter layer of
 8       soil before and sometimes it wasn't exactly before,
 9       it was three days after they started, but the idea
10       take a 5-centimeter sample before and after dredging
11       downstream of the site where you're not dredging,
12       and then from that calculate well, how much did the
13       concentration increase over that dredging time.
14       That's a completely wrong way of doing that.
15   Q   Why is that in your opinion?
16   A   Because you're mixing anything that came in was
17       deposited from dredging with that that's already
18       there and you'll never be able to detect an increase
19       by that method.
20                  Let me lay it out for you a little bit
21       clearer.   During Phase 1 the pans downstream of
22       dredging were catching sediment that was as high as
23       120 or more milligrams per kilogram in the sediment
24       that deposited right after dredging.                   Now, if you
25       take a 5-centimeter layer of soil and it has


                     TSG Reporting - Worldwide   877-702-9580
                                                                      Page 61
 1                  KIRK WYE BROWN, Ph.D.
 2   20-milligrams per kilogram and then you dredge and
 3   them come back and right next it take another
 4   sample, hopefully not in the same hole, but right
 5   next to it take another sample, you'll have the
 6   original 20-milligrams per kilogram, and the
 7   deposition of that that came out of the dredging,
 8   the maximum of which was 120, the average was down
 9   more like 40, so you put a very thin layer of 40 on
10   the top and then you take a 5-centimeter sample and
11   instead of that being a concentration of 20 that you
12   started with, it's something like 20.0 or 20.2.                  And
13   so you're diluting this higher concentration that
14   came in with the stuff that was there originally,
15   and as a result you'll never be able to show whether
16   or not dredging redeposited on that sample, because
17   statistically you can't see that number.
18               So the way to do it is the pans, I guess
19   they didn't like the result, so then they went to
20   this system where they're diluting anything that's
21   redeposited, and now they're saying, well, nothing
22   of significance is redeposited.                   They got the data
23   in Phase 1 and I think that's the reliable way of
24   doing it.   I don't believe the data from Phase 2.
25               So to answer -- back where we started, I


                  TSG Reporting - Worldwide   877-702-9580
                                                                      Page 62
 1                    KIRK WYE BROWN, Ph.D.
 2       think they're doing what they can to dredge it.
 3       It's not easy.     And they are removing PCBs from the
 4       river, and we could talk about whether or not we
 5       think that's appropriate.              But I think they're
 6       misleading people on what's being transported
 7       downstream and what's being redeposited downstream.
 8   Q   Do you know why GE conducted the Phase 2 downstream
 9       deposition studies in the way it did?
10   A   I haven't traced that back.
11   Q   Do you know whether the EPA accepted the data from
12       the Phase 2 downstream deposition studies?
13   A   They may have, but that doesn't give it credibility
14       if the method is wrong.           Just because the EPA
15       accepted it or even approved the method, that
16       doesn't carry any water with me.
17   Q   So you criticize the downstream deposition studies?
18   A   Yes.
19   Q   And are you aware that there was coring of the
20       Hudson River in Phase 1 dredged areas prior to the
21       start of dredging?
22   A   Yes.
23   Q   And that concentrations of PCBs were measured in
24       those sediment cores prior to the start of dredging?
25   A   Yes.


                    TSG Reporting - Worldwide   877-702-9580
                                                                             Page 63
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   And so why can't you use these background cores as a
 3       comparator against what was taken to determine
 4       downstream deposition studies after dredging had
 5       occurred?
 6   A   Well, first of all, the system is very heterogenous.
 7       So if you take a core and you move over a foot and
 8       you take another core, you're going to get different
 9       answers.    So you can't go back to the same location
10       and say this was our baseline.                    You got to do it by
11       some kind of a big averaging system.                     And that
12       doesn't really give you an answer because the
13       variability is so great.                 So there's no good way to
14       go from those cores to cores later on or samples
15       later on and say look, there's been a change or
16       look, there's not been a change.                     It's just too much
17       dilution and too much heterogeneity to be able to do
18       that.
19   Q   Do you have any other criticisms of the way that GE
20       has conducted the dredging operations?
21   A   Well, I said I didn't -- you know, I wasn't
22       criticizing their dredging operations.                     I was
23       criticizing how they presented what happened during
24       and after dredging.          You know you could look at it,
25       and certainly the committee that looked at it after


                      TSG Reporting - Worldwide    877-702-9580
                                                                           Page 64
 1                      KIRK WYE BROWN, Ph.D.
 2       the initial dredging Phase 1, they made a batch of
 3       recommendations.       I thought those recommendations
 4       were well put.      I guess the other criticism is that,
 5       you know, they are discharging more downstream than
 6       was originally hoped or originally planned for.                   So
 7       they changed those standards and upped them.                 It
 8       kind of goes back to it's a difficult process.                 It's
 9       sloppy.   There's no way to make it not sloppy.
10   Q   Dredging in general is a sloppy process?
11   A   Dredging in general is a sloppy process.               And
12       initially when I was brought on this case I was
13       asked to form opinions on dredging, and my opinion
14       was that you shouldn't do it because they're in
15       place and they're being released slowly.               And if you
16       did it, it's going to impact the drinking water
17       sources downstream.         Well, that came to fruition.
18   Q   So you disagree with the EPA's decision to order
19       dredging?
20   A   I don't disagree with it.               My point is that once
21       they decided to dredge, they should've immediately
22       provided everybody with an alternative water source.
23   Q   Why is that?
24   A   Because there's no question in my mind, once you
25       started dredging, the concentrations go up.               And


                     TSG Reporting - Worldwide   877-702-9580
                                                                            Page 65
 1                      KIRK WYE BROWN, Ph.D.
 2       certainly the data support that, during dredging and
 3       then sporadic occasions, high flow in particular.
 4       Between dredging we still have these high
 5       concentrations.
 6   Q   And when you say high concentrations, what do you
 7       mean?
 8   A   We've had concentration over 500.
 9   Q   Do you know how many times there were concentrations
10       over 500 during Phase 1?
11   A   I didn't count them.
12   Q   Do you know during any point in dredging how many
13       times the 500-parts per trillion standard has been
14       exceeded?
15   A   Again, I didn't count them.                But you know, 500 is in
16       my view an artificial number anyway.                   It has no
17       meaning for risk assessment.
18   Q   Why is that?
19   A   Well, the risk assessment for PCBs that should've
20       been used to set the standard results in a
21       concentration of 34-micrograms per liter.
22   Q   Why do you think that's the appropriate level?
23   A   That's the level that the EPA used to set the risk
24       for most hazardous substances.                  One excess cancer
25       per million.    And that's the risk that they


                     TSG Reporting - Worldwide   877-702-9580
                                                                            Page 66
 1                     KIRK WYE BROWN, Ph.D.
 2       should've used.      But the problem is number one,
 3       analytical capabilities are not good enough to
 4       consistently have samples analyzed at that level.
 5       And number two, to get there would have cost a lot
 6       of money and time.         And so they set an arbitrary
 7       number.
 8   Q   You think the EPA set an arbitrary number?
 9   A   It's definitely an arbitrary number.                   It has no
10       relation to risk assessment.
11   Q   You understand that the federal MCL standard for
12       drinking water of PCBs is 500-parts per trillion;
13       correct?
14   A   Yes, that's what I just said.                 And I disagree with
15       that.   And the idea is that hopefully eventually
16       they will revise that to the appropriate number.
17   Q   And you understand that the New York State
18       Department of Health regulations set 500-parts per
19       trillion as the standard for drinking water?
20   A   That's one interpretation.               They've also set a 90
21       part per trillion for waters that would be
22       discharged into the state and have also indicated to
23       communities that 90 is the appropriate number to use
24       for drinking water.
25   Q   What's your understanding of what the 90-part per


                     TSG Reporting - Worldwide   877-702-9580
                                                                     Page 67
 1                    KIRK WYE BROWN, Ph.D.
 2       trillion standard is trying to achieve?
 3   A   Minimize the pollution of water.
 4   Q   Of all waters?
 5   A   Well, that's set for surface waters and groundwater.
 6   Q   And do you have an understanding of the purpose
 7       behind setting 90-parts per trillion as the water
 8       quality?
 9   A   It's to be more protective than the 500.
10   Q   More protective for what purposes?
11   A   For protecting the waters of the state so they can
12       be used for drinking.
13   Q   Is it your understanding that that's a drinking
14       water standard?
15   A   It's a discharge standard.              And so you can interpret
16       it, you know, if they don't want you drinking -- if
17       they don't want you discharging more than 90, it
18       kind of implies that they're trying not to allow
19       that source to be contaminated more than 90 because
20       they want it that way for drinking water.             So it's
21       kind of a roundabout way.              But part of it in my view
22       is to protect drinking water.
23   Q   And do you know for a fact that that's why New York
24       State set a 90-parts per trillion standard for water
25       quality?


                    TSG Reporting - Worldwide   877-702-9580
                                                                      Page 68
 1                      KIRK WYE BROWN, Ph.D.
 2                   MR. BOYAJIAN:           Objection to the form.
 3   A   I don't know.      I haven't dug back into that to know
 4       why they did it.        But certainly everything I've read
 5       indicates that that's what their objective was.
 6   Q   Here on page 26 under 4.3 Dredging Failure I'm
 7       looking at the second full paragraph at the end
 8       where you cite some statements from Mr. Doody in
 9       2001, specifically the last sentence which reads,
10       "The residuals left behind after dredging may be at
11       a higher concentration and more bioavailable than
12       before dredging resulting in increased risk."             Do
13       you know if it is in fact happened during the
14       dredging of the Hudson River that the residuals are
15       at higher concentrations and more bioavailable than
16       before dredging?
17   A   Well, certainly if you look at the redeposition
18       samples from Phase 1, which as I said I believe were
19       taken appropriately, there are the concentrations
20       that were found right on the surface where the
21       chemicals would be more bioavailability -- more
22       bioavailable, would result in increased risk.
23   Q   Are the residuals left behind after dredging at
24       higher concentrations then they were prior to
25       dredging?


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 69
 1                      KIRK WYE BROWN, Ph.D.
 2   A   Well, we know that they were as high as 120
 3       something milligrams per kilogram in some samples.
 4       I don't know what the concentration was there before
 5       that sample.    But when you compare that to the goal
 6       which was to get it down to 1-milligram per
 7       kilogram, some of the samples were 100 times over
 8       that.   So there's a high concentration that was
 9       redeposited downstream in my view.                     Also, and part
10       of what he was saying here I believe and what I was
11       relying on, is that even though you dredge it's so
12       heterogeneous that you don't get it all.                    So there's
13       going to be some hot spots that you miss.                    You
14       just -- even with their efforts of developing prisms
15       and going back and resampling, there's going to be
16       some hot spots that you don't get.                     That's just the
17       nature of the beast.
18   Q   And by heterogeneous, you're talking about the
19       nature of the river and the river dynamics?
20   A   And the pattern in which the PCBs were deposited as
21       a result of the nature of the river and the river
22       dynamics.
23   Q   And why does the heterogeneity of the river and the
24       pattern of PCBs mean that you can't get them all?
25   A   Because there always going to be pockets that you


                     TSG Reporting - Worldwide   877-702-9580
                                                                                Page 70
 1                       KIRK WYE BROWN, Ph.D.
 2       missed with your sample.                  Because the concentration
 3       can change from one foot to another as you go
 4       through it.     And despite the fact that they've taken
 5       a lot of samples, you never get it all.
 6   Q   Is that true of any dredging project?
 7   A   I believe it would be.              Yes.
 8   Q   Can you please turn to page 27?
 9   A   Yes.
10   Q   And I'm looking at the first full paragraph, the
11       first sentence of that first full paragraph on page
12       27, which says, "Results from Phase 1 of the
13       dredging project clearly show the deficiencies of
14       dredging as the mechanism for the removal of PCB
15       contaminated sediments."                  Do you think that the
16       Hudson should not have been dredged?
17                   MR. BOYAJIAN:            Objection.           Asked and
18              answered.
19   A   I think that once entering in dredging you have to
20       then do something for the water supplies.                       Now,
21       there is -- the good reasons for trying to decrease
22       the source of a contaminant, and that's what they're
23       trying to do, they're trying to remove the PCBs from
24       the river, that has the advantage of then there's
25       less in there to continue to contaminate the water.


                       TSG Reporting - Worldwide    877-702-9580
                                                                            Page 71
 1                     KIRK WYE BROWN, Ph.D.
 2       But it has a disadvantage of while it's going on.
 3       After it's going on the concentration are going to
 4       be higher than they were before and also that's
 5       going to move downstream.               So the answer to that
 6       question is rather complex because you have to look
 7       at -- half the people are going to look at what's
 8       going to be the impact downstream on the ecosystem,
 9       what's the impact of these things going out into the
10       ocean where they're eventually going.                    So to get to
11       an answer to that is very complex.                     I understand why
12       the EPA wants to remove them and I think there's
13       probably some long-term advantages to removing them.
14       But it's the short-term disadvantages that we're
15       having to deal with here.
16   Q   Okay.   I apologize, I'm not sure your answer to my
17       question here.      Taking on balances.                The advantages
18       and disadvantages as you have stated them, do you
19       think the Hudson should or should not have been
20       dredged as a remedial action to deal with the PCBs?
21

22                 MR. BOYAJIAN:            Note my objection.          I
23            believe it's been asked and answered.                    You can
24            try again.
25   A   My thinking is that it's good to remove the


                     TSG Reporting - Worldwide   877-702-9580
                                                                              Page 72
 1                      KIRK WYE BROWN, Ph.D.
 2       materials that are in the river.                    I would say we
 3       need to also clean up the materials that have
 4       potentially to get into the river that haven't
 5       gotten there yet.         They've done some of that but not
 6       all of it.    I think that should be intensified.                    My
 7       concern on the other side is that by dredging part
 8       of it, just gets moved down river and there can have
 9       an adverse impact.          If you balance it, in the end I
10       think probably dredging removal is appropriate.
11   Q   Okay.
12   A   Because we have high populations of people here
13       potentially continuously exposed through ongoing
14       lifetimes, and we can help it a little bit by
15       getting that out of there.                Others may have the
16       other view that it does more damage than good.
17   Q   I was just asking about your view.
18   A   Yeah.
19   Q   Could you please turn to your rebuttal report, which
20       we marked as Exhibit 2 to page 24.
21   A   Yes.
22   Q   And here again in section -- let me just make sure
23       on I'm on the right section.                 Okay.      Yes.   5.3, page
24       24.    If you look at the final paragraph of that
25       section and as you've talked about earlier today you


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 73
 1                       KIRK WYE BROWN, Ph.D.
 2       state here in the last sentence, "Because of this
 3       uncertainty," and by uncertainty you're referring to
 4       this heterogeneity or dynamacism of the Hudson
 5       River, the variability and flow and velocity and
 6       therefore the uncertainty of predicting the erosion
 7       of riverbed and cap, "Because of this uncertainty
 8       the resuspension and downstream migration of the
 9       residual PCBs will always be a threat."                  In your
10       opinion what is the likelihood that residual PCBs
11       throughout the dredging project will be resuspended
12       and migrate downstream?
13   A   Well, I think the data from Phase 1 clearly
14       demonstrates that they are resuspended and migrate
15       downstream.
16   Q   And how far down?
17   A   I know that they've migrated beyond where they've
18       dredged.    I haven't made an attempt to plot how far
19       they've gone.       But the problem is that those that
20       are redeposited then are in a position to more
21       easily be resuspended when there's a turbulent event
22       or stream flow changes, and then they can also be
23       carried downstream.           It's kind of a hopscotch
24       system.    Once -- they'll just keep on moving
25       downstream.


                       TSG Reporting - Worldwide   877-702-9580
                                                                          Page 74
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   But here are you talking about the resuspension of
 3       PCBs moving downstream upon resuspension?
 4   A   Yes.
 5   Q   Okay.    And what I'm focusing on here from page 24 of
 6       your rebuttal is going back to also in the
 7       statements that you made earlier where you thought
 8       that the potential for erosion of backfilling and
 9       capping was a serious potential risk that eventually
10       those PCBs would find their way back up and migrate
11       downstream; correct?
12   A   Yes.
13   Q   So I'm not talking about the resuspension and
14       movement of PCBs downstream from resuspension.                   Here
15       I'm talking about your view that capping is not a
16       long-term solution because of the potential for PCBs
17       to come up through the cap.
18   A   Yes.
19   Q   And then be resuspended and move down.                  Do you
20       understand the distinction I'm making?
21   A   Yes.
22                   MR. BOYAJIAN:           I just want to clarify for
23              the record.      Were you referring before to on
24              page 24, did you say Section 5.4 or were you
25              referring to 5.3?


                      TSG Reporting - Worldwide   877-702-9580
                                                                                  Page 75
 1                         KIRK WYE BROWN, Ph.D.
 2                   MS. WADHWANI:              5.3.
 3                   MR. BOYAJIAN:              I misheard you then.          I'm
 4              sorry.
 5   BY MS. WADHWANI:
 6   Q   It's okay.       You understood I was talking about 5.3?
 7   A   Yes.
 8                   MR. BOYAJIAN:              The last sentence on 5.3 on
 9              page 24?
10                   MS. WADHWANI:              Correct.
11                   MR. BOYAJIAN:              I'm sorry.           Thank you for
12              that clarification.
13                   MS. WADHWANI:              You're welcome.          Do you
14              need some more coffee?
15                   MR. BOYAJIAN:              No.       But when you take a
16              break, let me know.                  Don't go too long.
17   BY MS. WADHWANI:
18   Q   Okay.    So keeping in mind that we're talking now
19       about the potential down the road for residual PCBs
20       to come through the capping and the backfill, in
21       your opinion what is the likelihood that that will
22       happen?
23                   MR. BOYAJIAN:              Objection to the form.
24   A   Well, the likelihood that they will partition into
25       the water and as soluble PCBs come up through the


                         TSG Reporting - Worldwide    877-702-9580
                                                                                Page 76
 1                     KIRK WYE BROWN, Ph.D.
 2       cap is 100 percent.         That will happen.               There's no
 3       way you can prevent that.
 4   Q   What's your basis for saying that?
 5   A   My understanding of the basic principles from my
 6       studies, including my chemical engineering classes,
 7       which say that these things, these chemicals
 8       partition to try to achieve an equillibrum.                      So if
 9       you have a soil particle that has some PCBs attached
10       to it and you expose that to clean water, some
11       fraction of that PCB will then dissolve in the
12       water.   The inverse also happens.                     If you a have
13       cell particle that has some PCBs on it and you put a
14       concentration in the water that's higher than the
15       equilibrium concentration, it will go from the water
16       to the sole particle.           So it's a dynamic
17       relationship.     And in fact that's going to happen.
18       There's no way to prevent that.
19   Q   And how is that the PCBs that are currently capped
20       as part of the dredging project being exposed to
21       water?
22   A   The pores in the cap.           They're filled with water.
23   Q   Do you know what materials the caps are made out of
24       that GE has used during the dredging project?
25   A   The materials include rocks, I heard four-inch rocks


                     TSG Reporting - Worldwide   877-702-9580
                                                                            Page 77
 1                      KIRK WYE BROWN, Ph.D.
 2       on the surface, and then layers of sand or soil, and
 3       it doesn't really make any difference what those
 4       are.    They're going to allow PCBs to migrate though
 5       them.
 6   Q   To your knowledge have any of the caps eroded so far
 7       to the point that PCBs have migrated through the cap
 8       and moved down river?
 9   A   Let me help by making a distinction here.                  What I'm
10       saying is that they'll come up through the cap no
11       matter what.     You don't need erosion.                But I'm also
12       saying that eventually they'll erode away.                  Now,
13       there was some observations that there was some
14       disturbance of the cap in a high flow event.                  But
15       this is an old river, we have situations where
16       storms come through that dump massive amounts of
17       water into it, it comes up on the flood plain, and
18       during those storms, those sporadic events there are
19       instances where we get enough energy in the river,
20       enough flow that it will erode aways parts, if not
21       all, of some these caps reexposing the PCBs that
22       were not removed by dredging.
23   Q   So is it your opinion today that PCBs underneath the
24       caps that were put into place during Phase 1 and
25       Phase 2 have already come up through those caps


                      TSG Reporting - Worldwide   877-702-9580
                                                                                Page 78
 1                        KIRK WYE BROWN, Ph.D.
 2       irrespective of whether erosion has happened or not?
 3   A   Some of it already has.
 4   Q   How do you know that?
 5   A   The basic principles of partitioning and diffusion
 6       will allow them to move them up through the cap.
 7   Q   So your view is that just basic principals mean it
 8       has inevitably already happened?
 9   A   Yes.
10                   MS. WADHWANI:             We have to change the disk.
11                   VIDEOGRAPHER:             One moment please, at 11:14
12              a.m, this is the end of disk one.                    Disk two
13              will follow.
14              (There was a short recess in the proceedings.)
15                   VIDEOGRAPHER:             At 11:20 a.m. on
16              April 16th, 2014 this is disk two of the sworn
17              testimony of Kirk Brown, Ph.D.                     Please proceed.
18   BY MS. WADHWANI:
19   Q   Since we've been talking so much about your opinions
20       on capping, I thought we should just turn to those
21       sections of your report and consider them more
22       fully.
23                   So in your original report, which we
24       marked as Exhibit 1, it's my understanding that your
25       discussion of capping starts on page 28 and carries


                        TSG Reporting - Worldwide   877-702-9580
                                                                           Page 79
 1                      KIRK WYE BROWN, Ph.D.
 2       over to page 30.        Is that section entitled 4.4
 3       Erosion where you discuss your opinions on capping,
 4       Dr. Brown?
 5   A   Yes.
 6   Q   And then in your rebuttal report, which we marked as
 7       Exhibit 2, your discussion of capping is on page 26;
 8       is that correct?
 9   A   Yes, that's correct.
10   Q   Okay.   And you state here in your report that it's
11       your opinion that capping of residual PCBs in the
12       closed certification units is only a temporary
13       solution to the containment of PCBs.                    Resuspension
14       of the river bottom sediments is inevitable and will
15       result in the release of PCBs into the water column
16       and their transport down river.                   And we've already
17       talked about a little bit this morning that you view
18       the suspension as inevitable for at least two
19       reasons.   One, you think that regardless of whether
20       the caps erode or not there will just be migration
21       of PCBs up through the caps into the water column?
22   A   Yes.
23   Q   And then the second is that you think the caps will
24       eventually erode; correct?
25   A   Yes.


                      TSG Reporting - Worldwide   877-702-9580
                                                                        Page 80
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   And you think that both those processes are
 3       inevitable; is that right?
 4   A   Yes.
 5   Q   Is there any other process besides the natural
 6       movement of PCBs and the erosion of the caps that
 7       you think will cause these residual PCBs to
 8       resuspend and move downstream?
 9   A   No.    I think those are the two mechanisms that we
10       need to be concerned about.
11   Q   And I think you said earlier that regardless of the
12       materials of which the caps were made, you would
13       still have these dual concerns; correct?
14   A   Yes.
15   Q   Are you aware that the caps that GE has been using
16       have been engineered to withstand high flows in a
17       100-year flood?
18   A   Yes, that's my understanding.
19   Q   And does that understanding influence your view at
20       all?
21   A   No.    Those are engineering standards, and that's the
22       way things are designed.                 But we can get a 500-year
23       flood tomorrow if we had a front coming or a
24       hurricane coming, and the caps are not designed to
25       withstand that.


                      TSG Reporting - Worldwide    877-702-9580
                                                                           Page 81
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   Do you know when the last time the Hudson River
 3       experienced a 500-year flood, if at all?
 4   A   I haven't looked into that.                  But I know that it
 5       would've happened in the past and it will happen in
 6       the future.
 7   Q   Do you know when in the past it would've happened?
 8   A   I don't.    I haven't looked back at the record to see
 9       when.
10   Q   Okay.   Can you say sitting here today that a
11       500-year flood has happened in the last 50 years in
12       the Hudson River?
13   A   I can't say.      I haven't looked at it.
14   Q   Can you predict sitting here today when, if at all,
15       such a flood would take place in the future?
16   A   If I could predict such things I would instead
17       predict the stock market.                 So no one can predict it.
18   Q   Are you aware that monitoring, maintenance and
19       repair of the caps installed in Phase 2 is required
20       of GE in perpetuity?
21   A   I'm aware of that.
22   Q   And that doesn't have any influence or your
23       opinions?
24   A   No.
25   Q   Do you agree that capping is an accepting method for


                       TSG Reporting - Worldwide   877-702-9580
                                                                 Page 82
 1                      KIRK WYE BROWN, Ph.D.
 2       remediating Superfund sites?
 3   A   It's a method that's accepted, it's been used.
 4       Mainly it's been used on surfaces, land surfaces,
 5       not -- and only infrequently in beds -- in water.
 6       And usually when it's been in water it's been in
 7       still water or lakes where there's not this
 8       potential for high flows and disruption.
 9   Q   Are you aware that the National Research Council of
10       the National Academies of Science concluded in 2007
11       that capping will be part of remediation of all
12       Superfund mega sites?
13   A   I believe that's in their recommendations.
14   Q   Okay.    Does the National Research Council compose of
15       a group of people who are experts in their field of
16       study?
17   A   I would have to say yes because I've served on
18       several of their committees.
19   Q   And that was going to be my next question is, you
20       have served on the National Research Council in the
21       past; correct?
22   A   Yes, dealing with some of these same issues.
23   Q   And do you consider the National Academies of
24       Science to be a reputable entity?
25   A   I do.


                      TSG Reporting - Worldwide   877-702-9580
                                                                           Page 83
 1                     KIRK WYE BROWN, Ph.D.
 2   Q   As part of your work on the National Research
 3       Council have you participated in any of these, and
 4       you'll correct me if I'm using the wrong
 5       terminology, but sort of panels gathered together to
 6       look at specific issues?                Is panel the correct way
 7       to describe it?
 8   A   Yes, that's a good way to describe it.                   Yes, I have.
 9   Q   Okay.   On any of the panels for which you served on
10       the National Research Council have they addressed
11       PCBs?
12   A   I'm trying to roll back through.
13   Q   Sure.   Take your time.
14   A   There were several of them.
15   Q   Would it help to look at your resume?
16   A   No.   I know which panels I served on.                  I don't
17       believe any of them directly involved PCBs.
18       Indirectly in the sense that one of the panels that
19       I served on was assessing the effectiveness of the
20       Superfund program and the permanents of the
21       solutions and whether the hazardous ranking score
22       had been applied properly and that type of thing.
23       So we looked at a range of sites which had a range
24       of contaminants, and PCBs may have been in that list
25       of contaminants that we were looking at.


                     TSG Reporting - Worldwide    877-702-9580
                                                                    Page 84
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   That was more for the purposes of assessing the
 3       Superfund program; correct?
 4   A   Right.
 5   Q   Had nothing to do with actually assessing Superfund
 6       sites related to PCBs for remediation purposes?
 7   A   That's right.      And other panels that I served on it
 8       was assessing cleanups.             I don't recall that PCBs
 9       were a component of that.
10   Q   Okay.    When you served on panels for the National
11       Research Council did any of them assess or evaluate
12       the effectiveness of sediment dredging?
13   A   No.
14   Q   When you were coming to your opinions concerning the
15       caps, in your view that the caps will eventually
16       fail, were you relying on any scientific literature
17       for that opinion?
18   A   Well, not so much scientific literature as an
19       understanding of the dynamics of the Hudson River.
20       I have seen it immediately after flood stage.             I've
21       been upstream of it after Irene and saw boulders as
22       big as the chair you're sitting on that have been
23       rolled down some of those tributaries to the Hudson
24       River.    The river when it goes wild, and it happens
25       occasionally, will redistribute materials within the


                      TSG Reporting - Worldwide   877-702-9580
                                                                              Page 85
 1                      KIRK WYE BROWN, Ph.D.
 2       river, moves them downstream.                  In fact there are
 3       even calculations of how much material moved down
 4       the Hudson River, and it's massive amounts of
 5       material.    And there are times, episodic times when
 6       boulders and rocks will be moved.                       So 4-inch stones
 7       are not going to stay in place.                   It's just the fact
 8       of the matter, you look at the river at places that
 9       expose bedrock, obviously they're not dredging
10       there.   Other places they're sediments, they're
11       sediment on the right bank and the left bank and
12       these move with time back and forth and reposition.
13       And so there's enough energy in the river to pick up
14       large masses of material and move them from one
15       location to another always moving them downstream.
16       So I mean the caps are designed for the 100-year
17       flood, and I'm not criticizing the design of the
18       caps, but what I'm saying is they're not permanent.
19   Q   Okay.    And I just want to clarify something that you
20       just said.    Is your view on the effectiveness of
21       capping on lack thereof in your opinion in this case
22       specific to the dynamics of the Hudson River, or do
23       you believe that as a general remedial plan capping
24       is a bad idea?
25   A   I didn't say capping was a bad idea.


                      TSG Reporting - Worldwide   877-702-9580
                                                                              Page 86
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   That's what I'm trying to clarify.
 3   A   I focused on this river.                It will delay the release
 4       of PCBs.   No question about it.                  It will not prevent
 5       the release of PCBs.
 6   Q   Okay.   You mentioned as part of the basis for in
 7       your opinion concerning what will happen to the
 8       Hudson River based on its dynamics with regard to
 9       the capping, some of your personal observations of
10       the Hudson River, as well as some calculations I
11       think you said?
12   A   Yes, calculations done by others.                       I didn't do them.
13   Q   And what calculations were those?
14   A   Oh, boy.   And I don't even know who did them.                     U.S
15       Geological Survey or somebody has done calculations
16       of sediment load going down the river.                      And I looked
17       at those, but I can't pull a reference up or the
18       specifics of it.       I just know that those
19       calculations have been done.
20   Q   So you don't recall the date of those calculations?
21   A   No, I don't.
22   Q   And what do you calculations of the movement of
23       sediment downriver have to do with the durability of
24       capping in the Hudson River?
25   A   Well, my view of the capping material would become


                     TSG Reporting - Worldwide    877-702-9580
                                                                           Page 87
 1                      KIRK WYE BROWN, Ph.D.
 2       eventually part of the sediment moving downriver.
 3   Q   And that's irrespective of whatever kind of material
 4       is used in the caps?
 5   A   Right.
 6   Q   Do you recall the last time you looked at these
 7       calculations that you believe were the U.S.G.S
 8       calculations?
 9   A   No.   It's sometime in the last four to six months,
10       but I couldn't give you a date.
11   Q   Did you rely on them in the development of your
12       opinions in your rebuttal and your report concerning
13       capping?
14   A   They're just a supporting element.
15   Q   Besides your personal observations and these
16       U.S.G.S. calculations did you rely on anything else
17       for your view that the Hudson River dynamics will
18       eventually lead to the erosion of the caps?
19   A   Well, that and personnel observations made.                    Yeah.
20   Q   Anything else?
21   A   No.
22   Q   I'd like to turn now to page 36 of your expert
23       report.    And what I'm going to focus on here
24       Dr. Brown is your opinions contained in the section
25       marked 4.7, Sampling and Monitoring.                    And I'd


                      TSG Reporting - Worldwide   877-702-9580
                                                                               Page 88
 1                       KIRK WYE BROWN, Ph.D.
 2       actually like you to first turn to page 37 and I
 3       just want to take you to 36 to see what opinions you
 4       were discussing here.             And I'm looking at the second
 5       full paragraph that starts, "As specified in the
 6       Community Health and Safety Plan."                       Are you with me
 7       on that paragraph?
 8   A   Thirty-seven?
 9   Q   37, second full paragraph.
10   A   Oh, got it.     Yes.
11   Q   And I'm focusing specifically here on the last two
12       sentences of that paragraph which read, "Since a
13       composite sample is essentially a time-weighted
14       sample, composite sampling will not provide
15       information on temporal conditions or short-term
16       spikes in concentration of the water column.
17       Composite samples will not guarantee that
18       representative concentrations of PCBs in the water
19       are measured."        Did I read that correctly?
20   A   Yes.
21   Q   Do you hold yourself out as an expert in the
22       monitoring of PCBs in surface waters?
23   A   I have expertise in monitoring surface waters.                        I
24       have not personally done it for PCBs.                      But I've
25       looked at lots of samples from other sites where


                       TSG Reporting - Worldwide   877-702-9580
                                                                              Page 89
 1                       KIRK WYE BROWN, Ph.D.
 2       surface water have been monitored in.                    I've done
 3       some sampling myself.
 4   Q   And my question is, do you hold yourself out as an
 5       expert in monitoring of PCBs in surface waters?
 6   A   Monitoring surface waters, not PCBs.                     I haven't done
 7       it, but my expertise from other activities carries
 8       over onto PCBs.
 9   Q   So if someone were to call you tomorrow and say
10       Dr. Brown, do you have expertise in the monitoring
11       of PCBs in surface waters, what would you tell them?
12                 MR. BOYAJIAN:              Objection to the form.
13   A   I have expertise in monitoring surface waters.                    I've
14       done it for many chemicals and I would be happy to
15       adds PCBs to the list.
16   Q   All right.     Have you ever designed a monitoring
17       program for PCBs in surface waters?
18   A   Not for PCBs.
19   Q   Have you ever implemented a monitoring program for
20       PCBs in surface waters?
21   A   I have not.
22   Q   Have you ever designed a monitoring a program for a
23       dredging project?
24   A   I have not.
25   Q   Have you ever implemented a monitoring program for a


                       TSG Reporting - Worldwide   877-702-9580
                                                                            Page 90
 1                       KIRK WYE BROWN, Ph.D.
 2       dredging project?
 3   A   I have not.
 4   Q   Is it your understanding that the monitoring program
 5       adopted by the EPA and GE for the dredging project
 6       includes both manual and automated sampling
 7       techniques?
 8   A   I am.
 9   Q   Is it your opinion that the monitoring protocol
10       approved by the EPA for the dredging project was
11       inappropriate for monitoring PCB concentrations in
12       the Hudson River during the dredging on seasons?
13                 MR. BOYAJIAN:              Objection to the form.
14   A   They're some things that are, you know, you might
15       consider inappropriate where the samples were taken,
16       for instance with reference to water intakes and
17       that type of thing.           So that might be criticized.
18       But monitoring in a river this dynamic is not an
19       easy thing.     And you know these people who designed
20       this supposedly had expertise.                    But in fact when you
21       look at the record you find that they tried this and
22       it didn't work, they tried that and it didn't work,
23       they tried something else and it didn't work, and
24       then they finally settled on an approach.                   So I
25       don't know where their expertise was so great that


                       TSG Reporting - Worldwide   877-702-9580
                                                                              Page 91
 1                   KIRK WYE BROWN, Ph.D.
 2   they couldn't find the right way -- the one that
 3   they landed on the first time.
 4               But my criticism more than that is that
 5   when it comes to the water supply that people are
 6   going to be drinking, the river is heterogenous.
 7   You take a sample at one time in one location and
 8   that's not going to tell you what's deeper in the
 9   water, next to it in the water or what's going to be
10   taken up by the water uptake.                   The problem is it's
11   just a very complicated system.                    There's one set of
12   data that show that clearly where they took a series
13   of water samples across the river.                        One side was
14   non-detect.     Near the other shore it was over
15   1200-micrograms per liter.                 Okay.         Well, if the
16   water supply had been near that shore over there
17   where it was 1,200 and it was taken up, it would be
18   twice the 500 we're talking about, plus a little
19   bit.   If you took an average of those, does that
20   mean that's what the water supply would've been
21   taken up.    That's the problem.                  It's so
22   heterogeneous that anyway you sample it, you're not
23   going to be able to provide assurance that at some
24   other point or some other time you're not going to
25   have a much higher concentration, that is a


                   TSG Reporting - Worldwide   877-702-9580
                                                                       Page 92
 1                      KIRK WYE BROWN, Ph.D.
 2       potential being taken up by water supply.
 3   Q   Okay.    And is that what you mean when you say it's
 4       not an easy thing to monitor PCB concentrations of
 5       the Hudson River?
 6   A   Right.
 7   Q   Okay.    And you mentioned just a couple of minutes
 8       ago that you -- insofar you had criticisms, the
 9       monitoring program one of them would be the sampling
10       locations.    What is your criticism of the sampling
11       locations?
12   A   Well, I think it would've been -- they did it at
13       Waterford.    That is attach a sample to an intake
14       pipe.    I think that would've been appropriate for
15       other intake pipes on the river.
16   Q   Which intake pipes?
17   A   Well, the intake pipe for Halfmoon would have been
18       appropriate.     Of course at Stillwater you can't get
19       an intake pipe.       But I think that would've been
20       appropriate.     Also I notice that at Stillwater there
21       were long periods of time and off seasons where they
22       didn't take water samples.                Of course Stillwater is
23       no longer using the water, so that may have been the
24       reason for that.
25   Q   And why do you think that there should've been


                      TSG Reporting - Worldwide   877-702-9580
                                                                           Page 93
 1                     KIRK WYE BROWN, Ph.D.
 2       monitoring at the intake at Halfmoon?
 3   A   Well, because that's the water that would be taken
 4       up for the -- by the water treatment plant.
 5   Q   Okay.   Do you have any reason to believe that the
 6       water at the Halfmoon intake at any given time would
 7       be substantially different in concentration than the
 8       water at Waterford intake?
 9   A   Well, we see situations where the concentrations
10       measured downstream sometimes were higher than the
11       ones measured upstream.
12   Q   And what was the distance between the downstream and
13       upstream monitoring stations that you're referring
14       to there?
15   A   I don't have a number on the distance.                 I'd have
16       look back at it.
17   Q   Was it more than a couple of miles?
18   A   I'd have to look at it.            I don't recall.
19   Q   Do you know how far the Halfmoon intake is from the
20       Waterford intake?
21   A   No.
22   Q   Would the distance between those two intakes have
23       any influence on your opinion that Halfmoon
24       should've had a monitoring station attached to it?
25   A   When they were taking water out -- if they were


                     TSG Reporting - Worldwide   877-702-9580
                                                                             Page 94
 1                      KIRK WYE BROWN, Ph.D.
 2       going to take water out, they should have a sampler
 3       there.
 4   Q   If who was going to take water out?
 5   A   Halfmoon.
 6   Q   Is it your understanding that Halfmoon has taken any
 7       water from the Hudson River during the dredging on
 8       seasons?
 9   A   I don't have an understanding of that.                   No.
10   Q   You don't know either way what Halfmoon has done?
11   A   Not during the dredging season.                   I don't recall.
12   Q   Okay.    Are there any other criticisms that you have
13       besides the sampling locations at the monitoring
14       stations?
15   A   Well, they ran into problems.                  And it's a typical
16       situation where you're taking samples out of a river
17       and you're sampling device gets fouled, gets flooded
18       up with vegetation and other things.                    I think they
19       could have developed sampling devices that minimize
20       that problem if you put a bigger screen around it,
21       it helps minimize the problem.                   But they're aware of
22       those problems and trying to deal with them.
23   Q   Any other criticisms?
24   A   No.   The main problem is it doesn't represent what's
25       going to be pulled in.


                      TSG Reporting - Worldwide   877-702-9580
                                                                   Page 95
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   How much bigger of a screen would you have
 3       recommended that GE put on the monitoring stations
 4       to prevent the fouling up?
 5   A   It minimizes it.         It doesn't prevent it.
 6   Q   Sorry.   To minimize.
 7   A   Yeah.    And you can make screens a foot in diameter
 8       or so it and just helps decrease the problem.            It
 9       doesn't do away with it, but that's a technique that
10       I've used in the past.
11   Q   Do you know what size the screens were that GE used?
12   A   From the visual evidence they look very small to me.
13   Q   And what visual evidence are you referring to?
14   A   The photos.
15   Q   The photos of monitoring stations?
16   A   Yes.
17   Q   Do you know if a screen that's a foot in diameter
18       would have fit onto the monitoring stations?
19   A   Oh, yes.
20   Q   And what's your basis for saying that?
21   A   The river is big enough to hold something a foot in
22       diameter.
23   Q   Right.   The river is, but what about the monitoring
24       stations themselves?
25   A   Well, you just attach it to the end that so that you


                       TSG Reporting - Worldwide   877-702-9580
                                                                                 Page 96
 1                        KIRK WYE BROWN, Ph.D.
 2       have a screen that's keeping the fouling material
 3       out of the smaller area where you're sucking the
 4       water in.
 5   Q   Okay.
 6                   MS. WADHWANI:             Let's take a break.
 7                   VIDEOGRAPHER:             One moment please.           Off the
 8             record at 11:46 a.m.
 9             (There was a short recess in the proceedings.)
10                   VIDEOGRAPHER:             At 12:03 a.m -- p.m.,
11             sorry, this is -- we're back on the record.
12   BY MS. WADHWANI:
13   Q   We were talking about before we took the break your
14       criticisms of the monitoring station for -- excuse
15       me, during the dredging on season.                        Do you have
16       these same criticisms for the dredging off seasons
17       with regards to monitoring?
18   A   Well, it's still a problem that the river is so
19       heterogeneous.
20   Q   And the problem with the heterogeneity of the river
21       just exists as a matter of fact; correct?
22   A   Right.
23   Q   So there's nothing that anyone can do about that?
24   A   Right.   So it's difficult to monitor it.                       But you
25       know when you get a series of samples, and some of


                        TSG Reporting - Worldwide   877-702-9580
                                                                         Page 97
 1                       KIRK WYE BROWN, Ph.D.
 2       them are 300 and some of them are over 500, and then
 3       when I average that and say well, it's under 500, to
 4       me that's not showing the picture, because the
 5       picture is there's a spot out there that is likely
 6       500 or more.      And the way the data is handled is
 7       also in my view and the way the standards were set
 8       up to handle the data is not as protective as it
 9       should be.
10   Q   How protective should it be?
11   A   Well, we're out of that business now in that no one
12       is using the water anymore.                  So you know you'd have
13       to apply standards other than human consumption.
14   Q   What standards would you apply?
15   A   Well, then you're looking at standards for fish and
16       ecosystems and that type of thing.
17   Q   Do you disagree with the current standards in Phase
18       2 related to the fish and the Hudson River
19       ecosystems?
20   A   I haven't formed opinions on that.
21   Q   Do you know what work or activities GE undertook
22       prior to 2009 to satisfy itself and EPA that
23       composite sampling was representative of the river
24       conditions?
25                 MR. BOYAJIAN:              Just note my objection to


                       TSG Reporting - Worldwide   877-702-9580
                                                                          Page 98
 1                      KIRK WYE BROWN, Ph.D.
 2             the form.
 3   A   I have a memory of some activities there, but I
 4       can't pull it up.         I don't remember exactly what
 5       they did concerning composite samples.
 6   Q   Did you look into that question?
 7   A   I don't recall looking at that.
 8   Q   Okay.   Have you seen the results, the data that
 9       resulted from the activities GE undertook prior to
10       2009 to test the composite sampling and monitoring
11       stations?
12   A   I recall reviewing those, yes.
13   Q   Do you remember from what years that data was
14       derived?
15   A   No.   Other than re-dredging I don't recall what
16       years it was.
17   Q   And did that data influence your opinions in your
18       report?
19   A   Well, if you're trying to get the average going down
20       a river, probably a composite sample is your only
21       choice.    But the composite sample averages the low
22       numbers with the high numbers.                   So if you're trying
23       to find out whether there's going be a location
24       where there's a high concentration which could be
25       harmful to somebody, then the composite sample isn't


                      TSG Reporting - Worldwide   877-702-9580
                                                                       Page 99
 1                      KIRK WYE BROWN, Ph.D.
 2       over space or time, doesn't give you that
 3       information.
 4   Q   Why is composite sampling you're only choice for
 5       monitoring conditions as they move down river?
 6                  MR. BOYAJIAN:           Objection to the form.
 7            Misstates the witness's response, but you can
 8            answer.
 9   A   The composite sample at least you're taking several
10       samples to say get somewhat of an average.                But by
11       putting them all together, which is what a composite
12       sample is where you put them all together, you've
13       eliminated your high values.                So they don't show.
14       So you're not showing a true picture of the
15       potential for exposure from use of the river water.
16   Q   So what different type of monitoring protocol do you
17       think GE and EPA should have adopted?
18   A   I don't think any monitoring protocol is going to
19       give you results that are going to be protectant, no
20       matter what you do.         Because you can't -- you can't
21       take enough samples to get a true picture of what's
22       going down the river.
23   Q   Why not?
24   A   Because it's so heterogeneous.
25   Q   And so if GE or EPA had consulted with you in say


                     TSG Reporting - Worldwide   877-702-9580
                                                                               Page 100
 1                       KIRK WYE BROWN, Ph.D.
 2       2006 about the monitoring protocol that they should
 3       adopt for the dredging project, what would you have
 4       said?
 5   A   Well, I would have said that whatever monitoring you
 6       do, you're not going to be protective of water
 7       supplies.    That's number one.                  So if you want to
 8       find out what the dredging is doing, your only
 9       choice is to use the best systems available.                         And
10       they would be some kind of a sampling system where
11       you looked at individual samples.                         In some cases
12       if -- but if there's nobody taking the water from
13       the river, then that's not near as necessary.                         And
14       then you could go to some time and space composites.
15   Q   Do you think that GE used the best systems
16       available?
17                   MR. BOYAJIAN:            Objection to the form.
18   A   Well, they used the standard systems.                         And I haven't
19       done a detailed review of it, but I -- you know the
20       ISCO water sampling system.                   I knew those people
21       that were running that company back in 1965, and
22       they make good samplers.                  I think they did the best
23       they could and they're continuing to do the best
24       they could.     But what I'm saying is -- and it's
25       probably okay as long as no one is drinking the


                       TSG Reporting - Worldwide    877-702-9580
                                                                           Page 101
 1                      KIRK WYE BROWN, Ph.D.
 2       water from the river.            If they're drinking the water
 3       from the river, then I would have suggested changes.
 4   Q   What changes would you have suggested?
 5   A   Well, more detailed sampling right around where
 6       people would be withdrawing the water.                   But then the
 7       problem is there's always turnaround time, so you
 8       can't tell them turn your water system off.                   So I
 9       think that the course of action that was taken is
10       the best, get out of the river.                   And well, the
11       samples are what they are.                They help us understand
12       something, but not all of it.
13   Q   And you agree that some sort of sampling and
14       monitoring program was necessary for the dredging
15       project?
16   A   I think yes.
17   Q   How many samples do you think should have been taken
18       per day at the water intakes?
19                  MR. BOYAJIAN:            Objection to the form.
20            Misstates the witness's prior testimony, but
21            you can answer.
22   A   I haven't attempted to do a calculation of that to
23       figure out what would be appropriate.
24   Q   Okay.   And the laboratory turnaround time that you
25       mentioned.


                      TSG Reporting - Worldwide   877-702-9580
                                                                               Page 102
 1                      KIRK WYE BROWN, Ph.D.
 2   A   Right.
 3   Q   That response time and what a lab is capable of,
 4       that just exists regardless of whether there's
 5       dredging or not; correct?
 6   A   Right.    And I would say they've done a good job of
 7       getting that down as far they can.                      I give them
 8       credit for that.        But still if the water is already
 9       in somebody's drinking water system and you notify
10       them, well, it's a little late.
11   Q   Okay.    Is there a sampling method you believe could
12       be used to capture the concentrations of PCBs
13       absorbed to sediments that are moving downriver with
14       the bedload?
15   A   Well, the system that was used in Phase 1 I think is
16       the appropriate one, put a pan out and capture the
17       materials that are redeposited.
18   Q   Did the pans that were put out as part of the
19       deposition studies in Phase 1 in your opinion
20       capture the PCBs, absorbed sediments in terms of for
21       sampling purposes and data purposes?
22                  MR. TEDESCO:            Objection to the form.
23   A   I would think so, yes.
24   Q   And how about for capturing the levels of PCBs in
25       sheens?


                      TSG Reporting - Worldwide   877-702-9580
                                                                       Page 103
 1                       KIRK WYE BROWN, Ph.D.
 2   A   That's always a very difficult one.
 3   Q   Why is that?
 4   A   Because the sheen is very thin, as thin as a
 5       molecule or two.         And getting a sample of that,
 6       skimming it off the water, you're always going to
 7       get water.
 8   Q   And so is there a way to differentiate the
 9       concentration of PCBs in the water versus the
10       concentrations of PCBs in the sheen?
11   A   If you could get a big enough sample, enough sheen
12       in there compared to water, you could allow it to
13       settle, the water settled and sheen float on top.
14       If you can get a big enough sample you could then
15       measure what's in the water, measure what's in the
16       sheen.
17   Q   What's a big enough sample?
18   A   Well, you'd have to have enough that you could run
19       it through your analytical procedures.                  And I don't
20       know exactly what that number is.
21   Q   And how do sheens behave in a river system like the
22       Hudson River?
23   A   Well, what happens is a free-phase liquid is
24       released at the some point below the water surface.
25       That free-phase liquid is going to be mostly oil,


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 104
 1                      KIRK WYE BROWN, Ph.D.
 2       not PCBs.    The PCBs are dissolved in the oil and
 3       that comes up to the surface.                   When it hits the
 4       surface it spreads out very quickly in a layer
 5       that's just a couple of molecules thick.                   They're
 6       all hanging onto each other.                  The example I was
 7       going to give you is you probably don't know about
 8       this is, but fire ants.
 9   Q   I know fire ants.
10   A   Okay.   Fire ants get on water, they kind of form a
11       mat.    They all grab onto each other and form a mat
12       and then some of them climb on top, and those are
13       the ones that survive.             The mat drowns.        But you can
14       picture that same thing with molecules of these
15       chemicals spreading out.                 And then they get thinner
16       and thinner and some of it evaporates.                   And the ones
17       that are going to evaporate most easily are the oils
18       that are not PCBs, and then some of the PCBs
19       evaporate also.       But then what's left is some of the
20       oil and some of the PCBs and they move downstream,
21       they may attach to something.                   Or if enough of the
22       oil evaporates, the PCBs will then sink back to the
23       bottom.
24   Q   Okay.
25                   MR. BOYAJIAN:           I hope there's no fire ant


                      TSG Reporting - Worldwide    877-702-9580
                                                                           Page 105
 1                       KIRK WYE BROWN, Ph.D.
 2            lovers out there.
 3   Q   Do you know at what depth the water take -- excuse
 4       me, water intake is for Halfmoon for its water
 5       treatment plant when it uses the Hudson River?
 6   A   I don't have a -- I saw that somewhere, but I don't
 7       have an accurate memory of that.                     I don't recall
 8       what depth.     I was thinking it was midway, but...
 9   Q   Okay.   Now, you've reviewed the expert report of
10       GE's expert John Connolly; correct?
11   A   I have, yes.
12                  MS. WADHWANI:             Sorry.        I'm going to take a
13            moment to grab it.              I'm going to mark as
14            Exhibit 4 the expert report of John Connolly
15            dated December 13, 2013.
16            (Brown Exhibit 4 was marked for
17            identification.)
18                  MR. BOYAJIAN:             Does this have the updated
19            tables that he put in after the fact?
20                  MS. WADHWANI:             I'm sorry, it does not.          I
21            apologize.        I wasn't going to ask questions
22            about --
23                  MR. BOYAJIAN:             That's quite all right.
24                  MS. WADHWANI:             -- those tables I don't
25            believe.


                       TSG Reporting - Worldwide   877-702-9580
                                                                              Page 106
 1                        KIRK WYE BROWN, Ph.D.
 2                   MR. BOYAJIAN:             Now, he testified about
 3              that.    So if there comes a situation where that
 4              comes up, just make it clear.                      I can't remember
 5              what part of his testimony related to that.
 6                   MS. WADHWANI:             Sitting here today I can't
 7              remember either.
 8   BY MS. WADHWANI:
 9   Q   I take it that you've read Dr. Connolly's expert
10       report in this case?
11   A   I have.
12   Q   Would you please turn to page 19...
13   A   Yes.
14   Q   Of his report.         And I want to point to you
15       specifically to the last paragraph on page 19 which
16       reads, "The Town of Halfmoon intake is located on
17       the east shore of a manmade channel that connects
18       the downstream end of Lock 1 with the Hudson River.
19       This channel is isolated from the main flow of the
20       river.    The source of the water reaching this intake
21       is either from occasional pulse flows from a lock
22       discharge or very low velocity backflow from the
23       main stem of the river below lock one.                       These flow
24       patterns would result in little, if any, transport
25       of bedload materials from the main channel of the


                        TSG Reporting - Worldwide   877-702-9580
                                                                             Page 107
 1                     KIRK WYE BROWN, Ph.D.
 2       Hudson River to the intake."                 Regarding the location
 3       of the Town of Halfmoon's intake and the
 4       characterization of the area of Halfmoon's intake,
 5       do you disagree with anything that Dr. Connolly
 6       states in that paragraph?
 7   A   No.
 8   Q   Are the statements in that final paragraph of page
 9       19 fair and accurate to your knowledge?
10   A   Yes.   I have no reason to question them.
11   Q   Can you turn please to page 28 of your rebuttal
12       report, which we marked as Exhibit 2.                    And in
13       Section 5.7 here on page 28 what is it in
14       Dr. Connolly's opinions that you are responding to?
15   A   Well, he's claiming that there's no bedload movement
16       along the bottom of the river, and I think there is
17       bedload movement.        It's a natural process by which
18       some of the materials in the bottom of river are
19       slowly moved downstream.                I don't know why he would
20       conclude there's no bedload movement.                    And when
21       those materials contain PCBs or PCBs attach to a
22       particle, they will move downstream.                    So I think
23       there is bedload movement.                And everything I've read
24       and seen indicates that that's an phenomena that
25       goes on in all of these rivers.


                     TSG Reporting - Worldwide    877-702-9580
                                                                      Page 108
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   Okay.    And did you see in Dr. Connolly's report, and
 3       we can certainly turn to it, wherein discussing this
 4       issue of why he would think that PCB sediment in
 5       bedload would not move downstream he noted that a
 6       reason was that that the Hudson River is dammed at
 7       seven locations between Fort Edward and Waterford.
 8   A   Right.
 9   Q   And I take it that you disagree that the dams would
10       have any effect on the movement of PCB sediment in
11       the bedload as it moved downstream?
12   A   No.   I agree they have an effect.
13   Q   And what's that effect?
14   A   The bedload builds up behind those dams.                And then
15       during periods when there's a high-flow event, some
16       of that will be stirred up and taken over the dam.
17       And also these dams have locks adjacent to them.
18       And every time there's a flushing from the lock,
19       some of the sediment up-gradient of the lock will be
20       removed through and discharged down the river
21       probably too Halfmoon's intake.
22   Q   Is it your opinion that the PCB containing sediment
23       from the bedload from the locks will go straight
24       into Halfmoon water intake?
25                  MR. BOYAJIAN:            Objection.


                      TSG Reporting - Worldwide   877-702-9580
                                                                   Page 109
 1                      KIRK WYE BROWN, Ph.D.
 2   A   They go into the pool from which Halfmoon is
 3       pulling.    So the potential is certainly there.
 4   Q   And the bedload rests on the bottom of the river; is
 5       that correct?
 6   A   Yes, moves along the bottom of the river.
 7   Q   You also state here on page 28 at the bottom in the
 8       second paragraph in Section 5.7 that you disagree
 9       with Dr. Connolly in that DNAPLs if present in the
10       sediments would not be collected in the water
11       samples collected in the monitoring system.             And you
12       refer back to your original report concerning the
13       drawbacks of the monitoring system, including the
14       inability of a stationary monitor to capture sheens
15       or PCBs absorbed to sediments moving down river with
16       the bedload; correct?
17   A   Yes.
18   Q   Also on page 28 here you mention that highly
19       contaminated sediments below the dam contain PCBs at
20       concentrations that are greater than the
21       concentrations possible by partitioning from the
22       water column.      And I'm just wondering if you can
23       tell me what that means?
24   A   It means that just as we talked about before with
25       the caps.    When there's PCBs in the soil, when


                      TSG Reporting - Worldwide   877-702-9580
                                                                         Page 110
 1                  KIRK WYE BROWN, Ph.D.
 2   they're in equillibrum with the water, the water
 3   will have a given concentration.                    And so to get over
 4   the dam, if the water is going over the dam and then
 5   recontaminating the sediment with the PCBs, what
 6   we're saying is you can't get high enough
 7   concentration in the water to raise the sediment to
 8   the concentrations that are occurring on the
 9   downside of the dam.           So it's saying somehow PCBs
10   got over the dam.         And one way is this episodic
11   stirring and some of the sediments where PCBs go
12   over the dam.      They have to get over the dam
13   somehow.   Another possibility is that during
14   disturbances or at other times a sheen is formed.
15   And there have been reports of sheens on the Hudson
16   River in the absence of dredging.                       And in fact I've
17   personally seen sheens on the Hudson River in the
18   absence of dredging.           When that sheen comes up
19   behind the dam and then that water goes over the
20   dam, you can almost never see a sheen when it's
21   going over the damn.           It's too quick.             And then that
22   gets on the other side, the light oils that caused
23   it to float evaporate and the PCBs go down to the
24   bottom.    So's another mechanism by which it can get
25   over the dam.


                  TSG Reporting - Worldwide   877-702-9580
                                                                           Page 111
 1                       KIRK WYE BROWN, Ph.D.
 2                  So we've got this stuff below the dam in
 3       concentrations that you couldn't get there by taking
 4       it out of water and putting it in the sediment.                       So
 5       it tell us there are other mechanisms by which it's
 6       getting over the dam.             And stirring up that bedload
 7       discharging through the canals is one or a couple of
 8       the mechanisms that are likely responsible.
 9   Q   So when the PCBs and a sheen as you've described it,
10       the ones that do not evaporate into the air drop
11       back down into the water, do they always drop right
12       back down instantly into the sediment?
13   A   There's going to be a gradient.                    The water is
14       flowing.   They don't drop instantly.                    So they're
15       going downstream somewhere where they began to
16       settle, they will settle back to the sediment, back
17       to the bottom.
18   Q   Will they necessarily settle back into the sediment
19       or will some partition into a dissolved form?
20   A   Well, some will partition in dissolve form, yes.
21       absolutely.
22   Q   And those will move downstream?
23   A   Those move downstream farther.
24   Q   And is it possible then that those PCBs that have
25       partitioned into dissolve form as the sheen has


                       TSG Reporting - Worldwide   877-702-9580
                                                                       Page 112
 1                     KIRK WYE BROWN, Ph.D.
 2       moved back into the water, could be captured by a
 3       sampling station?
 4   A   That's a possibility if the sampling station was
 5       there when that happened.
 6   Q   Okay.   And what about the bedload of sediment that
 7       gets captured behind the dam and then has the
 8       processes that you said that it comes over the dam?
 9       Do all the PCBs that were in the sediment that
10       settled behind the dam necessarily stay absorbed to
11       the sediment as it goes through the process of
12       mixing over the dam and coming out the other side?
13   A   No.   Some will partition into the water.                But it's
14       actually a very small amount that will partition
15       into the water.
16   Q   How much will partition into the water?
17   A   Typically we think of -- well, there are a couple of
18       factors, but we would think that the concentration
19       in the sediment ought to be about 1,000, 1,500 times
20       that in the water.
21   Q   What's the basis for thinking that?
22   A   The octanol-water partition coefficient, which is
23       the partition coefficient for PCBs between water and
24       oil runs on the order of ten to five, ten to 5.8
25       depending on which PCB group.                 So that would say


                     TSG Reporting - Worldwide   877-702-9580
                                                                          Page 113
 1                      KIRK WYE BROWN, Ph.D.
 2       100,000 times different if you had oil.                   And then
 3       you got to translate that onto the organic matter in
 4       the sediment that we're talking about.                   And if we
 5       say one percent, than that moves it over to the
 6       range of 1,500 times more expected to be on the
 7       sediment particles than is in the water.
 8   Q   Okay.   And I'm still not sure if I understand, so
 9       please bear with me.
10   A   It's not an easy concept if you never thought about
11       it.
12   Q   Okay.   My question was going to be, I'm still trying
13       to understand this amount of PCBs that gets
14       partitioned off of the sediment from the bedload as
15       it goes over the dam into the water.                    Is it possible
16       to attach an average percentage to that?
17   A   No, I don't think -- there's not enough data
18       anywhere or theory that would allow you to do that.
19   Q   So what allows you, and I'm just trying to
20       understand, to characterize it as a small amount?
21   A   Because PCBs are lipophilic.                 They're oil loving
22       compounds.    They are oil.              They want to be with
23       their friends, other oil.                Organic matter isn't oil,
24       but it's close to oil.             Water is polar compound.
25       PCBs don't like to be in water, so they're going to


                      TSG Reporting - Worldwide   877-702-9580
                                                                     Page 114
 1                     KIRK WYE BROWN, Ph.D.
 2       attach themselves to other organic material, oil or
 3       organic carbon in the sediment preferentially.
 4   Q   Okay.   And if the parcel of sediment bedload that's
 5       coming over the dam doesn't contain any oils, what
 6       will happen to those PCBs as the bedload gets mixed
 7       over the dam process?
 8   A   Well, once it gets on the other side, either if it
 9       doesn't contain oil, it contains some of the
10       sediments that are suspended contain some organic
11       matter, those on the bottom that contain some
12       organic matter.      So as you go forward down the
13       river, that process is going to try to come back to
14       equillibrium, so that the concentration in the water
15       is in equillibrum with this 1,500 times more in the
16       soil particle.
17   Q   Okay.   And as the bedload comes over the dam
18       containing sediments that have PCBs in them, in an
19       average Hudson River flow, not a high-flow
20       situation, but sort of the average flow of the
21       Hudson River, approximately how long will it take
22       for those sediments to resettle back into the water?
23                  MR. BOYAJIAN:           Objection to the form.
24   A   Well, the answer to your question can be gotten from
25       Stokes Law which relates the density of the particle


                     TSG Reporting - Worldwide   877-702-9580
                                                                       Page 115
 1                      KIRK WYE BROWN, Ph.D.
 2       and the size of the particle, the viscosity of the
 3       water, and it tells you how far that will settle in
 4       what time length.        And then you got to take the
 5       velocity of your water moving down, and so it's
 6       going to settle at an angle.                 So if it's grain size
 7       of sand, it's going to settle press quick.                  If it's
 8       clay, it might go half a mile downstream before it
 9       settles.
10   Q   Okay.   And what about with sheens, once the sheen
11       starts disappearing back into water on an average
12       Hudson River flow, how long will it take for the
13       PCBs that were in that sheen to resettle?
14                  MR. BOYAJIAN:            Same objection.
15   A   There's not really enough data to get hands around
16       that because there's just too many unknowns there.
17   Q   And what are the unknowns?
18   A   Well, how big the droplet is and exactly what its
19       density is, because different Arochlors have
20       different densities.           And then the moving water
21       itself, how fast it's moving.                  So there's no good
22       way to -- I mean you can try to make an estimate,
23       but I wouldn't bet on it.
24   Q   And is the movement of the sheens back into the
25       water and the PCBs in there to the extent that they


                     TSG Reporting - Worldwide   877-702-9580
                                                                 Page 116
 1                      KIRK WYE BROWN, Ph.D.
 2       don't evaporate or partition off into the water
 3       column, they're settlement also subject to Stokes
 4       Law?
 5   A   Yes.
 6   Q   So in your statements here in your rebuttal,
 7       particularly on page 29, still in Section 5.7
 8       talking about the transport of PCBs with the bedload
 9       sediments.
10   A   Yes.
11   Q   The last sentence of that section says, "Highly
12       contaminated sediments below the dam contain PCBs at
13       concentrations that are greater than the
14       concentrations possible by partitioning from the
15       water column.      And my first question is just a
16       clarifictory question, which is what dam are you
17       referring to here?
18   A   Any of the dams where they got measurements.
19   Q   Okay.    Just the use of the singular threw me off.
20       So I just wanted to make sure --
21   A   Right.
22   Q   And what data are you relying upon for your opinion
23       that sediments below the dam/dams contain PCBs at
24       concentrations that are greater than the
25       concentrations possible by partitioning from the


                      TSG Reporting - Worldwide   877-702-9580
                                                                       Page 117
 1                      KIRK WYE BROWN, Ph.D.
 2       water column?
 3   A   Well, we know what the saturation concentration of
 4       PCBs in water is.         And even if you saturated them
 5       the concentrations in sediments have been collected
 6       below the dams are higher than the equillibrum would
 7       allow.
 8   Q   Okay.    Do you have any other basis for your opinion
 9       that the series of dams in the upper Hudson River
10       will not prevent a PCB contaminated bedload of
11       sediment from moving downstream?
12   A   I think that's the evidence.                 I mean we've got data
13       that shows it is downstream.                 So it got over the dam
14       somehow.
15   Q   And what evidence are you referring to?
16   A   The samples that have been taken in the river.
17   Q   The water column concentration samples?
18   A   The sediment concentration samples.
19   Q   The ones from the downstream deposition studies or
20       are you referring to different sediment samples?
21   A   There were other samples taken along the river, and
22       I'd have to go back and look to see exactly which
23       ones we were relying on, but there's certainly
24       concentrations in the sediment which you couldn't
25       get from the concentrations in the water.


                      TSG Reporting - Worldwide   877-702-9580
                                                                                Page 118
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   Okay.   Outside of this litigation have you ever
 3       studied the movement of sediment containing PCBs
 4       across dams?
 5   A   Not PCBs.    I've studied other things.                      Metals.
 6   Q   But not PCBs?
 7   A   Not PCBs.
 8   Q   I'd like to look back to your original report now
 9       that we've marked as Exhibit 1, and I'll turn your
10       attention to page 38.
11                   MR. BOYAJIAN:            And just so you know, he's
12            I think brought lunch back.                        So any time you
13            what to -- whenever you're at the right point
14            in time, you tell us.                 The lunch material is
15            here.
16                   MS. WADHWANI:            Since we're starting a new
17            section and it's 12:40, maybe this is a good
18            time to take a lunch break.
19                   MR. BOYAJIAN:            That's why I mentioned it.
20                   VIDEOGRAPHER:            One moment please, off the
21            record at 12:40 p.m.
22            (Whereupon, a lunch recess was taken and
23            proceedings resumed at 1:40 p.m.)
24            (Brown Exhibit 5 was marked for
25            identification.)


                      TSG Reporting - Worldwide   877-702-9580
                                                                        Page 119
 1                        KIRK WYE BROWN, Ph.D.
 2                  VIDEOGRAPHER:              On the record at 1:40 p.m.
 3   BY MS. WADHWANI:
 4   Q   Dr. Brown, during the lunch break we discussed
 5       marking as an exhibit one of the sets of documents
 6       that you brought in, and I've gone ahead and marked
 7       it as Brown Exhibit Number 5 to your deposition.
 8       And generally speaking can you tell me what this set
 9       of documents are that you have brought in that we've
10       now marked as 5?
11   A   They're in several groups.                  The first group is a
12       group of documents that show the regulatory history
13       and response during the '60s up through '78.
14   Q   Of GE?
15   A   Of GE for the Fort Edward and Hudson Falls plant.
16       Then there's a segment of the Phase 1 evaluation
17       report on sediment traps.                  There's a segment, a part
18       of the Phase 1 evaluation report on sheens and
19       there's another one from the same report on
20       transects, and there's some statistical analysis
21       that I performed on the data and then there's a more
22       complete set of the documents that we've been able
23       to obtain from the Hanford site where research was
24       being done on the modeling and prediction of
25       groundwater movement, including not only models but


                        TSG Reporting - Worldwide   877-702-9580
                                                                          Page 120
 1                      KIRK WYE BROWN, Ph.D.
 2       there was at least one paper on two-phase movement.
 3   Q   Okay.    Forgive my memory but I just want to ask you
 4       again if the documents that you brought related to
 5       the Hanford site, are those the ones that you said
 6       that you didn't have when you prepared your opinions
 7       in this case?
 8   A   I didn't have the time to sort them.                    So they're all
 9       the documents that we now have from the Hanford site
10       from the research that was done there.                   They include
11       the ones that are cited in the report and others
12       that we didn't have at the time we wrote the report.
13   Q   Okay.    But the ones that you cited in the report
14       from when we look back at Exhibit 5 are the ones
15       that you relied upon; correct?
16   A   Yes.
17   Q   And insofar as you have documents in what we've now
18       marked as Exhibit 5 related to the Hanford site that
19       are not cited in your report, you did not rely on
20       those in coming to your opinion; correct?
21   A   Right.    Not when I wrote the report.
22   Q   Okay.    Thank you.       Outside of the Hanford documents
23       are the remaining documents in Exhibit 5 documents
24       that you relied upon in coming to your opinions in
25       this case?


                      TSG Reporting - Worldwide   877-702-9580
                                                                  Page 121
 1                       KIRK WYE BROWN, Ph.D.
 2   A   For clarification, coming to my opinions when my
 3       report was written or...
 4   Q   Well, let's start with your original report.
 5   A   Okay.
 6   Q   Did you rely on any documents in that stack, not
 7       including the Hanford documents for this purpose, in
 8       coming to the opinions that you have set forth here
 9       that you intend to offer in your original report?
10   A   Yes.    Those would have been the excerpts from the
11       Phase 1 evaluation report that I listed for you.
12   Q   Any other documents in that stack in Exhibit 5 that
13       you relied upon in coming to your opinions as set
14       forth in your original report we've marked as
15       Exhibit 1?
16   A   Not the original report.
17   Q   Okay.    So now you're moving onto my next question,
18       which is that, did you rely on any of those
19       documents in preparing your opinions for your
20       rebuttal report that we marked as Exhibit 2?
21   A   Yes.
22   Q   Which ones?
23   A   In particular those that have a tab on it that says
24       Notice of Violation.            And in the way of full
25       disclosure, there are a few of these that I did not


                       TSG Reporting - Worldwide   877-702-9580
                                                                           Page 122
 1                     KIRK WYE BROWN, Ph.D.
 2       see until after the report was prepared.                  This is
 3       the second report that was prepared, the rebuttal
 4       report.
 5   Q   Which documents have you seen after the rebuttal
 6       report was prepared?
 7            (There was a brief pause in the proceedings.)
 8   A   Okay.   So I made them into two piles, those that I
 9       remember that I did see and rely on when I was doing
10       my rebuttal report, and those that I believe I
11       didn't see until after I did my rebuttal report.
12   Q   May I see the documents that you did not see or rely
13       upon to your rebuttal report?                 I'm going to just try
14       to do this as quickly and painlessly as possible.
15   A   Sure.
16   Q   But indicating to the record that the documents that
17       Dr. Brown did not see and rely upon for his rebuttal
18       report nor your original report; correct?
19   A   That's correct.
20                 MS. WADHWANI:            Are as follows.        I'm just
21            going to give the Bates stamps to extent that I
22            can if that's okay with.
23                 MR. BOYAJIAN:            Yeah.        And if there's no
24            Bates stamp, any other reference that works.
25                 MS. WADHWANI:            Sure.        A document with


                     TSG Reporting - Worldwide   877-702-9580
                                                                           Page 123
 1                        KIRK WYE BROWN, Ph.D.
 2             Bates stamp GEWS-09105946 through 47.
 3                  Document Bates stamped GEWS-09106269.
 4                  A document Bates stamped GEWS-09105644
 5             through 5656.
 6                  A document Bates stamped GEWS-09105660
 7             through 661.
 8                  GEWS-09105657 through 5658.
 9                  A document that is not Bates stamped with
10             a Bates stamp from this case, but that reads at
11             the top Declaration of John A. Harrington,
12             executed January 15, 2007.                    That appears to
13             have been marked at the deposition of Neil
14             Schifrin in this case.                  It was marked as
15             Exhibit 14.
16                  And a document Bates stamped GEWS-09105987
17             through 990.          Thank you for allowing me to do
18             that.
19                  THE WITNESS:              No problem.
20   BY MS. WADHWANI:
21   Q   And you can just hand everything back to the court
22       reporter and she'll take that as Exhibit 5.
23   A   Fine.
24   Q   One of the things I want to discuss with you right
25       now is a document you mentioned you had included in


                        TSG Reporting - Worldwide   877-702-9580
                                                                         Page 124
 1                        KIRK WYE BROWN, Ph.D.
 2       Exhibit 5 and mentioned earlier which was the
 3       statistical analyses you and I believe you said the
 4       graduate student who is working with you was helping
 5       you on?
 6   A   Yes.
 7   Q   I'm going to mark these statistical analyses as
 8       Exhibit 6.
 9              (Brown Exhibit 6 was marked for
10              identification.)
11   BY MS. WADHWANI:
12   Q   As an initial matter can you tell me generally
13       speaking what these are statistical analyses of?
14   A   These are statistical analysis of the water samples
15       from the EPA database for 2005 through 2014 for
16       various stations.           And some of the analysis are for
17       the full data set, both off and on season.                And
18       since then I've also sorted out where we have only
19       off season points.
20   Q   And have you noted on the documents here I guess the
21       last two pages are the off-season points --
22   A   That's correct.
23   Q   -- documents.        And it appears, Dr. Brown, that there
24       are a couple of documents that don't span the 2005
25       to 2014 period, although please correct if me I'm


                        TSG Reporting - Worldwide   877-702-9580
                                                                      Page 125
 1                      KIRK WYE BROWN, Ph.D.
 2       wrong, it look like Lock 5 might go from 2009 to
 3       2014?
 4   A   Right.    We were short a data set there.
 5   Q   And Schuylerville goes from 2005 to 2007?
 6   A   That's right.      Yes.
 7   Q   And the reason you only included data points for
 8       those years is because of the information you had
 9       available to you at the time?
10   A   That's right.
11   Q   All right.    So will you briefly walk me through
12       these and tell me what it is that's being presented
13       on the Stillwater statistical analysis?
14   A   That's an analysis of all of the data and what we
15       did was fit -- statistically fit a line.                And that's
16       what the line is that goes through the data.
17   Q   Okay.    So the by data here, you're referring to
18       measurements?
19   A   Right.
20   Q   -- of raw water?
21   A   Yes, in the river.
22   Q   At the Stillwater monitoring station?
23   A   Yes.
24   Q   And these are 24-hour composite sample or grab
25       sample or combination of both?


                      TSG Reporting - Worldwide   877-702-9580
                                                                               Page 126
 1                       KIRK WYE BROWN, Ph.D.
 2   A   That's correct.
 3   Q   Is it a combination of both, a composite sample and
 4       manual sampling as far as you know?
 5   A   I think it is, yes, that's what I remember.
 6   Q   Okay.   And what is the line that you said is on the
 7       ascent here across?
 8   A   The line is the statistical fit line.                      So in a
 9       standard statistical procedure you would determine
10       what line equation that line best fits the data.                        So
11       you could think of it as -- one way to think of it
12       is the moving average would be the line, but that's
13       a simplification of the process.
14   Q   Well, simple is better for someone who has no
15       statistical background, which I'm ready to admit is
16       myself.   So this line represents the average PCB
17       concentrations measured at Stillwater at these
18       different years; is that correct?
19   A   It's a representation of it, yes.
20   Q   Okay.   And how did this information -- well, strike
21       that.   We'll come back to that.
22                  So tell me what statistical analysis you
23       performed here related to Lock 5 and what I'm
24       looking at?
25   A   It's the same statistical analysis.                      That is we


                       TSG Reporting - Worldwide   877-702-9580
                                                                           Page 127
 1                      KIRK WYE BROWN, Ph.D.
 2       found what line would best fit the sets of data, the
 3       data that's on there.
 4   Q   And why is the line for Lock 5 straight as opposed
 5       to an ascending slope in Stillwater?
 6   A   Why is it flat as opposed to ascending?
 7   Q   Yes.
 8   A   They're both straight lined.
 9   Q   Thank you.
10   A   You're welcome.
11   Q   Flat.    Thank you.
12   A   Because the data really show no trend.                   That is flat
13       line means that the concentration is independent of
14       time.
15   Q   What does that mean?
16   A   The dredging did not decrease the concentrations in
17       the water for all the -- it didn't increase it, it
18       didn't decrease it.          It's just a flat line.           And I
19       draw your attention to the little box at the top and
20       let's go back to the first one so we can start
21       there.    There's are R square which means how well
22       does this line fit the data.
23   Q   So what is the .33 mean in terms of how well it
24       fits?
25   A   It means it's not have very good fit.                   In just


                      TSG Reporting - Worldwide   877-702-9580
                                                                             Page 128
 1                      KIRK WYE BROWN, Ph.D.
 2       looking at the data you can see the data is
 3       scattered pretty far around the line, particularly
 4       when you get out into the later years.                       So it's not
 5       a very good fit.        So this slope is not significant,
 6       and the slope is very small, .05.                       So what we can
 7       conclude from this is that we can't conclude that
 8       the concentrations increased statistically.                       All we
 9       can conclude is they haven't changed.
10   Q   Okay.    So all you can conclude with regard to the
11       Stillwater statistical analysis is that the
12       concentrations from 2005 to 2014 have not changed?
13   A   Right.
14   Q   Okay.    Thank you for that clarification.
15   A   Yep.
16   Q   And is that the same conclusion you reached with
17       Lock 5 even though the line is flat, is that the
18       concentrations of PCBs have not changed between 2009
19       and 2014?
20   A   Right.
21   Q   Okay.    Moving onto Schuylerville.                     Please tell me
22       what the slope here represents.
23   A   Well, here the line goes down instead of up.                       But
24       again the slope is very small, minus .0073, and the
25       R square is also very small .04.                    So what we


                      TSG Reporting - Worldwide   877-702-9580
                                                                  Page 129
 1                      KIRK WYE BROWN, Ph.D.
 2       conclude from this is there's been no change.            The
 3       line goes down but it's not statistically
 4       significant decrease.            And in fact nothing we've
 5       looked at is significant different, so we conclude
 6       again there's no change at Schuylerville.
 7   Q   So in other words, the PCB concentrations at
 8       Schuylerville according to your analysis have
 9       remained statistically speaking the same?
10   A   Right.
11   Q   Between, is it 2004 to 2011?
12   A   Yes.    There was some data back in 2004.
13   Q   Okay.
14   A   Through 2011.
15   Q   All right.    And then the next analysis is of the
16       information at the Waterford monitoring station?
17   A   That's correct.
18   Q   And I'm sorry, before the Waterford monitor stations
19       since you have information that precedes the sample
20       dredging project?
21   A   Right.    So we have all the way back into 2004.
22   Q   And the 2004 information you have, that's also
23       information you obtained from the EPA?
24   A   Correct.
25   Q   So what that -- I'm sorry, tell me what's going on


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 130
 1                       KIRK WYE BROWN, Ph.D.
 2       here.
 3   A   Same conclusion, it hasn't changed.                      So dredging
 4       hasn't statistically increased it, hasn't
 5       statistically decreased it, using all the data.                        And
 6       I did these in response to Connolly who said it's
 7       going down.     I don't see -- statistically it's not
 8       going down.
 9   Q   Where did Dr. Connolly say that the concentrations
10       of PCBs were doing down?
11   A   In his report.
12   Q   Was he referring to a specific location?
13   A   I'd have to look to see, but I believe it was a
14       general statement.
15   Q   Okay.   We'll look at that in a little bit.
16   A   Okay.
17   Q   Okay.   And then with your only off season points
18       here that you have for Lock 5, Stillwater and
19       Waterford, can you tell me each one what the results
20       were?
21   A   Yes.    For Lock 5, again, very poor correlation .005,
22       and the slope was very small.                   So even the off
23       season no change.          It didn't go up, it didn't go
24       down.   For Stillwater there's very little data out
25       at 2010 to 2014, but I ran it anyway.                      And there


                       TSG Reporting - Worldwide   877-702-9580
                                                                      Page 131
 1                       KIRK WYE BROWN, Ph.D.
 2       again the slope is down but it's not significant.
 3       So statistically there's been no change in the off
 4       season.    And then if we go to Waterford we see the
 5       same thing.     There's been no statistical change.            To
 6       me statistics is really the only way to look at this
 7       data.
 8   Q   Why is that?
 9   A   Well, you can't just look at it and say oh, it looks
10       like it's going up or it looks like it's going down.
11       To make a scientific statement you have to do
12       statistics to see whether your slope or your line is
13       significant or not.           And so this -- and I haven't
14       seen where GE or the consultants have done any
15       statistics.     So that's the standard way of
16       interpreting such data.              So I did this just to
17       satisfy myself to find out what the real answer was.
18       And the real answer was dredging didn't make any
19       difference, didn't decrease it, didn't increase it.
20   Q   Okay.    When did you perform these statistical
21       analyses?
22   A   Oh, it's about a month or six weeks ago.
23   Q   So you performed these analyses not for purposes of
24       your original expert report; correct?
25   A   Right.


                       TSG Reporting - Worldwide   877-702-9580
                                                                  Page 132
 1                        KIRK WYE BROWN, Ph.D.
 2   Q   What was the purpose for which you performed these
 3       statistical analyses then?
 4   A   Well, I got thinking about it more and in response
 5       as I said, John Connolly's statements that it was
 6       going down.      I wanted see whether that was
 7       statistically true or not.
 8   Q   Okay.
 9   A   Now, in full disclosure I did not go back to the
10       beginning of the record.
11   Q   What do you by mean by the beginning of the record?
12   A   If you go back into the early part of the century.
13   Q   The 21st century?
14   A   The 21st century and come forward there are -- if
15       you look at that data back there it was higher.
16   Q   What was higher?
17   A   The concentrations in the water were higher.
18   Q   In the turn of the 21st century?
19   A   Right.
20   Q   Okay.
21   A   Right.   In 2001, 2002 and even before that in the
22       '90s it was higher.
23   Q   Higher than what?
24   A   Higher than what we're seeing now.
25   Q   Higher than what we're seeing post dredging?


                       TSG Reporting - Worldwide   877-702-9580
                                                                          Page 133
 1                      KIRK WYE BROWN, Ph.D.
 2   A   Higher than what we're seeing pre dredging and post
 3       dredging.
 4   Q   So higher than what we're seeing from approximately
 5       insofar as you have the information 2004, 2005
 6       through 2014?
 7   A   Right.    This ten year period approximately that
 8       we're looking at.
 9   Q   Okay.    So the concentrations were higher in 2000,
10       2001, 2002, 2003?
11   A   Right.    But that's shortly after the Allen Mills
12       spillway.
13   Q   A-L-L-E-N, second word M-I-L-L.
14   A   That release, and of course closer to the time when
15       the plant was operating and still releasing PCBs in
16       the '70s.    So those were higher.                  But what I was
17       interested in and what Connolly was commenting on is
18       the impact of dredging.             So I selected approximately
19       equal time for dredging, equal time during and after
20       dredging to do this analysis.
21   Q   And you found statistically speaking there was no
22       difference in the concentrations?
23   A   Right.
24   Q   Now, please forgive me if this is an ignorant
25       question.    I don't mind if you tell me it is an


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 134
 1                       KIRK WYE BROWN, Ph.D.
 2       ignorant question, but are there different types of
 3       statistical models that a statistician can run using
 4       this information?
 5   A   Yes.
 6   Q   And so which model did you use?
 7   A   I chose the linear model using the value of the
 8       data.
 9   Q   And by value of the data --
10   A   I did not --
11   Q   -- and you don't that mean in a valuative way;
12       right?    Do you mean a value as in like N equals two
13       as a value?
14   A   No.    I'm saying I used the numerical values of the
15       data.    I did not apply a change to that data.                    And
16       what I mean by that is one could also run this, for
17       instance, with the log of the data.                      That is
18       sometimes done, statisticians like to do that.                     It
19       confuses the heck off out people, including me.
20   Q   And if would you confuse, you could imagine what it
21       would do to me.
22   A   Let's keep it simple.             Rather than talking about the
23       log of the data changing, let's see whether the data
24       changes.
25   Q   Okay.    So the ease of interpretation and


                       TSG Reporting - Worldwide   877-702-9580
                                                                         Page 135
 1                    KIRK WYE BROWN, Ph.D.
 2       presentation of the data was one of the reasons that
 3       you chose to use what you've called the linear
 4       model; is that correct?
 5   A   Yes.
 6   Q   Were there any other reasons that you chose to use
 7       the linear model?
 8   A   Well, it fits the data.           I mean one could've used a
 9       curvilinear and asked is there a curve that fits
10       this data rather than a straight line.                But you
11       don't get much out of that because there's nothing
12       you can do with a curve anyway.
13   Q   Why not?
14   A   Well, if you use a curve model and the next set of
15       data is very flat, you can't use the same model on
16       both sets of data.        So I wanted to have the same
17       model, statistical model on both sets of data.                  And
18       as I said, this is the simplest way to look at it.
19   Q   Were there any other reasons that you chose the
20       linear model?
21   A   No, that's it.
22   Q   How did this information beyond what you might've
23       already told me from the statistical analysis inform
24       your rebuttal opinions?
25   A   Well, in that it rebuts Connolly's position that


                    TSG Reporting - Worldwide   877-702-9580
                                                                   Page 136
 1                     KIRK WYE BROWN, Ph.D.
 2       concentrations in the water columns are going down.
 3   Q   Okay.   And you don't rely upon this information for
 4       any other purpose in your rebuttal opinions?
 5   A   No.
 6   Q   In your opinion among these models that you have
 7       identified for me as possible methods you could have
 8       chosen in addition to the linear method for
 9       addressing the data, is it your opinion that for
10       this type of data the linear method is the best
11       method?
12   A   Yes.
13   Q   Okay.   Let's turn back to your report now.            And I'm
14       going to first orient you to page 38 of your report
15       that we marked as Exhibit 1, but that's really only
16       by way of showing you that the section I want to
17       talk about now is the Section 4.8 that has been
18       labeled Standards.
19   A   Yes.
20   Q   But I'd like you actually now that you know where
21       we're at in report to turn to page 41 of your
22       report.
23   A   Yes.
24   Q   And I'm looking here at the last paragraph before
25       Section 4.9 labeled Fingerprint.


                     TSG Reporting - Worldwide   877-702-9580
                                                                    Page 137
 1                      KIRK WYE BROWN, Ph.D.
 2   A   Right.
 3   Q   And I'm going to look at actually the last sentence
 4       where you say that, "It is my opinion that the
 5       higher mass loading at increased concentrations
 6       allowed under the engineering performance standards
 7       in Phase 2 pose an additional risk to the water
 8       supplies of the plaintiff municipalities."              That's
 9       your opinion correct?
10   A   Right.
11   Q   And that's still your opinion today?
12   A   Yes.
13   Q   And what's the basis for this opinion?
14   A   Well, the higher mass loads going down the river
15       than were originally projected means that those
16       materials are then in a location where they can more
17       easily be resuspended and pose a risk.
18   Q   And by increased concentrations do you mean
19       increased PCB concentrations?
20   A   Yes.    And particularly we're talking about here is
21       during the dredging period.
22   Q   I'm going to mark as Exhibit 7 the December 2010 EPA
23       Revised EPS for Phase 2.
24              (Brown Exhibit 7 was marked for
25              identification.)


                      TSG Reporting - Worldwide   877-702-9580
                                                                      Page 138
 1                        KIRK WYE BROWN, Ph.D.
 2   BY MS. WADHWANI:
 3   Q   Have you seen this document before?
 4   A   I have.
 5   Q   Did you read this document in preparation for
 6       preparing your opinions in this case?
 7   A   Yes, I have.
 8   Q   Did you rely upon this document in forming the
 9       opinions that you have in this case?
10   A   Yes.
11   Q   If you could please turn to page 2-1 of this Phase 2
12       EPS.
13   A   Yes.
14   Q   Section 2.1 right underneath that the EPA states,
15       "That the fundamental principles that have guided
16       the development of Phase 2 EPS are described below.
17       These principles have been developed to create a
18       flexible set or revisions to the Phase 1 EPS to
19       guide the Phase 2 remediation and to ensure that the
20       cleanup meets the human health and environmental
21       objectives of the ROD.               And then they say the
22       principles include the following and they list four.
23       Including the principle that the standards have been
24       developed to protect human health and the
25       environment, while offering as much flexibility as


                        TSG Reporting - Worldwide   877-702-9580
                                                                        Page 139
 1                       KIRK WYE BROWN, Ph.D.
 2       practicable in the Phase 2 final design and
 3       implementation."         Do you have any reason to dispute
 4       EPA statement that they designed the Phase 2
 5       engineering performance standards to be protective
 6       of human health?
 7   A   Well, you know it would be as much reflexibility as
 8       practical.     So they've given themselves some wiggle
 9       room there.     Obviously EPA wants to protect human
10       health and the environment, but obviously also they
11       want this dredging done.                  So they've given
12       themselves flexibility there.
13   Q   Just so I'm clear on what you're saying.                  Do you
14       agree that the EPS has been designed by EPA with
15       standards to protect human health and the
16       environment?
17   A   They're doing it to provide some level of protection
18       to human health and the environment.
19   Q   Is it your understanding that Halfmoon has been
20       using as its water source the water from the City of
21       Troy since approximately late March 2010?
22   A   That's my understanding, yes.
23   Q   And are you also aware that EPA agreed throughout
24       the duration of Phase 2 to pay for Halfmoon's
25       incremental costs of using Troy water during all of


                       TSG Reporting - Worldwide    877-702-9580
                                                                           Page 140
 1                     KIRK WYE BROWN, Ph.D.
 2       Phase 2 dredging seasons and at least some Phase 2
 3       dredging off seasons?
 4   A   Yes, that's consistent with my understanding.
 5   Q   And are you also aware that regardless of whether
 6       the EPA pays for the other Phase 2 off seasons,
 7       Halfmoon has decided they will not return to using
 8       Hudson River water during the dredging project?
 9   A   Yes.
10   Q   So in other words, your aware that Halfmoon is not
11       using Hudson River water during the entirety of
12       Phase 2 on season and off season; correct?
13   A   That's right.
14   Q   If we look at footnote five on page 2-3 of the
15       revised EPS we are marked as Exhibit 7 you see that
16       EPA states, "That it is expected that no public
17       water supplies in the upper Hudson portion of the
18       site will use the river as their source of drinking
19       water while Phase 2 is occurring."                     And that's your
20       understanding as well; correct?
21   A   Yes.   Although that's kind of ambiguous because it
22       says all Phase 2.        Does that mean while Phase 2 is
23       dredging or the whole period of time when Phase 2 is
24       in operation.
25   Q   I can't tell you what EPA means here.                    But it is


                     TSG Reporting - Worldwide   877-702-9580
                                                                              Page 141
 1                      KIRK WYE BROWN, Ph.D.
 2       your understanding at least that Halfmoon is not
 3       going to use the river as its source of drinking
 4       water during the on and off seasons of Phase 2?
 5   A   That's my understanding.
 6   Q   And EPA at least has an understanding that Halfmoon
 7       along with other public water supplies will for at
 8       least some portion of Phase 2, certainly at least
 9       the, on seasons not be using the Hudson river?
10   A   Right.    But it is originally EPAs position that they
11       could use it during the off season.
12   Q   Right.    But my -- do you know what EPA's position is
13       now regarding Halfmoon use of river water during the
14       remaining dredging off seasons of Phase 2?
15   A   I don't know that they made a statement of that
16       effect.
17   Q   Do you know if the EPA has agreed to reimburse
18       Halfmoon for its incremental costs of using Troy
19       water during the remaining dredging off seasons?
20   A   I'm not aware of such an agreement.
21   Q   So going back to your opinion here.                     Given that
22       Halfmoon is on Troy water during a Phase 2, what is
23       the additional risk to the water supplies of the
24       plaintiff municipalities that you identify here?
25   A   Well, it is an ongoing risk and that they don't have


                      TSG Reporting - Worldwide   877-702-9580
                                                                      Page 142
 1                     KIRK WYE BROWN, Ph.D.
 2       the option of going back into the river again.
 3   Q   Are the water supplies that Halfmoon is currently
 4       using at any additional risk as a result of the
 5       revised EPS standards by EPA for Phase 2?
 6   A   No, I don't think so.
 7   Q   Okay.   Do you criticize the EPA for promulgating
 8       these revised EPS standards for Phase 2?
 9                  MR. BOYAJIAN:           Objection to the form.
10   A   Tell me the page number again.
11   Q   I actually am just asking about a general question,
12       Dr. Brown, for these Phase 2 revised EPS standards,
13       specifically -- more specific, the ones that you
14       identify in your report including the higher mass
15       loading and increased PCB concentrations allowed
16       under the engineering performance standards.                Do you
17       criticize EPA for promulgating these standards?
18   A   Well, they didn't meet the mass loading standards
19       during Phase 1.      So EPA increased them.            I would
20       have preferred that they would've tried to develop
21       methods to decrease the mass loading rather than
22       just change the standards to a higher level.
23   Q   Okay.   And going back to the increased
24       concentrations of PCBs allowed under the engineering
25       performance standards.            What is your understanding


                     TSG Reporting - Worldwide   877-702-9580
                                                                         Page 143
 1                      KIRK WYE BROWN, Ph.D.
 2       of what that increase was?               From what to what?
 3   A   I'd have to go back and look at it, but there was --
 4       I can't picture the details anymore.                   It was
 5       concerning how many times it had to be above 500
 6       before a notification and then how many samples had
 7       to be averaged to get there, and I can't pull those
 8       details without looking at it again.
 9   Q   So is it your understanding that the resuspension
10       standard of 500-parts per trillion did or did not
11       change between the Phase 1 EPS and these revised
12       Phase 2 EPS?
13                 MR. BOYAJIAN:            Objection to the form.
14   A   I'd have to look at it.            I don't recall.
15   Q   So sitting here today you don't know?
16   A   I don't recall at this time.
17   Q   Okay.   And you can put out of your way the revised
18       EPS for Phase 2.
19                 Now, as you state in your report and you
20       mentioned a few times today already, it's your
21       opinion that there are multiple sources of PCBs to
22       the water column of the Hudson River; correct?
23   A   Yes.
24   Q   And I'd like to look now at the opinions in your
25       report related to that view insofar as we haven't


                     TSG Reporting - Worldwide   877-702-9580
                                                                     Page 144
 1                        KIRK WYE BROWN, Ph.D.
 2       already looked at them.               So first I'd like to turn
 3       to Section 4.2 at page 22 of your original report.
 4       4.2 --
 5                   MR. BOYAJIAN:             Before you go any further,
 6              I'm sorry, I don't mean to interrupt you, but
 7              could I have the question before the last
 8              question read back please.
 9              (Whereupon, the following excerpt of the
10              proceedings was read by the Court Reporter.)
11            "Q     Now, as you state in your report and you
12       mentioned a few times today already, it's your
13       opinion that there are multiple sources of PCBs to
14       the water column of the Hudson River; correct?"
15   BY MS. WADHWANI:
16   Q   I'm going for look at Section 4.2 Mass Balance for
17       PCBs, but I'd like to turn your attention to page 22
18       of that report.         And in the last paragraph of page
19       22 of your report do you state here that PCBs in
20       DNAPL and groundwater underneath the plant sites
21       serve as potential future sources of PCBs to the
22       river until all the DNAPL can be removed from the
23       fractured bedrock?
24   A   Yes.
25   Q   And is the fractured bedrock currently serving as a


                        TSG Reporting - Worldwide   877-702-9580
                                                                               Page 145
 1                        KIRK WYE BROWN, Ph.D.
 2       source of PCBs to the river?
 3                  MR. BOYAJIAN:              Please note my negotiation
 4             to the form of the question.                        And can I just
 5             clarify something for the record, because I
 6             wanted to set forth an objection that the
 7             question that I asked to be read back, and I
 8             just want it clear that your question means
 9             when you say sources, different sources of PCBs
10             in different forms as opposed to different
11             sources?       I mean it can be taken multiple ways.
12                  MS. WADHWANI:              So is insofar as you're
13             worried that I'm trying to suggest that
14             multiple sources means something other than GE?
15                  MR. BOYAJIAN:              Something other than GE.
16                  MS. WADHWANI:              I am not.
17                  MR. BOYAJIAN:              I appreciate you just
18             clarifying that for the record.                        That was the
19             source of my concern, and so we're clear on it.
20                  MS. WADHWANI:              Well we'll clean this up
21             with Dr. Brown.
22   BY MS. WADHWANI:
23   Q   Dr. Brown, you haven't mentioned here today as we
24       started to get into and I'm going to discuss that
25       DNAPL from the plant sites is a source of PCBs to


                        TSG Reporting - Worldwide   877-702-9580
                                                                  Page 146
 1                     KIRK WYE BROWN, Ph.D.
 2       the river; correct?
 3   A   Yes.
 4   Q   And DNAPL from the General Electric plant sites;
 5       correct?
 6   A   Yes.
 7   Q   And that DNAPL from in your opinion pools underneath
 8       the Hudson River is a source of PCBs to the river;
 9       correct?
10   A   Yes.
11   Q   And you have mentioned that you think that in the
12       future either erosion of the caps or migration of
13       PCBs through the caps will be a source of PCBs to
14       the water column of the river; correct?
15   A   Correct.
16   Q   So you understand here that I'm not asking you to
17       perhaps do the kind of work that you performed in
18       the other PCB case that you mentioned where you
19       allocated whose PCBs came from whom among a bunch of
20       different parties.         I'm just talking about the
21       sources as you report them in your expert opinions.
22   A   Yes, that's my understanding.
23   Q   Okay.
24                  MR. BOYAJIAN:           Thanks.
25                  MS. WADHWANI:           Are you okay with that?


                     TSG Reporting - Worldwide   877-702-9580
                                                                       Page 147
 1                        KIRK WYE BROWN, Ph.D.
 2                   MR. BOYAJIAN:             I'm fine with that.
 3   BY MS. WADHWANI:
 4   Q   Okay.    So back to the pending question Dr. Brown,
 5       which was that we're focused right now on Section
 6       4.2 that you have titled Mass Balance for PCBs and
 7       where you discuss DNAPL from the plant sites as a
 8       potential future source of PCBs to the river;
 9       correct?
10   A   Yes.
11   Q   Is this currently an actual source of PCBs to the
12       river?
13   A   I'm well aware of efforts to capture that material
14       and remove it, and I applaud those efforts.                 But in
15       my opinion they're not 100 persons effective.                So I
16       believe there are still some PCBs as DNAPLs that are
17       leaking into the river.               May not be continuous, may
18       be episodic, but I believe the potential is there
19       certainly for things to continue to leak.
20   Q   Well, I guess I want to be clear because you just
21       said the potential is there, and my question to you
22       is, is DNAPL from the plant sites through both as
23       you mentioned here groundwater underneath the plant
24       sites and DNAPL through the fractured bedrock
25       currently serving as an actual source of PCBs to the


                        TSG Reporting - Worldwide   877-702-9580
                                                                       Page 148
 1                      KIRK WYE BROWN, Ph.D.
 2       river?
 3   A   I believe they are.          The difficulty is getting the
 4       data to show that.
 5   Q   Why is that a difficulty?
 6   A   Well, there's no way to monitor every crack and
 7       fissure that comes out from the bottom.                 There have
 8       been observations in the past of the DNAPL dripping
 9       out.    The other factor here is that it's a dynamic
10       system.    So depending on the heighth of the river,
11       the river may be pushing water back into those
12       cracks and the DNAPL into the cracks and then when
13       the water goes down a little bit seeps out.                So it's
14       a dynamic system, but I believe that it is
15       continuing to leak.
16   Q   Okay.    Aren't measurements of sampling for PCBs in
17       the water column nearby and closely downstream of
18       the plant sites a good proxy for understanding what,
19       if any, contribution to PCBs in the water the plant
20       sites are contributing?
21   A   They are certainly something to be considered for
22       that purpose.
23   Q   Okay.
24                  MS. WADHWANI:            We need to change the disk.
25                  VIDEOGRAPHER:            One moment, please.     At


                      TSG Reporting - Worldwide   877-702-9580
                                                                          Page 149
 1                        KIRK WYE BROWN, Ph.D.
 2              2:29 p.m. this is the end of disk two.                 Disk
 3              three will follow.
 4              (There was a brief pause in the proceedings.)
 5                   VIDEOGRAPHER:             At 2:34 p.m. on April 16th,
 6              2014 this is the disk three of the testimony of
 7              Kirk -- Dr. Brown.             Please proceed.
 8   BY MS. WADHWANI:
 9   Q   Do you know where Bakers Falls is, Dr. Brown?
10   A   Yes.
11   Q   Approximately where is that?
12   A   Well, Hudson River.            I've seen it on a map.         I'm
13       trying to place it in relation to the plant.
14   Q   Let me see if I can help you out here.                    We're going
15       to mark as Exhibit 8 a map I've taken from the 2002
16       EPA Record of Decision.               I have the full thing which
17       is called Figures, but the type is very poor.                   So I
18       will represent to you that the map that I'm taking
19       is from the figures but it's a much clearer copy.
20       Is everyone here okay with that yes?
21                   MR. BOYAJIAN:             We trust you.
22                   THE WITNESS:             Sounds great.
23              (Brown Exhibit 8 was marked for
24              identification.)
25



                        TSG Reporting - Worldwide   877-702-9580
                                                                           Page 150
 1                        KIRK WYE BROWN, Ph.D.
 2   BY MS. WADHWANI:
 3   Q   I know it's not noted on here, but looking at this
 4       map do you have an understanding that Bakers Falls
 5       is up near the upper GE plant near Hudson Falls?
 6   A   Yes, that's my understanding.
 7   Q   And do you see here where Rogers Island is?
 8   A   Yes.
 9   Q   And you see that that's south of the GE plants?
10   A   Yes.
11   Q   So my question to you first is, do you know what the
12       concentrations of PCBs have been at Bakers Falls
13       since 2009?
14   A   I've looked at that data, but I don't have it in my
15       mind.
16                   MS. WADHWANI:             Sure.        What I'm going to do
17              then to make it less cumbersome than going
18              through all of Dr. Connolly's report at this
19              time is I've taken a table from it for us to
20              look at to make it easier.                   Don I will
21              represent to you that the table I'm about to
22              mark was not one of the ones that Dr. Connolly
23              updated.      He updated at his deposition figures
24              C1E, C1F and C1H and I'm about to mark as
25              Exhibit 9 figure 1-3a.


                        TSG Reporting - Worldwide   877-702-9580
                                                                            Page 151
 1                        KIRK WYE BROWN, Ph.D.
 2                   MR. BOYAJIAN:             And I don't know if the
 3              witness was aware of that or not, but I'll
 4              discuss that later.
 5                   MS. WADHWANI:             And I can represent to you,
 6              and you should certainly talk about with the
 7              witness what you want later, but during this
 8              deposition I'm not going to be marking any of
 9              the charts that Dr. Connolly updated.                   So there
10              will be no confusion there.                    This is Exhibit 9.
11              (Brown Exhibit 9 was marked for
12              identification.)
13   BY MS. WADHWANI:
14   Q   Do you see in this chart figure 1-3a from John
15       Connolly's report that the average yearly water
16       column PCBs at concentrations -- I'm sorry, let me
17       start again.
18                   Do you see in John Connolly's report in
19       this chart that the average yearly water column PCB
20       water concentrates at Bakers Falls have been at or
21       less than 2-nanograms per liter since 2005?
22   A   Yes.
23   Q   Do you have any reason to disagree with this data?
24   A   No.
25   Q   And then I'm going to mark as Exhibit 10 figure 1-3c


                        TSG Reporting - Worldwide   877-702-9580
                                                                         Page 152
 1                        KIRK WYE BROWN, Ph.D.
 2       from the Connolly report.
 3              (Brown Exhibit 10 was marked for
 4              identification.)
 5   BY MS. WADHWANI:
 6   Q   Do you see here, Dr. Brown, that this figure
 7       represents average yearly water column total PCB
 8       concentrations and major remediation activities at
 9       Rogers Island?
10   A   Yes.
11   Q   And do you see in this chart that the average yearly
12       water column PCB concentrations at Rogers Island
13       have been at or less than 5-nanograms per liter
14       since 2005?
15   A   Yes.
16   Q   Do you have any reason to disagree with those data?
17                   MR. BOYAJIAN:             Objection to the form.
18   A   No.
19   Q   So in other words, is it true that based on these
20       charts the concentrations at Rogers Island have
21       since 2005 typically been at or less than
22       3-nanograms per liter higher than at Bakers Falls?
23       And actually, I will mark another chart that shows
24       that as well.        Mark this as Exhibit 11.             This is
25       figure 1-3d from Dr. Connolly's report.


                        TSG Reporting - Worldwide   877-702-9580
                                                                            Page 153
 1                       KIRK WYE BROWN, Ph.D.
 2            (Brown Exhibit 11 was marked for
 3            identification.)
 4   Q   Okay.    So you just answered my question, but with
 5       the benefit of this chart laying it out clearly with
 6       different colors, is it true that the concentrations
 7       at Rogers Island have been typically at or less than
 8       3-nanograms per liter higher than at Bakers Falls
 9       since 2005?
10   A   On the average that appears to be true.                   Yes.
11                   MR. BOYAJIAN:            And this chart with the
12            colors is Exhibit 11; right?
13                   MS. WADHWANI:            Yes.       They all have colors.
14            But you mean the orange and blue.                   1-3d is
15            Exhibit 11.
16   A   The only here that you couldn't say that is for
17       2012, because the statistical brackets overlap each
18       other.
19   Q   Okay.    Thank you.
20   A   Like the others do.
21   Q   So would you agree that this data suggests that
22       since 2005 the contribution of PCBs to the river
23       from the plant sites has been at very low levels?
24   A   I agree that it's decreased and I think that's
25       wonderful, but there's still PCBs coming from that


                       TSG Reporting - Worldwide   877-702-9580
                                                                 Page 154
 1                      KIRK WYE BROWN, Ph.D.
 2       source.
 3   Q   But what's coming now would you agree is at very low
 4       levels of PCBs?
 5   A   On the average it's a low level.
 6   Q   And according to these charts from Dr. Connolly's
 7       report that we marked as Exhibits 9 through 11, the
 8       concentrations between 2005 and 2000 -- well, to
 9       present, are on average lower than the
10       concentrations in the water column in the 1990s and
11       early 2000s when Halfmoon was obtaining their
12       drinking water from the Hudson; correct?
13   A   They are lower, yes.
14   Q   And you don't have any basis to disagree with that
15       data?
16   A   No.    But of course downstream from here they're
17       higher than this.
18   Q   They're higher than this downstream?
19   A   Yes.
20   Q   In what timeframe?
21   A   In the same period we're talking about here, 2005
22       through 2013.
23   Q   Okay.    And what about in the periods prior to 2005,
24       are the concentrations higher than what's
25       represented here as the concentrations of PCBs at


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 155
 1                     KIRK WYE BROWN, Ph.D.
 2       Bakers Falls and Rogers Island?                  And we'll give that
 3       a timeframe since it's a long span.                    We'll say
 4       between 1998 and 2005.
 5                  MR. TEDESCO:           Objection to the form.
 6                  MR. BOYAJIAN:           Form.
 7   A   I'd have to do an analysis of the data to answer
 8       that question.
 9   Q   Based on what's -- the data from the downstream?
10   A   Yes.
11   Q   Okay.   So you're not able to answer that right now?
12   A   Not without looking at the data.                   No.
13   Q   But you would agree that the data presented here is
14       reflecting concentrations of PCBs at Bakers Falls
15       and Rogers Island?
16   A   Yes.
17   Q   It's not purporting to represent downstream data;
18       correct?
19   A   It's not downstream of dredging, no.
20   Q   Could you please return back to page 22 of your
21       report?
22   A   Yes.
23   Q   At the bottom in that same paragraph we were looking
24       at previously you state that, "These DNAPL zones
25       serve as potential future sources of PCBs to the


                     TSG Reporting - Worldwide   877-702-9580
                                                                          Page 156
 1                     KIRK WYE BROWN, Ph.D.
 2       river until all of the DNAPL can be removed from the
 3       fractured bedrock."         Is it your opinion that one
 4       cannot state with reasonable certainty that they
 5       will in fact be sources to PCBs to the river in the
 6       future?
 7                 MR. BOYAJIAN:            Objection to the form.
 8   A   No.   It's my opinion that they will continue to be
 9       and certainly the data shows there's still a source
10       of PCBs above where they dredged.
11   Q   And how far into the future will these sources be
12       sources of PCBs into the river?
13   A   There's no way to predict that.
14   Q   Could you go into your rebuttal report, page 20
15       please.   And I'm looking at the last paragraph which
16       says, "The DNAPL present in the fractured bedrock
17       below the Hudson Falls and Fort Edward facilities,
18       the potential for migration of the DNAPL toward the
19       river poses a threat to the Hudson River, especially
20       since there are voluminous fractures, both above and
21       below the water level in the river."                   Are you
22       able -- strike that.
23                 Did I hear you correctly just a few
24       minutes ago when you said that it's your opinion
25       that there's not just a potential for migration but


                     TSG Reporting - Worldwide   877-702-9580
                                                               Page 157
 1                      KIRK WYE BROWN, Ph.D.
 2       that DNAPL will actually migrate from the fractured
 3       bedrock below the Hudson Falls and Fort Edward
 4       facilities into the Hudson River?
 5   A   Yes, it's my opinion that some will continue to
 6       migrate.
 7   Q   Can you state how long that will happen?
 8   A   No.
 9   Q   So you can't say whether it will be two more years
10       or 20 more years?
11   A   No.
12   Q   And it could be either?
13   A   It could be.    Yes.
14   Q   Are you able to predict based on the data in
15       Exhibits 9 through 11 that we marked, the charts
16       from Dr. Connolly, whether the concentrations of
17       PCBs from the DNAPL at the plant sites will be
18       greater than the ones in the chart?
19   A   No, I wouldn't risk such a prediction because I
20       believe, as I said earlier, ongoing releases are
21       likely be to be episodic.
22   Q   Is it your understanding that these sources of PCBs
23       that we've just been discussing, the ground water
24       and the fractured bedrock, were sources that existed
25       before the dredging project?


                    TSG Reporting - Worldwide   877-702-9580
                                                                             Page 158
 1                      KIRK WYE BROWN, Ph.D.
 2   A   Yes.
 3   Q   What's your understanding of how long these have
 4       been sources of PCBs to the river?
 5   A   Well, the earliest records of investigations here
 6       don't extend back to the beginning of the time that
 7       PCBs were used there.            But from what I understand
 8       about operations of the plant and the releases that
 9       they had likely within a few years after they
10       started using them there were PCBs certainly in the
11       soil and if not in the groundwater moving towards
12       the groundwater.        So that would've been 1950
13       timeframe.
14   Q   Is it your opinion that the PCBs in the groundwater
15       and the fractured bedrock were entering the Hudson
16       River in the 1950s timeframe?
17                   MR. BOYAJIAN:           Objection to the form.
18              Misstates the witness's prior testimony.
19   A   Well, for instance, at the Fort Edward's plant there
20       was an outfall and PCBs were discharged down that
21       outfall forming a DNAPL plume at the end of that
22       outfall on the edge of the river.                       So there's one
23       example of where I believe soon after we started
24       having discharges from there there were DNAPLs that
25       were moving, that were releasing PCBs into the


                      TSG Reporting - Worldwide   877-702-9580
                                                                          Page 159
 1                     KIRK WYE BROWN, Ph.D.
 2       ground, the groundwater and the river.
 3   Q   And based on the documents you've seen with the
 4       caveats that you've mentioned earlier about how far
 5       records go back, what's the earliest you've seen of
 6       PCBs entering the river from Fort Edward?
 7   A   I'd have to go back and look at when they started
 8       operations there, but I believe it was shortly after
 9       that.
10   Q   So before 1990?
11   A   Oh, yes.
12   Q   And would you say that it was before 1990 that the
13       PCBs in the groundwater and the fractured bedrock
14       that's part of your opinion on page 22 starting
15       entering the Hudson River?
16   A   I believe they would have, yes.
17   Q   I want to turn back to page 22 of your report as
18       well.   And again, that last paragraph, the last
19       sentence that spills over on to page 23 says,
20       "Likewise, the amount of PCBs remaining in the soils
21       and sediments at the Hudson Falls plant is as much
22       as four times the mass PCBs estimated to be already
23       in the river by EPA.          These contaminated soils and
24       sediments will continue to recontaminate the Hudson
25       River after dredging is completed."                    Are you able to


                     TSG Reporting - Worldwide   877-702-9580
                                                                      Page 160
 1                      KIRK WYE BROWN, Ph.D.
 2       provide an estimate as to how long the soils and
 3       sediments containing PCBs at the plant sites will
 4       continue to contaminate the Hudson River after
 5       dredging is completed?
 6   A   No, I don't think it's possible to give you an
 7       estimate.    And among other things I know that there
 8       are remediation programs there, pumping groundwater
 9       and things of that nature.                And I certainly applaud
10       those activities, but those are never 100 percent
11       effective.
12   Q   Why is that?
13   A   Well, you put in wells for extraction but you don't
14       catch it all.      Some get around the end of the wells.
15       The DNAPLs are particularly troublesome getting out.
16       They're at the bottom of the water column.               It's
17       difficult to recover them.                So they're to be there
18       for a long time.        And we're looking at not a few
19       pounds or a hundred pounds, but tons of DNAPL that
20       are known to be there.
21   Q   And where are you basing that estimate from?
22   A   Well, if we look at the -- for instance, Hudson
23       Falls and the soil, subscript D.
24   Q   Are you on Table One of your report on page 23?
25   A   I am.   The record of decision reported that many


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 161
 1                      KIRK WYE BROWN, Ph.D.
 2       pounds of -- let's try again.                  The record of
 3       decision estimated between 176,000 and
 4       582,000 pounds of PCBs remaining in the soil at
 5       Hudson Falls.      So that's -- you know I took a middle
 6       number there for the Hudson Falls soils.                     And you
 7       compare that to what's to be removed from the Hudson
 8       River, and there's less being removed from the
 9       Hudson River than still remains in the soil at the
10       Hudson Falls plant.
11   Q   Can you please turn to page 28 of your rebuttal.
12       And what I'm looking at here is the final paragraph
13       of Section 5.6 before it becomes Section 5.7.                     Could
14       you just read that paragraph to yourself and let me
15       know when you're ready to proceed.
16              (Witness complies with request.)
17   A   Yes.
18   Q   Okay.    In the first sentence there you refer to
19       fundamental hydrologic principles.                      What are those
20       fundamental hydrologic principles to which you're
21       referring?
22   A   Water flows downhill along a potential gradient.                       So
23       for instance, water infiltrates into the soil on a
24       bank next to the river, percolates down, joins the
25       groundwater which then flows to the river, and in


                      TSG Reporting - Worldwide   877-702-9580
                                                                           Page 162
 1                      KIRK WYE BROWN, Ph.D.
 2       the case of this river comes up into the river.
 3       This is a receiving river.
 4   Q   Any other fundamental hydrologic principles you're
 5       referring to there?
 6   A   Yes.    The other one is that the sediments in the
 7       river are finer grain materials.                    So they form some
 8       barrier to the upflow of water.                   If you dredge them
 9       and remove them that barrier is removed so that you
10       can have increased upflow there.                    And the concern is
11       if there's DNAPLs in those same cracks or dissolved
12       PCBs you'll have increased loading on the river than
13       you would've before you dredged it.
14   Q   Okay.    Any other fundamental hydrologic principles
15       you're referring to here?
16   A   No, that's it.
17   Q   A couple of sentences after this first sentence in
18       this paragraph we've been discussing you talk about
19       potential consequences of dredging.                     Do you know if
20       any of these potential consequences of dredging that
21       you have listed here in this paragraph have in fact
22       happened or are happening now?
23                   MR. BOYAJIAN:           Are you still referring to
24              the last paragraph 5.6?
25                   MS. WADHWANI:           Yes, I am.


                      TSG Reporting - Worldwide   877-702-9580
                                                                           Page 163
 1                       KIRK WYE BROWN, Ph.D.
 2   A   My opinion is that when you remove the sediment or a
 3       portion of sediment, that does increase the flow of
 4       water into the river from groundwater.                    So I believe
 5       it would be happening.
 6   Q   Okay.    And as regards to the other potential
 7       consequences do you believe those are happening or
 8       have happened so far?
 9   A   Yes.
10   Q   All of them?
11   A   Yes.
12   Q   And what data or information or are you relying on
13       for that opinion?
14   A   It's back to first principles, that this is the way
15       the hydraulic system works.
16   Q   So you're relying on the fundamental hydraulic
17       principles?
18   A   Yes.
19   Q   Anything else that you're relying on?
20   A   No.
21   Q   Okay.    Back to your original report.                   Sorry for the
22       juggling, but we'll keep doing that today.
23   A   That's all right.
24                   MR. BOYAJIAN:            I see that.         That's okay.
25              I'm getting carpal tunnel syndrome.


                       TSG Reporting - Worldwide   877-702-9580
                                                                            Page 164
 1                        KIRK WYE BROWN, Ph.D.
 2                   MS. WADHWANI:             Trying to keep the topics
 3              together.
 4                   MR. BOYAJIAN:             Okay.        You have a method.
 5   BY MS. WADHWANI:
 6   Q   I'm sorry.      Please turn to page 23 of your original
 7       report.
 8   A   Got it.
 9   Q   Actually, I misspoke.              I apologize to everyone.         I
10       mean 23 of your rebuttal report.                      Now, you have an
11       opinion, correct, Dr. Brown, that DNAPL from pools
12       underneath the Hudson River is either or could be a
13       source of PCBs to the water column; is that correct?
14   A   Yes.
15   Q   And is your opinion that there are DNAPL pools
16       underneath the river that are currently contributing
17       PCBs to the water column or is it your opinion that
18       there are pools of DNAPL under the river that in the
19       future will contribute PCBs to the water column?
20   A   I think both.
21   Q   Okay.    So now and in the future?
22   A   Yes.
23   Q   And what's the basis for that opinion?
24   A   Well, my understanding of where the DNAPLs are and
25       how the groundwater flows.


                        TSG Reporting - Worldwide   877-702-9580
                                                                         Page 165
 1                     KIRK WYE BROWN, Ph.D.
 2   Q   What's your understanding of where the DNAPLs are?
 3   A   Well, for instance, as we talked about before, the
 4       outfall four with the DNAPLs right next to and in
 5       the river and as water flows past them, even if the
 6       DNAPL itself doesn't get to the river, the
 7       contaminated groundwater will.
 8   Q   Okay.   I'd like to look at the last paragraph on
 9       page 23 of your rebuttal report, which is on the
10       Section 5.2 Presence of Pools of PCB DNAPLs, and you
11       state that, "The fact that no significant pools of
12       DNAPL have been found does not mean that a pool of
13       DNAPL is not present, only that a pool of
14       unspecified size or quantity has not been found to
15       this point in the dredging project."                   So is it your
16       opinion that there's a pool of DNAPL in the
17       sediments of the Hudson River?
18   A   I believe there's still locations where there's
19       DNAPL in the sediments.            Yes.
20   Q   Is there a pool of DNAPL in the sediments?
21   A   Yes, I believe they're still some remain.                  And the
22       evidence is particularly when they were coring
23       samples they would get -- sheens come up when they
24       were pushing sheet piles, the would get sheens to
25       come up.   That indicates that there's some pool of


                     TSG Reporting - Worldwide   877-702-9580
                                                                   Page 166
 1                     KIRK WYE BROWN, Ph.D.
 2       DNAPL down there enough to release at least oils
 3       containing PCBs that then reach the surface of the
 4       sheen.
 5   Q   Do you have any opinion as to what the size of these
 6       pools of DNAPL in the sediments are?
 7   A   No.
 8   Q   And is it your opinion that there's a pool of DNAPL
 9       underneath the sediments of the Hudson River?
10   A   I believe at some locations we'll find still -- if
11       you probe them you would have sheens coming up
12       indicative of pools of DNAPL.
13   Q   What locations?
14   A   I can't specify what locations.
15   Q   Why not?
16   A   Well, I haven't gone out there and probed them.
17   Q   So what's the basis for believing that such
18       locations exist?
19   A   When people probed in the past they got sheens.
20   Q   Okay.
21                  MS. WADHWANI:           We need to take a break for
22             a moment.
23                  VIDEOGRAPHER:           One moment, please.   Off
24             the record at 3:03 p.m.
25             (There was a short recess in the proceedings.)


                     TSG Reporting - Worldwide   877-702-9580
                                                                     Page 167
 1                        KIRK WYE BROWN, Ph.D.
 2                  VIDEOGRAPHER:              On the record at 3:14 p.m.
 3   BY MS. WADHWANI:
 4   Q   Dr. Brown, do you have an opinion as to when the
 5       pools of DNAPLs in the sediments were formed?
 6   A   During the time PCBs were being released as free
 7       phase to the river.
 8   Q   And when was that time?
 9   A   Well, certainly there are some records of it.
10       There's a memo from Dunham to Young complaining
11       about pyrrols being squeegeed down the drain.
12   Q   And is that one of the documents from Exhibit 5 that
13       you told me earlier that you did not rely on as part
14       of your expert report?
15   A   Yes.
16   Q   So for purposes of your expert report at the time
17       that you wrote it, did you have an understanding of
18       when the pools of DNAPLs in the sediment were
19       formed?
20   A   Well, I had an understanding certainly as early as
21       1963 when this is a memo from Harvey to Rossello,
22       R-O-S-S-E-L-L-O, Rossello, saying that there was a
23       visit from the Army Corps of Engineers and they saw
24       among other things, oils emanating from the end of
25       the discharge pipe into the river and that they were


                        TSG Reporting - Worldwide   877-702-9580
                                                                     Page 168
 1                      KIRK WYE BROWN, Ph.D.
 2       likely pyrroles.        So there's 1963 where they in fact
 3       indicated that free -- they knew free oils were
 4       going into the river.
 5   Q   So you believe that the pools in the sediment or the
 6       DNAPL in the sediment of the Hudson River were
 7       formed at least as far back as 1963?
 8   A   Yes.    And if we look at the other documents I think
 9       it would indicate even back into the '50s.
10   Q   Okay.   And do you have the same opinion for when the
11       pools of DNAPL underneath the sediments of the
12       Hudson River were formed?
13   A   I believe they would've been formed in the same
14       timeframe.
15   Q   Do you have a sense, and here I'm talking about both
16       the sediments and the DNAPL underneath the sediments
17       of the Hudson River, just to try and shortcut
18       things, but if your answer is different from one or
19       the other you can certainly feel free to separate
20       them out.    Do you have a sense of how big the pools
21       of DNAPL are in the sediments that are underneath
22       the sediments?
23   A   Well, there are figures showing the extent of DNAPL
24       in the bedrock under the river, particularly in the
25       area where they put in the tunnel drains.               So you


                      TSG Reporting - Worldwide   877-702-9580
                                                                         Page 169
 1                     KIRK WYE BROWN, Ph.D.
 2       can actually get a diagram, a figure, a map that
 3       shows you that.      So there's an extent of that one.
 4       At outfall four there's a map that shows the extent
 5       of DNAPL there.
 6   Q   In the sediments?
 7   A   Under the river.       Both of these are under the river.
 8   Q   Okay.
 9   A   As far as mapping DNAPLs in the sediments, no, I
10       don't -- I don't -- as I told you before I don't
11       think anybody knows where they are, how big they
12       are.
13   Q   And is that also your answer for the DNAPL
14       underneath the sediments, or no?
15   A   Yes, that was for DNAPL under the sediments.
16   Q   Okay.   Do you know what Aroclors are in these pools
17       of DNAPLs that you say are in the sediments and
18       underneath the sediments in the Hudson River?
19   A   I'd have to go back and see exactly.                   They did do
20       congener analysis.         And so one can get a fingerprint
21       on which exact pyrrols were or Aroclors if you want
22       to think about it way, which Aroclors are in the
23       various deposits.
24   Q   Do you consider these pools of DNAPL in the
25       sediments and underneath the sediments to be a risk


                     TSG Reporting - Worldwide   877-702-9580
                                                                       Page 170
 1                      KIRK WYE BROWN, Ph.D.
 2       to Halfmoon's water supplies?
 3                  MR. BOYAJIAN:            Objection to the form.
 4   A   They would be a risk if they went back into the
 5       river for water.
 6   Q   Okay.   So fair enough.            If Halfmoon used its water
 7       treatment plant you would find the pools of DNAPLs
 8       to be a risk to them?
 9   A   Yes.
10   Q   And do you have that opinion concerning when
11       Halfmoon was using its water treatment plant to draw
12       Hudson River water?          Were those pools a risk to
13       Halfmoon at that time?
14   A   Yes.
15   Q   Prior to being retained for purposes of this
16       litigation had you formed the opinion that there
17       were pools of PCBs underneath the Hudson River?
18   A   No.    I hadn't had an opportunity to think about it.
19   Q   And I'm sorry if you told me this earlier, but I
20       just want to make clear for the record.                 That your
21       opinion that the presence of sheens is indicative of
22       a pool of PCBs or PCB or DNAPLs?
23   A   Yes.
24   Q   And it's your opinion that the sheens are indicative
25       of a pool of PCBs in the sediments or underneath the


                      TSG Reporting - Worldwide   877-702-9580
                                                                   Page 171
 1                       KIRK WYE BROWN, Ph.D.
 2       Hudson River or both?
 3   A   I would say both in the sediments which are under
 4       the Hudson River.
 5   Q   And what about underneath the sediments?
 6                   MR. BOYAJIAN:            I'm sorry?
 7   Q   Underneath the sediments.
 8   A   At least where the, for instance, at outfall four
 9       and were underneath the sediments that were there,
10       when you get down stream further I don't have any
11       reason to believe that the pools would be under the
12       sediments.     I would think they would be entrapped in
13       the sediments.
14   Q   Okay.   On page 34 of our original report I'd like to
15       focus your attention on the last paragraph on that
16       page, 34.    You state here in the first sentence,
17       "While high concentrations of PCBs were detected in
18       the sheens during dredging, their presence alone is
19       not indicative of the movement of free phase PCBs in
20       the river."     Correct?
21   A   Yes.
22   Q   So please clarify for me how this statement works
23       with your opinion today that sheens are indicative
24       of a pool of DNAPL in the sediments?
25   A   Well, here we're talking about the movement.             It


                       TSG Reporting - Worldwide   877-702-9580
                                                                              Page 172
 1                      KIRK WYE BROWN, Ph.D.
 2       doesn't say anything about the presence.
 3   Q   So explain to me then a little bit what you're
 4       stating here in the first sentence of the last
 5       paragraph on page 34.
 6   A   What I'm saying is that sheens are one method of
 7       movement, but they're not the complete method by
 8       which PCBs move down the river.
 9   Q   And they're a method of moment of PCBs like you say?
10   A   Yes.
11   Q   Okay.    Is it your view that the presence of sheens
12       is indicative of pools of DNAPL in the sediment?
13                   MR. BOYAJIAN:           Objection.           Asked and
14              answered.
15   A   Yes.
16   Q   Okay.    Are sheens always indicative of PCB pools or
17       could they be indicative of something else?
18   A   Sheens can be indicative of something else.
19   Q   What else could be they indicative of?
20   A   You could get a biological sheen.                       The composition
21       of organic matter with certain microbes forms a
22       sheen.    However, it only happens in stagnant water.
23       And of course, you could get a sheen that didn't
24       contain PCBs, an oil sheen that did not contain.
25       Although I'm not aware of any sheens for which PCB


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 173
 1                        KIRK WYE BROWN, Ph.D.
 2       has been measured in this case which did not contain
 3       PCBs.
 4   Q   Okay.    Are you aware of any -- just so I understand
 5       what you just said.            Are you aware of any sheen that
 6       has appeared on the surface during dredging on
 7       season or off season that has been found not to
 8       contain PCBs?
 9   A   Not that I'm aware of.
10   Q   That's what I was looking for clarification to.
11   A   And I wouldn't expect any, in fact.
12   Q   Why not?
13   A   Because PCBs are so common in this river and they
14       like to dissolve in oils.                   So likely any oil that's
15       anywhere trapped in the river is going to have PCBs
16       in it.
17   Q   So following up on that.                   Is that what you were
18       referring to here on the bottom of page 34, carrying
19       over to page 35 that there are petroleum oils in the
20       Hudson River that were released to the Hudson River
21       from a variety of industry and entities?
22   A   Yes.
23   Q   And that those petroleum oils contain PCBs within
24       them?
25   A   Yes.    Now.


                        TSG Reporting - Worldwide    877-702-9580
                                                                               Page 174
 1                         KIRK WYE BROWN, Ph.D.
 2   Q   Now.
 3   A   Not when they -- some of them reached the river.
 4       But now they do.
 5   Q   Fair enough.        There were PCBs oils that went into
 6       the river from I think you list here a variety of
 7       different industries as part of their waste into the
 8       river?
 9   A   Right.
10                   MR. BOYAJIAN:              Objection to the form.
11              Misstates.        What the witness said, he said
12              right.     But he said oils.
13                   MS. WADHWANI:              Oils.
14                   MR. BOYAJIAN:              But you said PCBs oils.
15                   MS. WADHWANI:              I didn't.           I said petroleum
16              oils.     We'll start again.
17                   MR. BOYAJIAN:              Did you say petroleum?
18              Listen, I have a hearing aid and I might have
19              heard you incorrectly.                  I could've sworn you
20              said PCB oils.           I'll withdraw my objection if I
21              heard it wrong.
22   BY MS. WADHWANI:
23   Q   We'll start again just to make sure that
24       Mr. Boyajian is not sitting here on an objection.
25       You note here at the bottom of page 34 the Hudson


                         TSG Reporting - Worldwide   877-702-9580
                                                                           Page 175
 1                    KIRK WYE BROWN, Ph.D.
 2       River has been contaminated with petroleum oils from
 3       a variety of sources for over a century; correct?
 4   A   Yes.
 5   Q   And that these losses from this industry made their
 6       way to the river through a variety of mechanisms;
 7       correct?
 8   A   Right.
 9   Q   And that those petroleum oils from these variety of
10       sources now in your opinion have PCBs contained
11       within them; correct?
12   A   That's correct.
13   Q   What form were the PCBs or are the PCBs that went
14       into these petroleum oils?              Were they in dissolved
15       form and absorbed onto the oils, were they in
16       sediment and the sediment holding the PCB absorbed
17       on it and became part of the oil?                     I'm just trying
18       to understand.
19   A   Both of those can happen.              And plus, at the GE
20       plants they were using mineral oil which is a
21       petroleum oil.     And so some of these pyrrols were
22       deluded with mineral oil.              And so when they were
23       discharged to the river immediately they were
24       combined with oil.        And we see that in this 1963
25       Army Corps of Engineer investigation where they saw


                    TSG Reporting - Worldwide   877-702-9580
                                                                       Page 176
 1                      KIRK WYE BROWN, Ph.D.
 2       sheen at the outfall.            Well, if it was simply pyrrol
 3       you wouldn't get a sheen.                So that's the evidence
 4       that there were other petroleum oils also being
 5       discharged from the GE facilities.
 6   Q   Okay.    The PCBs that found their ways into these
 7       petroleum oils, do you have an opinion as to what
 8       form they were in when they, I don't know if the
 9       correct word is attached or absorbed themselves to
10       the oil, so you let me know.
11                   MR. BOYAJIAN:           Objection to the form.      You
12            can answer.
13   A   Absorbed is the way to think about it or the other
14       word is to partitioned into them.
15   Q   Okay.
16   A   And they could've been in solution and then prefer
17       to be with their buddies in the oil or they could've
18       been in free-phase and a droplet of the free-phase
19       PCB came in contact with the oil and essentially
20       they mix and join together.                 One dissolves in the
21       other.
22   Q   Okay.    If a pool of DNAPL is not found in the
23       sediments or underneath the Hudson River
24       during dredging operations, will that change your
25       opinion about the presence of pools of PCBs?


                      TSG Reporting - Worldwide   877-702-9580
                                                                        Page 177
 1                     KIRK WYE BROWN, Ph.D.
 2   A   In my opinion they've already been found by evidence
 3       of these sheens that come up.
 4   Q   Okay.   And how are you defining pool here?                 Is the
 5       pool a droplet, is it an accumulation of droplets?
 6       I'm just trying to understand what you mean by pool.
 7   A   It's enough to cause a sheen.                 And so all you need
 8       is a couple of drops, and that's a pool, chemically
 9       physically that's a pool of a free-phase liquid.
10       And so it could be very small.
11   Q   So can one drop be a pool in your definition if that
12       drop causes a sheen?
13   A   Yes.
14   Q   Can you please turn to page 35 of your original
15       report, which is the next page.                  And again, we're
16       still on the opinions that you've offered in Section
17       4.6.
18   A   Yes.
19   Q   And I'm looking specifically here at the last four
20       lines in the last paragraph of page 35 where you
21       start with, "For the Waterford monitoring station
22       seven samples have been reported during 2010-2011."
23       Do you see that?
24   A   Yes.
25   Q   And you see the rest of the information that


                     TSG Reporting - Worldwide   877-702-9580
                                                                          Page 178
 1                      KIRK WYE BROWN, Ph.D.
 2       follows?
 3   A   Yes.
 4   Q   Did the seven Waterford samples in excess of
 5       225-parts per trillion in 2010 and 2011 that you
 6       note here contain Aroclor 1254?
 7   A   I don't know whether it was analyzed so you could
 8       split it out.     I haven't looked at that.               So I'd
 9       have to look at the data to see whether it's there.
10   Q   Did you know when you wrote your report whether
11       these seven samples at Waterford contained Aroclor
12       1254?
13   A   I didn't make that distinction.                  I was looking
14       simply at bulk PCBs.          We could go back and look at
15       that though.
16   Q   Okay.   And is that your same answer for these two
17       samples collected during the high-flow events in
18       March 2010 and May 2011 at Waterford that exceeded
19       1600-parts per trillion, did you make an assessment
20       at the time as to whether those contained Aroclor
21       1248?
22   A   No, I did not.
23   Q   Now, you've told me earlier today, correct, that you
24       believe Halfmoon needed an alternative water supply
25       during the dredging and the dredging off seasons;


                     TSG Reporting - Worldwide   877-702-9580
                                                                       Page 179
 1                      KIRK WYE BROWN, Ph.D.
 2       correct?
 3   A   Yes.
 4   Q   And one of the things that I'm hoping you can
 5       clarify for me from your original report, Dr. Brown,
 6       is whether you believe there will be some point in
 7       time at which Halfmoon can return to using the
 8       Hudson River as its water source or whether you
 9       think that Halfmoon should permanently be on an
10       alternative water source?
11   A   It's my opinion that despite the best efforts to
12       clean up this river the PCBs will persist for a very
13       long time.    And I believe we should all be focused
14       on towards getting the concentrations down to the
15       MCL Goal, which is zero.                 And I think it's going to
16       take many decades, if not a century, to flush
17       everything out of the river to a point where we can
18       begin to approach that.             So I think eventually
19       they'll be able to go back in the river, but it's
20       going to be a very long time.
21   Q   Is it your view that Halfmoon should not go back on
22       the river until the concentrations of PCBs in the
23       Hudson River are at the MCLG of zero?
24   A   Yes.
25   Q   And what's your basis for opining that that will


                      TSG Reporting - Worldwide    877-702-9580
                                                                          Page 180
 1                       KIRK WYE BROWN, Ph.D.
 2       take decades or upwards of a century?
 3   A   Well, GE stops using PCBs in their plants in 1977.
 4       We're now quite a few number of years past that, 40
 5       years almost, and we still see significant
 6       concentrations in the river.                  The cleanup process
 7       will and obviously has in some cases begun to
 8       diminish that.        These residues last a long time, the
 9       PCBs don't degrade, and so they're just going to be
10       persistent for a very long time in the river and in
11       the water next to the river.                  If you think about it
12       they're now PCBs in the aquifer by Stillwater.
13       Those will have to be flushed out into the river.
14       So they're additional sources have occurred.                    They
15       were sinks.     Now as the river cleans up they're
16       going to become sources to the river.                    So it will
17       take a long time for nature to flush all that out
18       after man is done doing what we can.
19   Q   Are the PCBs in the Stillwater aquifer, is it
20       necessary for those in your opinion to all be
21       flushed out and to return to a level of zero before
22       Halfmoon can return to using the Hudson River?
23   A   I think what you want to do is get the river water
24       down to zero.       I don't think it will be possible to
25       ever get them all out of the aquifers in some of


                       TSG Reporting - Worldwide   877-702-9580
                                                                           Page 181
 1                      KIRK WYE BROWN, Ph.D.
 2       these little cracks.           But if we get it to the point
 3       where their release rate is so low, that when one
 4       does an analysis you'll be at zero.
 5   Q   What do you consider a low release rate?
 6   A   A release rate that doesn't cause the river to be
 7       over zero by the analysis.
 8   Q   Well, is it your opinion that if you release into
 9       the river say 5-nanograms per liter of PCBs, that
10       the river won't be at zero or will be at zero?
11                  MR. BOYAJIAN:            Objection to the form.
12   A   If that 5-nanograms is diluted enough so that we get
13       to the point where we're at the detection limit, the
14       detection limit is less than a part per trillion,
15       which kind of is the zero level, then small releases
16       will be diluted that you won't see it anymore.                    You
17       will still have some potential, but it really
18       decreases it.
19   Q   Okay.   If you can turn to page 43 of your report,
20       please.   And I'm looking here at Section 4.10,
21       Long-Term.    And your statement here is that, "It is
22       my opinion that even with the ongoing remediation
23       the time required to return the PCB concentrations
24       in the river to levels before the start of dredging
25       could take decades, if not longer."                     And then in the


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 182
 1                     KIRK WYE BROWN, Ph.D.
 2       first paragraph concerning the basis for that
 3       opinion you say, "It is unrealistic to project the
 4       future concentrations of PCBs in the water column of
 5       the river or the future concentrations of PCBs in
 6       the water supply sources connected to the river with
 7       any certainty."      Correct?
 8   A   Yes.
 9   Q   And you stand by that opinion sitting here today?
10   A   Yes.
11   Q   Okay.   If it's unrealistic to project the future
12       concentrations of PCBs in the water column of the
13       river, then how is it that you can state that it
14       will take decades for the river to return to pre
15       dredge levels?
16   A   Because of my understanding of the mechanisms of
17       what's going on there, they are sequestered.                     And
18       certainly the caps sequestered some, which will
19       continue to diffuse into a river.                      I talked to you
20       about the Stillwater aquifer and there well may be
21       others in that regard, and those are going to
22       continue to bleed.         It's just unrealistic to predict
23       how long this is going to take.                  Although, certainly
24       the processes of diffusion and mass transfer in an
25       aquifer are known and they're rather slow.                     Once the


                     TSG Reporting - Worldwide   877-702-9580
                                                                             Page 183
 1                      KIRK WYE BROWN, Ph.D.
 2       PCBs are in the sediment in the aquifer or in the
 3       aquifer, they prefer to stay there.                     So they only
 4       very slowly partition to the water.                     And so we
 5       looked at this at many Superfund sites, and it takes
 6       a very long time to clean up the groundwater.
 7   Q   Okay.    Is it your opinion that it will definitely
 8       take decades before the PCB concentrations in the
 9       river return to the levels they were before the
10       start of dredging?
11   A   Yes.
12   Q   And what do you base that on?
13   A   The same things I just said.
14   Q   Okay.    Are you relying on any PCB data from the
15       Hudson River in support of that opinion?
16   A   Well, in a way.       I mean we certainly that know that
17       post dredging there are areas that are capped that
18       have 10, 20-milligrams per kilogram remaining.                      We
19       know as I said at Stillwater there's PCBs in that
20       aquifer.    And so there's some data points that say
21       that we're leaving significant amounts in the river
22       which will continue to then bleed out into the
23       river.
24   Q   And can you say that some of these data points will
25       bleed out into the river over time in concentrations


                      TSG Reporting - Worldwide   877-702-9580
                                                                           Page 184
 1                       KIRK WYE BROWN, Ph.D.
 2       that will not make the goal of zero possible?
 3   A   I believe eventually you will get down to the point
 4       whereas if the remediation is successful and carried
 5       through, whether -- we'll be approaching zero on
 6       bulk samples.
 7   Q   The remediation meaning the dredging?
 8   A   The dredging and the other things they're doing
 9       upstream, the continued pump and treat and use of
10       the tunnels that they drilled under the river.
11   Q   Are you referring to the tunnel draining collection
12       system at Hudson Falls?
13   A   Yes, Right.
14   Q   When you say decades, that could be between two and
15       nine.   Do you have an estimate of how many decades
16       it will take for the levels to return to their pre
17       dredging concentrations that you referred to in
18       opinion 4.10?
19   A   I'd say will beyond my lifetime.                     And I lean towards
20       the nine.
21   Q   So you think it will be upwards of nine decades?
22       And do you have a basis for that opinion that is in
23       addition to the bases that you told me earlier for
24       your opinion that it will just take decades?
25   A   No.   I've already told you my basis.


                       TSG Reporting - Worldwide   877-702-9580
                                                                          Page 185
 1                     KIRK WYE BROWN, Ph.D.
 2   Q   Okay.   And so you do believe that there's a way to
 3       broadly predict the future concentrations of PCBs in
 4       the Hudson River such that you would say that it
 5       could take upwards of nine decades to return to the
 6       pre dredging levels?
 7   A   I wouldn't use the word broadly.                   I would say
 8       predict.   And I would admit somewhat crudely, but
 9       based on what I know about other cleanups, people
10       have pumped and treated for 30 years and turned it
11       off and went back in five years and the
12       concentrations were higher then when they started.
13       So I mean once these things get into the natural
14       deposits, it's very difficult to get them all out.
15   Q   And your experience over the last 30 years have you
16       seen what happens with concentrations of a
17       contaminant that had been dredged?
18   A   No, I haven't followed dredging.
19   Q   Okay.   And so are you able to predict future
20       concentrations in the river post dredging?
21   A   Only those that I have already given you.                   That is
22       that I believe it will continue to be present for a
23       very long time.
24   Q   But that's not based on your experience with other
25       dredging sites; correct?


                     TSG Reporting - Worldwide   877-702-9580
                                                                              Page 186
 1                       KIRK WYE BROWN, Ph.D.
 2   A   True.
 3   Q   In concluding that level of PCB should be zero
 4       before it would be safe for Halfmoon to return to
 5       using the Hudson River as their water supply, did
 6       you conduct any sort of risk assessment?
 7   A   No.   I described to you earlier the basis for that.
 8   Q   Okay.   Have you ever published any articles in any
 9       peer reviewed scientific literature on health
10       effects of PCBs in animals?
11   A   I have not.
12   Q   Have you published any articles in peer reviewed
13       scientific literature on the health effects of PCBs
14       in humans?
15   A   I have not.
16   Q   Have you conducted any studies towards that end on
17       either animals or humans?
18   A   No.
19   Q   I wanted to ask you something about your opinion on
20       page 44.   I'm trying to find where specifically, so
21       please bear with me for a moment.                        I'm not able to
22       easily identify, but I wrote out the sentence I want
23       to talk to you about and you can tell me if it
24       sounds like something that you concluded in your
25       report or not.


                       TSG Reporting - Worldwide   877-702-9580
                                                                                Page 187
 1                        KIRK WYE BROWN, Ph.D.
 2                  MR. BOYAJIAN:              I'll look for it.            You go
 3             ahead and ask the questions.
 4   BY MS. WADHWANI:
 5   Q   Thank you.      So the sentence I have here is, "That
 6       such monitoring with the present technology will
 7       likely not provide representative concentrations in
 8       the river, nor will it identify spikes in the PCB
 9       concentrations within the river flow."                         And I
10       believe the monitoring you're talking about here is
11       the composite.
12   A   The composite.
13   Q   The composite.         And what do you mean by with the
14       present technology, that's my question?
15   A   Well, technology is developing rather rapidly and
16       eventually there may be a technology whereby one
17       could use, who knows, lasers or something else to
18       measure PCB in the water column.                      So what I'm saying
19       is the technology isn't here now.                         It may come in
20       the future.
21   Q   And how do you know that the current technology will
22       not provide representative concentrations or
23       identify spikes in PCB concentrations?
24   A   Well, because the current technology as we discussed
25       before, the compositing decrease doesn't result in


                        TSG Reporting - Worldwide   877-702-9580
                                                                        Page 188
 1                     KIRK WYE BROWN, Ph.D.
 2       the highest concentrations, the ones that we're
 3       really concerned about because you're mixing it with
 4       less contaminated water.                And if you take individual
 5       grab samples from the surface or from some depth,
 6       you're not sure that that's representative of the
 7       cross section of the river that's flowing down.                 So
 8       it's just a very difficult thing to sample, a river,
 9       because of again the heterogeneity of the system.
10   Q   Do you have an opinion as to whether there are
11       technologies for filtration that would make drinking
12       water that was provided to communities, treated
13       drinking water, towards the levels of PCBs that you
14       would like to see in water provided to customers as
15       opposed to what's in the river water?
16                  MR. TEDESCO:           Objection to form.
17   A   Filtration is a common water treatment and it will
18       remove some of the PCBs.                But there's no guarantee
19       that it removes all.
20   Q   Okay.   Do you know how effective a granular
21       activated carbon system is at removing PCBs?
22   A   They have been used for PCBs.                  They do provide some
23       effectiveness.      But there's always -- you have to do
24       analysis, make sure you don't exceed the capacity.
25       There's always possibility of channeling and water


                     TSG Reporting - Worldwide    877-702-9580
                                                                           Page 189
 1                      KIRK WYE BROWN, Ph.D.
 2       getting through around the filter.                     So while they
 3       help, they're not foolproof.
 4   Q   Have you looked at, and I'm not saying there's any
 5       reason why you would have, but have you looked at
 6       the data concerning the drinking water that was
 7       treated at the Village of Stillwater using the GAC
 8       filtration system, have you looked at the
 9       concentration of PCBs in the treated water?
10   A   I looked at that a long time ago, I don't recall
11       what they were.      But I do know that one of the
12       problems was the backflush water exceeded the state
13       standard for discharge.
14   Q   You mean to the Hudson River?
15   A   Into the Hudson River, yeah.
16   Q   And municipality doesn't have to discharge its
17       backwash into the Hudson River; correct?
18   A   No.   But it has to do something with it and that
19       costs money.
20   Q   Fair enough.    Do you know how much money it costs to
21       provide -- well, strike that.
22                  What alternatives would a community have
23       for dealing with its backwash discharge?
24                  MR. BOYAJIAN:           Objection to the form.
25   A   The most likely one would be granular activated


                     TSG Reporting - Worldwide   877-702-9580
                                                                             Page 190
 1                      KIRK WYE BROWN, Ph.D.
 2       carbon.
 3   Q   But you mentioned that in your view then there are
 4       issues with discharging their backwash?
 5   A   Right.
 6   Q   From a granulator activated carbon system that is
 7       being used to treat PCBs back into a water body of
 8       New York State such as the Hudson River?
 9   A   Right.
10   Q   And my question is, what are some of the other
11       options for a dealing with a backwash?
12   A   Ah, you would have to containerize it and ship it
13       off somewhere for treatment and disposal.
14   Q   Okay.    Can you please turn to page 29 of your
15       rebuttal report.        And I'm looking here at 5.8,
16       Declining Water Column Concentrations Following
17       Dredging, and this was something we were speaking
18       about earlier, Dr. Connolly's opinions concerning
19       the declining of PCBs levels in the river in
20       response to the dredging program.                       Do you see that?
21   A   Yes.
22   Q   And do you see here that as you've noted
23       Dr. Connolly was citing water column data for the
24       Thompson Island pool and the trend in that data from
25       on a before dredging and after dredging?


                      TSG Reporting - Worldwide   877-702-9580
                                                                  Page 191
 1                       KIRK WYE BROWN, Ph.D.
 2   A   Yes.
 3   Q   And the conclusions from Dr. Connolly that you cite
 4       here indicate that there is a decreasing trend in
 5       PCB concentrations at Thompson Island pool after
 6       dredging moved downstream from there; correct?
 7   A   Yes.
 8   Q   You also note that you do not question the validity
 9       of this data; correct?
10   A   Right.
11   Q   And based on this data would you agree with me that
12       the reason we don't yet see the same results at Lock
13       5, Stillwater and Waterford is because dredging
14       hasn't taken place in those locations yet?
15   A   I believe that's a major factor.
16   Q   And based on the experience at Thompson Island can
17       we expect to see similar results at Lock 5,
18       Stillwater and Waterford?
19   A   I would hope so.
20   Q   Do you have any reason to think that those results
21       won't be experienced based on the experience at
22       Thompson Island?
23   A   I would hope that the dredging would not release so
24       much to areas that aren't being dredged as they move
25       down river.     That that would be true, that it would


                       TSG Reporting - Worldwide   877-702-9580
                                                                      Page 192
 1                       KIRK WYE BROWN, Ph.D.
 2       begin to decrease as they move down river.                But the
 3       data I've seen so far doesn't indicate that.
 4   Q   And what about this Thompson Island data that
 5       Dr. Connolly has presented?
 6   A   That's shown decreases.            Yes.
 7   Q   Are you aware of the health risks of lead in the
 8       drinking water?
 9   A   Yes.
10   Q   What are they?
11   A   The health risks of lead are particularly for
12       children under the age of five, there's a direct
13       relationship between blood lead level and impaired
14       cognitive ability.
15   Q   In fact I think you were speaking about that earlier
16       this morning, correct, in connection with a case
17       that you'd recently worked on or were still working
18       on?
19   A   Yes.
20   Q   Okay.   Do you know what the MCLG is for lead?
21   A   I have to look at the table.                I haven't looked it
22       for a while.
23   Q   Okay.   Sure.    Let me see if I can help us out here.
24       I'm marking as Exhibit 12 the annual drinking water
25       quality report for 2008 for the Town of Halfmoon.


                     TSG Reporting - Worldwide   877-702-9580
                                                                          Page 193
 1                        KIRK WYE BROWN, Ph.D.
 2              (Brown Exhibit 12 was marked for
 3              identification.)
 4   BY MS. WADHWANI:
 5   Q   Have you seen this document before, Dr. Brown?
 6   A   I have not, but I'm familiar with it.
 7   Q   And please take the time if you'd like to
 8       familiarize yourself with it.                    When you're ready
 9       what I want to point you to specifically is page
10       five.    But you let me know when you're ready.
11   A   I'm ready.
12   Q   Do you see here in this chart entitled Town of
13       Halfmoon Consolidated Water District Table Detected
14       Contaminants, under the row listed inorganic, ten
15       contaminants there's a listing for lead?
16   A   Yes.
17   Q   And do you see that the MCLG there is zero?
18   A   Yes.
19   Q   And I'll represent to you that in 2008 the Town of
20       Halfmoon Consolidated Water District Table customers
21       were taking this water.               Will you accept that
22       representation?
23   A   Fine.
24   Q   And what was the level of lead detected?
25   A   It ranged from non-detect to three, and that would


                        TSG Reporting - Worldwide   877-702-9580
                                                                          Page 194
 1                       KIRK WYE BROWN, Ph.D.
 2       be -- let's see, the units would be part per billion
 3       or micrograms per liter and the average was two.
 4   Q   Okay.   And based on the fact that the MCLG here is
 5       zero.   Would it be your opinion that the water in
 6       the consolidated water district for the Town of
 7       Halfmoon would be unsafe to drink?
 8   A   No.
 9   Q   Why not?
10   A   Lead is not a known carcinogen.                    It has other health
11       problems, but it's not a carcinogen.
12   Q   Okay.   So is it your opinion that water that has
13       chemicals and contaminants that have MCLGs of zero
14       are nevertheless still safe to drink if there is
15       some level and if the contaminant present as long as
16       that contaminant of chemical is not a known
17       carcinogen?
18   A   That's one factor.           The other consideration here is
19       that adverse impacts of lead are on infants and
20       people with children under the age of five.
21   Q   And do you consider those vulnerable populations?
22   A   They are vulnerable population, and one can provide
23       other water sources if need be.                    The MCL for lead is
24       much higher than that, than the zero.                    But again,
25       there's no data that show impairment under two.


                       TSG Reporting - Worldwide   877-702-9580
                                                                        Page 195
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   Okay.    And if you could turn please to page six of
 3       this document.       And you see here a chart called
 4       Waterford Waterworks Table?
 5   A   Yep.
 6   Q   And at this point in time is it your understanding
 7       that Halfmoon was obtaining at least some of its
 8       water for its customers from the Town of Waterford?
 9   A   Yes.
10   Q   And do you see here again the entry for lead under
11       inorganic?
12   A   Yes, I do.
13   Q   And again, the MCLG is zero.                 And what is the
14       reading of the level detected here?
15   A   The reading of nine is the 90th percentile of 20
16       tests.    The action level for lead was exceeded in
17       two of the 20 tests.
18   Q   Would you consider this water unsafe to drink given
19       its detection level versus the MCLG of zero?
20   A   I wouldn't hesitate to drink it because I know that
21       adults are much less likely to be impacted.                 I would
22       say there might be a warning for children.
23   Q   Okay.    Can you -- scratch that.
24                   Is it your understanding that the water
25       provided by the Waterford WaterWorks to the Town of


                      TSG Reporting - Worldwide   877-702-9580
                                                                      Page 196
 1                      KIRK WYE BROWN, Ph.D.
 2       Halfmoon in 2008 was drawn from the Hudson River?
 3   A   That's my understanding, yes.
 4   Q   Okay.   And can you predict with any level of
 5       certainty how much lead would be in Halfmoon's
 6       drinking water if they went back to the Hudson River
 7       after dredging operations were completed?
 8                  MR. TEDESCO:            Objection to the form.
 9   A   No.
10   Q   Why not?
11   A   Well, there are other sources of lead than the
12       original water.       Lead is a common metal.           So there
13       could be sources in the piping and other things.                So
14       this may not be a result -- may or may not be a
15       result of the water source.
16   Q   Okay.   Would you be able to determine that with any
17       research or sampling?
18   A   Yes.    Upstream/downstream sampling would determine
19       that.
20   Q   Okay.   Based on what you're seeing here would you
21       tell Halfmoon not to resume taking Hudson River
22       water in the future because you can't tell them with
23       certainty how much lead will be in the water?
24   A   I would say you'd want to make a determination of
25       that before you made a decision.


                      TSG Reporting - Worldwide   877-702-9580
                                                                             Page 197
 1                       KIRK WYE BROWN, Ph.D.
 2   Q   And how would you go about making a determination
 3       about that?
 4   A   Sampling.
 5   Q   If you could please turn to page 14 of your
 6       rebuttal.   I'm looking here specifically at this
 7       Section 4.0, response to the opinions of Neil
 8       Shifrin.    The first paragraph, last sentence says,
 9       "While I do not doubt the validity of the actions on
10       the part of GE as described by Dr. Shifrin, I do
11       have reasonable doubt considering the motivations
12       behind these actions and the timing of the results."
13       Can you please explain to me what you mean here?
14   A   Well, perhaps the best example is in 1966 they had
15       an inspection by the health department.
16   Q   GE?
17   A   GE had an inspection and were told that they had to
18       do certain things, upgrades, and stop releasing
19       untreated water to the Hudson River.                     And they had a
20       period of time to respond.                 The record then
21       indicates that they didn't do anything.                    And --
22       well, no.   The record first indicates that they then
23       asked for an extension of six months.                    They got an
24       extension, but then more time went by, about a year
25       and a half, and then they began thinking about it


                       TSG Reporting - Worldwide   877-702-9580
                                                                          Page 198
 1                       KIRK WYE BROWN, Ph.D.
 2       again.    And there's a memo from Dr. Anderson, their
 3       environmental consultant, who says well, you know
 4       their investigation was really superficial.                    They
 5       don't know what we're dumping into the river.
 6       They're focused on the tin.                  They don't know how
 7       many outfalls we have or where they are, but maybe
 8       we ought to think about taking some samples.                    This
 9       is about I think two years after the initial visit.
10       So they got around, and then he said let us talk to
11       them.    We knew the health department people
12       personally.     And then they got around to some
13       sampling in November.             And finally in February the
14       results were present and Dr. Anderson looked at them
15       and said well, everything looks reasonable except
16       for a few things in particular the BOD and the COD.
17       They're going to be red flags for the regulatory
18       agency.    And I believe he knew that that was,
19       particularly the COD, was the result of oils in the
20       water being discharged to the Hudson.                    So he said
21       let's withhold that data.                 Remove it from the
22       tables.
23   Q   So what's the --
24                   MR. BOYAJIAN:            Wait.        Were you done with
25            your answer?


                       TSG Reporting - Worldwide   877-702-9580
                                                                             Page 199
 1                      KIRK WYE BROWN, Ph.D.
 2   A   No.
 3   Q   Sorry.
 4   A   So then sometime later there's an internal memo, and
 5       I can get all of these dates and exact who wrote
 6       who, so I'm doing this from memory.                      So we'll go
 7       back on it if we need to pull the individual
 8       documents.    But then internal memo saying well, we
 9       deliberately withheld this data.                    And it's a
10       layman's understanding, and I think this was Harvey
11       who's writing this, this is a layman's understanding
12       that the elevated BOD/COD would have been from oils
13       that were discharging to the river, and pyrrols and
14       oil.   So they knew that it was oil that was going to
15       the river and they had a good idea it was pyrrol.
16       Because way back in '63 they said right in their
17       document we suspect it's pyrrol going -- and PCBs
18       going into the river.
19                 So then that was about '70.                      A task force
20       is formed.    The task force makes recommendations.
21       Although they're not implemented.                       And then another
22       internal memo, which is about two years later, about
23       '72 a manager went into the plant and saw where PCBs
24       were being squeegeed down the drain and also looked
25       around and said that the conditions in the plant


                      TSG Reporting - Worldwide   877-702-9580
                                                                       Page 200
 1                KIRK WYE BROWN, Ph.D.
 2   were terrible and that it was a result of
 3   mismanagement, or he didn't use the word negligence,
 4   but he came close to it.               So here we are '66 they
 5   were told to clean up their act, '72 their still
 6   thinking about it and they haven't got it yet.                    But
 7   he says we're going to start replumbing our drains
 8   so they don't go to the river.                  So this is five
 9   years after they were notified first.                   We're going
10   to start building pans to go under our equipment to
11   catch the leakage.        It hadn't happened yet.             This
12   goes on until finally in -- '77 -- or '75 they were
13   ordered to do things.          And in fact they were
14   required give a list, I don't have exact date on the
15   list, a list of what it is they had done.                   And it
16   took an abominably long time.                 In fact, it took ten
17   years for them to get around to do anything they
18   were asked to do back in 1966, which would have
19   diminished, if not, eliminated their ongoing
20   discharges to the river of at least 30 pounds a day
21   and maybe more of PCBs.           In fact I would be quite
22   sure it was more.       Then finally they're beginning to
23   implement these things.           They were told you have a
24   build a waste water treatment plant.                   You have to
25   design it in a month and you have to build it in


                TSG Reporting - Worldwide    877-702-9580
                                                                                Page 201
 1                       KIRK WYE BROWN, Ph.D.
 2       five months.      And apparently they did that after ten
 3       years of dragging their feet.
 4                  '77 comes along and they completely stop
 5       using PCBs.     They went DOP, Dioctyl phthalate,
 6       P-H-T-H-A-L-A-T-E, as a substitute for the oil in
 7       their transformers.           That was '77.               Sometime later
 8       there's a memo in the file that reports that in fact
 9       despite all their knowledge now that they shouldn't
10       be dumping this stuff in the river, the
11       concentrations of dioctyl phthalate that they've
12       been dumping in the river exceed the 5-milligrams
13       per liter standard that they had.                        So for some
14       reason they never got around to doing what needed to
15       be done.   And when they finally did get around to
16       doing what needed to be done, they weren't paying
17       enough attention to get it done right so that they
18       weren't continuing to pollute the Hudson River with
19       this new chemical that they were using.                        So that's
20       why I say that his statements that GE was responsive
21       to environmental concerns is not true.
22   Q   And what do you mean when you say you have
23       reasonable doubt concerning the motivations behind
24       these actions?
25   A   Well, it was coverup actions.                   You don't lie to the


                       TSG Reporting - Worldwide   877-702-9580
                                                                             Page 202
 1                      KIRK WYE BROWN, Ph.D.
 2       state by withholding data from them, and then you
 3       know talk about it in further memos and still
 4       nothing is done about that.                 You've got to -- they
 5       were being told don't dump stuff in the river, don't
 6       dump your waste into the river.                   And they just
 7       ignored that for ten years.
 8   Q   And the narrative that you just presented to me, is
 9       that based on your reading of the documents?
10   A   Yes.
11   Q   Okay.   And were those documents GE documents that
12       were provided to you by Mr. Boyajian?
13   A   Yes.
14   Q   And were most of these documents sort of internal GE
15       documents or were most of them external documents to
16       GE?
17   A   Internal.
18                   MR. BOYAJIAN:           Objection to the form.
19   Q   Okay.   The 1966, the requests or notification from
20       the DOH that you mentioned earlier to stop sending
21       untreated water to the Hudson River.                    Did DOH say
22       that they were concerned about PCBs?
23   A   They did not.      And you raise a good point.                The
24       analytical techniques were not really there.                    So it
25       would have been difficult for DOH to even pick up a


                      TSG Reporting - Worldwide   877-702-9580
                                                                          Page 203
 1                     KIRK WYE BROWN, Ph.D.
 2       sample and take it and get it analyzed for PCBs to
 3       show that that's what was going on.                    But the people
 4       working at the plant knew that's what was going to
 5       the river, and they knew that the BOD and COD were
 6       elevated because of those.               And those were the
 7       standards that environmental enforcement was based
 8       on at that time.       And had they complied with those
 9       standards and did what they were asked to do, they
10       would've stopped dumping PCBs in the river at that
11       time.
12   Q   And you've obtained this from reading the documents?
13   A   I have.
14   Q   Okay.   When were PCBs first considered an
15       environmental concern?
16   A   Well, there are some early citations.                   But really it
17       came to a head in the late '60s.
18   Q   When in the late '60s?
19   A   '68, if I recall.
20   Q   Okay.   I'd like to point you to the end of page 14
21       and the beginning of page 15 of your report, which
22       says, "In my opinion the ten-year period from when
23       PCBs were first identified as an environmental
24       hazard until the elimination of PCB discharge by GE
25       in 1977 demonstrates a lack of regard by GE for the


                     TSG Reporting - Worldwide   877-702-9580
                                                                         Page 204
 1                      KIRK WYE BROWN, Ph.D.
 2       Hudson River and the residents that utilize the
 3       river as a source of drinking water."                   And is the
 4       basis for that opinion the narrative you told me
 5       about earlier?
 6   A   It is.
 7   Q   Okay.    Are you offering here an opinion on the
 8       motivations of GE in using PCBs until 1977?
 9   A   No.
10   Q   Do you know what steps GE took to address its PCB
11       discharges between 1967 and 1977?
12   A   Yes.    As I said, there's a list of those.                 They --
13       you know, for instance sealing the sewer drains they
14       said that was, if I have the dates right, ongoing
15       from '72 to '75.        It doesn't take three years to
16       seal the floor drains.             That can be done in one day
17       if you wish to do it.
18   Q   And do you know how many floor drains needed to be
19       sealed?
20   A   It doesn't make any difference.
21   Q   And what's your basis for saying that?
22   A   If you want to do it, you can get in there get a
23       crew of people and seal those floor drains very
24       quickly.
25   Q   And don't you have to come up with some way to deal


                      TSG Reporting - Worldwide   877-702-9580
                                                                     Page 205
 1                      KIRK WYE BROWN, Ph.D.
 2       with water that's now pooling on the floor?
 3   A   True enough.    You've got to then put sumps in them
 4       and begin pumping that to some kind of facility
 5       where it's recovered.
 6   Q   And does that take a day to put sumps in?
 7   A   Well, you got to get the sumps, but it's not going
 8       to take five years or three years.
 9   Q   But it'll take more than a day; correct?
10   A   I'll grant you that.          Give you two.
11   Q   Okay.   Ordering the sumps, sizing the sumps, getting
12       the sumps, installing the sumps, all these things
13       take some time; correct?
14   A   This is not rocket science though.
15   Q   All of these things take some time; correct?
16   A   It takes some time.         But they are locally available
17       from supply houses.
18   Q   Do you know it was locally available from supply
19       houses back in the early '70s near Fort Edward and
20       Hudson Falls, New York?
21   A   These were commonly used equipment.
22   Q   Do you know what was locally available in the late
23       '60s and early '70s near Hudson Falls and Ford
24       Edward, New York?
25                 MR. BOYAJIAN:            Objection to the form.


                     TSG Reporting - Worldwide   877-702-9580
                                                                      Page 206
 1                      KIRK WYE BROWN, Ph.D.
 2   A   I have not made a survey there during that time
 3       period, but I can assure you that they were
 4       available.
 5   Q   Okay.   I'd like you to stay on page 15 please and
 6       I'm looking here at the first full paragraph that
 7       starts "Monsanto the manufacturer of PCBs."               I'm
 8       going to focus your attention on the last sentence
 9       there which says, "In my opinion the time required
10       to complete the control and containment measures in
11       the storage and transfer locations of Pyranol show
12       the lack of commitment on the part of GE to
13       environmental protection."                Why in your opinion does
14       the time it took GE to complete control and
15       containment measures in a storage and transfer
16       location show a lack of commitment by GE to
17       environmental protection?
18   A   Well, again it just simply took far too long.
19   Q   But how does that demonstrate a lack of commitment
20       to environmental protection?
21   A   Well, if they were committed to protecting the
22       environment, they would've moved much more quickly
23       to detect and repair pipe leakage and to provide an
24       impermeable surface where the unloading was taking
25       place and where the transfers were taking place, so


                      TSG Reporting - Worldwide   877-702-9580
                                                                 Page 207
 1                      KIRK WYE BROWN, Ph.D.
 2       that PCBs that spilled would not drain directly into
 3       the soil.
 4   Q   And in your opinion how long should those control
 5       and containment measures in the storage and transfer
 6       locations have taken?
 7   A   A month.    Two at the outside.
 8   Q   What's the basis for that opinion?
 9   A   I've done such things myself in those timeframes.
10   Q   Okay.    Any other basis?
11   A   No.    That will do it.
12   Q   Okay.    Please turn to page 16, paragraph two which
13       is the one that starts following the Monsanto
14       announcement in 1970.            Do you see that?
15   A   Yes.
16   Q   You refer to control measures undertaken by GE to
17       reduce PCB waste water discharges and state that in
18       your opinion, "five years to implement these control
19       measures was excessive, indicating a lack of
20       responsiveness on behalf of GE to fix the problems
21       that they had allowed to continue for decades."
22       What is the basis for your opinion that GE's
23       implementation of control measures to reduce waste
24       water PCB discharges took "excessive amount of
25       time"?


                      TSG Reporting - Worldwide   877-702-9580
                                                                              Page 208
 1                       KIRK WYE BROWN, Ph.D.
 2   A   Well, as we discussed some of these things could be
 3       done rather quickly.            Even if you, okay, got to get
 4       a design engineer in there and get replumbing and
 5       repiping.    This shouldn't take five years.                    They
 6       built the Pentagon in nine months.
 7   Q   Do you know what drainage improvements were made?
 8   A   Yes.    Eventually they developed drainage system that
 9       they could collect the drainage.                     They eventually
10       put a impermeable cover under the off-loading site
11       at the railroad and where the tanks were that
12       leaked, and provided pumpage so they could recover
13       that water.     And not only the rainwater, but the
14       PCBs that leaked there.
15   Q   And why do you think that the time it took GE to
16       reduce its PCB waste water discharges indicates a
17       lack of responsiveness on GE's behalf?
18                   MR. BOYAJIAN:            Objection.          Asked and
19              answered.      You can answer again.
20   A   Just because it was quite possible to do it much
21       more quickly had they bothered to try.
22   Q   Okay.    On the bottom of pages 16 and the top of page
23       17 you're talking about here the disposition of the
24       notices of violation by the state.                       And what is the
25       opinion you're offering here?


                       TSG Reporting - Worldwide   877-702-9580
                                                                   Page 209
 1                      KIRK WYE BROWN, Ph.D.
 2   A   That it was ignored.
 3   Q   How do you know that?
 4   A   Well, the record clearly shows that they first asked
 5       for, as I said before, a six-month extension.             And
 6       then they drug their feet and finally got around to
 7       take some samples and then they hid the data from
 8       the state.    And it took them a decade to get around
 9       to doing what the state asked in '66.
10   Q   So from your reading of the documents you've
11       concluded that GE just ignored the things it was
12       asked to do for a period of time that it shouldn't
13       have?
14   A   Right.   They waited until they were forced to do it.
15   Q   Moving now to Section 4.2, General Electric use and
16       handling of PCBs.         I'd like you to turn to page 18
17       on the top paragraph on page 18 which says, "The
18       loss rate of PCBs by the GE facilities was excessive
19       even when compared to relatively lack standards
20       cited by Dr. Shifrin."             On what do you base your
21       opinion that GE's loss rate of PCB at Fort Edward
22       and Hudson Falls was excessive?
23   A   Well, when you're looking at the numbers that were
24       developed, you know, 10,000-pounds a year or a
25       thousand pound a year or even smaller numbers that


                      TSG Reporting - Worldwide   877-702-9580
                                                                              Page 210
 1                       KIRK WYE BROWN, Ph.D.
 2       they proposed later, those are massive amounts of
 3       PCBs.   Because we're talking about, even the lack
 4       drinking water standard we're dealing with, we're
 5       talking about contaminating billions of gallons of
 6       water with a very small amount of PCBs, and here
 7       they're discharging tons of it.
 8   Q   Okay.   And did you compare GE's loss rate of PCBs
 9       with that of other transformer and capacitor
10       manufacturers at the time?
11   A   They were the major manufacturer.
12   Q   My question was, did you compare GE's loss rate of
13       PCBs with that of other transformer and capacitor
14       manufacturers at the time?
15   A   I have not.
16   Q   Did you compare GE's loss rate with that of other
17       industry users of PCBs at the time?
18   A   I have not, but that's no excuse.
19   Q   Did you compare GE's loss rate with regulations and
20       scientific knowledge concerning PCBs at the time?
21   A   Well, if we look at the regulations, certainly by
22       1963 they were warned not to dump oil into the river
23       by the Army Corps of Engineers.                    They said if we
24       come back and find you doing it again, we'll turn
25       you over to court, federal court.                        I can't see where


                       TSG Reporting - Worldwide   877-702-9580
                                                                             Page 211
 1                      KIRK WYE BROWN, Ph.D.
 2       they ever -- a record of what happened next.                       But at
 3       that time they were warned, don't dump it in the
 4       river.   And they continued to do that in massive
 5       amounts.
 6   Q   Okay.    So that is your comparison of GE's loss rate
 7       with the regulations and scientific knowledge
 8       concerning PCBs at the time?
 9   A   They knew it was an oil, they knew it wasn't to go
10       in the river.      That's scientific.                   It's not a cow
11       that's not going in the river.                   It's oil.      They knew
12       what oil was and they knew that because of the
13       navigation law Corps of Engineering was saying you
14       can't dump that in the river.                  So they were warned
15       before people came out with the toxicity data.                       And
16       my point is had they taken action at that time to
17       prevent it from going in the river, they would've
18       prevented such a large contamination that
19       resulted -- by going forward without stopping that
20       practice.
21   Q   Okay.    You refer here on page 18 to estimates of PCB
22       loss by J.S. Nelson and Kenneth R. Murphy, referred
23       to as K.R. Murphy.          And based on those you estimate
24       that over a million pounds of PCBs were lost to the
25       environment each year by GE; correct?


                      TSG Reporting - Worldwide   877-702-9580
                                                                    Page 212
 1                       KIRK WYE BROWN, Ph.D.
 2   A   Yes.
 3   Q   And is your opinion concerning the one million
 4       pounds based on the Nelson and Murphy documents you
 5       cite here?
 6   A   That, among other things.
 7   Q   What other things?
 8   A   I'm looking for it.           Let me see if I can't it.     One
 9       piece of evidence is a declaration of John A.
10       Harrington.
11   Q   And I believe you told me earlier, Dr. Brown, that
12       you had not looked at the Harrington declaration
13       until after you had written your rebuttal report.
14       Correct?
15   A   That's true.      But it's not --
16   Q   And so you did not rely on that --
17                   MR. BOYAJIAN:            Would you let him finish
18              his answer?
19   A   That's true, but certainly supports it.
20   Q   But you did not rely on that for purposes of
21       drafting your opinions here; correct?
22   A   That's correct.
23   Q   And so what I'm asking is for your opinions here do
24       you base the opinion that over one million pounds of
25       PCBS were lost to the environment each year by GE on


                       TSG Reporting - Worldwide   877-702-9580
                                                                           Page 213
 1                        KIRK WYE BROWN, Ph.D.
 2       anything in addition to the Nelson and Murphy
 3       documents that you cite here?
 4                   MR. BOYAJIAN:           Note my objection for the
 5              record.    When you say here, are you referring
 6              to the four corners of his written report which
 7              contains a statement that he can supplement it
 8              with new information, or just the report
 9              itself?
10   Q   I'm referring to the report which you presented
11       contain your opinions at the time that you submitted
12       the report; correct?
13   A   Yes.    And I relied on the documents -- at that time
14       on the documents that are cited here.                    Since then
15       I've come upon additional information.
16   Q   Okay.
17   A   That I wanted to share with you so it wouldn't be a
18       surprise.
19                   MS. WADHWANI:           I'm going to go ahead and
20              mark both of these for housekeeping and then we
21              can deal with them one by one.                   So we are going
22              to mark as Exhibit 13 a memo by J. S. Nelson
23              dated October 30th 1969.                I think that's 13
24              correct?
25              (An off-the-record discussion.)


                      TSG Reporting - Worldwide   877-702-9580
                                                                      Page 214
 1                        KIRK WYE BROWN, Ph.D.
 2                  MS. WADHWANI:              And I'm going to mark as
 3             Exhibit 14 a letter and attachments from
 4             Kenneth R. Murphy dated June 5th, 1970 to
 5             Pyranol task force.
 6             (Brown Exhibits 13 and 14 was marked for
 7             identification.)
 8                  VIDEOGRAPHER:              One moment, please.   At
 9             4:34 p.m. this is the end of disk three.               Disc
10             four will follow.
11             (There was a short recess in the proceedings.)
12                  VIDEOGRAPHER:              At 4:38 p.m. on April 16th,
13             2014 this is disk four of the testimony of
14             Dr. Brown.        Please proceed.
15   BY MS. WADHWANI:
16   Q   Dr. Brown, I'd like to first direct your attention
17       to what we marked just a moment ago as Exhibit 13,
18       and ask you if this is the Nelson report to which
19       you refer in your expert report and rebuttal in this
20       case?
21   A   Yes, I believe it is.
22   Q   Can you please point me to where you obtained the
23       figure that you state in your rebuttal report that
24       makes it "very clear that GE released large
25       quantities of PCBs into the environmental each


                        TSG Reporting - Worldwide   877-702-9580
                                                                       Page 215
 1                      KIRK WYE BROWN, Ph.D.
 2       year"?
 3   A   Well, we do have on page four where materials were
 4       town dump or daily buried practices, 6,000 pounds.
 5   Q   You referring to section four here?
 6   A   Yes.
 7   Q   Does it state anywhere here in section four that
 8       over a million pounds of PCBs were released to the
 9       Hudson River?
10   A   I don't see it in this one.
11                   MR. BOYAJIAN:           A million pounds total or
12              per year?
13   Q   Does it say anywhere here that over a million pounds
14       PCBs per year were released to the Hudson River?
15   A   Yeah.    We may have the wrong reference.               I'm not
16       clear on this.       Something doesn't seem copesetic
17       here.
18   Q   Okay.    You're not sure if this is the Nelson report
19       to which you referred?
20   A   Right.
21   Q   You think it could be a different one?
22   A   Yes.
23   Q   Can you describe that report to me that you think
24       you might be referring to?
25   A   I'd have to look it up, see where I can find it.


                      TSG Reporting - Worldwide   877-702-9580
                                                                          Page 216
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   Is it listed in the documents you considered in your
 3       expert report?
 4   A   I believe it is.        Yes.
 5   Q   So let's move on then to Exhibit 14.                    Is this the
 6       K.R. Murphy document you referred to in your report?
 7   A   Yes.
 8   Q   Does it state anywhere here that over a million
 9       pounds of PCBs were released into the Hudson River
10       each year?
11   A   Well, it gives a range, 500,000 pounds to 1,400 --
12       1,400,000 pounds of liquid PCB were discharged
13       directly to bodies of water.                 And the Hudson River
14       was the major receiving stream.
15   Q   Does it say 500,000 pounds to 1,400,000 pounds or
16       500,000 thousand pounds a year of the 1.4 million
17       pounds a per year of liquid PCBs?
18   A   Okay.   Yes, it says 500,000 pounds per year of the
19       1.4 million pounds per year.
20   Q   Do you know what Dr. Murphy did to arrive at the
21       estimates he presented here?
22   A   It's my understanding that he interviewed people.
23   Q   What's the basis of that understanding?
24   A   That's just a vague memory.
25   Q   Do you know -- do you know who Dr. Murphy


                      TSG Reporting - Worldwide   877-702-9580
                                                                            Page 217
 1                       KIRK WYE BROWN, Ph.D.
 2       interviewed?
 3   A   No.    I haven't been able to track that.
 4   Q   Do you know what analyses Dr. Murphy performed?
 5   A   No.
 6   Q   Do you know if Dr. Murphy looked at any data?
 7   A   I don't know whether he did or not.                      He was sent
 8       there to figure out how much was lost, but I don't
 9       know what his procedure was.
10   Q   Do you know how long Dr. Murphy spent working on
11       this issue?
12   A   No.
13   Q   Do you know if others at the General Electric
14       Company disagreed with Dr. Murphy's estimates here?
15   A   Apparently there's some disagreement, because if you
16       look at the table on -- it has a couple of Bates
17       stamps.
18   Q   Sure.    If you can just tell me what the table title
19       is that might help us?
20   A   Okay.    Specific pyrrol losses pounds per year.
21   Q   So that's the second to last page of this document?
22   A   Yes.    And there's a number which I think was
23       2,500 pounds from Hudson Falls.                    Someone crossed it
24       out and said 15,000.            And they did the same thing on
25       the next diagram.          I have a vague memory that that


                       TSG Reporting - Worldwide   877-702-9580
                                                                          Page 218
 1                      KIRK WYE BROWN, Ph.D.
 2       was because they were trying to reflect what they
 3       were doing later on, that they were decreasing this
 4       number.
 5   Q   What who was doing later on?
 6   A   That GE was beginning to decrease their releases and
 7       that the 15,000 was a number which would have
 8       applied to years after Murphy did his original
 9       study.    But that's just a vague memory.                 I'd have to
10       dig things out to...
11   Q   Do you know if others at the GE Company disagreed
12       with Dr. Murphy's estimates contemporaneous with the
13       time at which he submitted his memo?
14                   MR. BOYAJIAN:           Objection to the form.
15   A   Yeah.    I don't know the timeframe in which those
16       agreements or disagreements took place.
17   Q   Okay.    So you don't know if there were disagreements
18       with Dr. Murphy in 1970 after June 5th when he
19       submitted this memo?
20   A   That's correct.
21   Q   Can you please turn to Section 4.3 of your rebuttal,
22       which is on pages 18 through 19.                    And I'm actually
23       going to direct you to page 19.
24   A   I've got it.
25   Q   Are you there?


                      TSG Reporting - Worldwide   877-702-9580
                                                                       Page 219
 1                    KIRK WYE BROWN, Ph.D.
 2   A   Yes.
 3   Q   And I'm going to focus on the paragraph that is
 4       arguably the second full paragraph, but it's the one
 5       in the middle of the page that starts, "I strongly
 6       disagree with Dr. Shifrin."               Do you see that?
 7   A   Yes.
 8   Q   And you say, "I strongly disagree with Dr. Shifrin
 9       in that GE did understand the potential for leaks
10       and spills to cause environmental concerns."                 And
11       you cite here to is it the Hanford site?
12   A   Yes.
13   Q   And this project at the Hanford site involved
14       radionuclides?
15   A   It did.
16   Q   Why in your opinion should the information gleaned
17       by GE from working with radionuclides at the Hanford
18       site have taught them something about fate and
19       transport of PCBs?
20   A   That the mechanisms are the same.
21   Q   What are those mechanisms?
22   A   The leaking of these containments onto the surface
23       is well understood at Hanford, which was the United
24       States Atomic Energy Commission site that was
25       managed by GE at the time, so these people worked


                    TSG Reporting - Worldwide   877-702-9580
                                                                     Page 220
 1                  KIRK WYE BROWN, Ph.D.
 2   for GE.    They well understood that contaminants
 3   released on the surface drained down and reached the
 4   water table, and that it then moved laterally
 5   down-gradient towards the river and eventually
 6   discharged into the river.                And in fact they
 7   eventually traced it all the way to the Pacific
 8   Ocean.    They were doing calculations of that.                 They
 9   had models set up and they also had computer models
10   set up.    The first models were done by hand.                 They
11   then developed computer models.                   And they studied
12   not only radioactive things that moved, but also in
13   addition to just moving in the water.                   They looked
14   at moving in oil.         So they were looking at two-phase
15   movement.    All that information was available, was
16   available to GE because these people were on GE's
17   payroll.    In fact you can trace that some of those
18   reports were sent to Schenectady here to GE.                   So
19   they were aware of it here in New York.                   It wasn't
20   something in some foreign land somewhere else.                   And
21   Shifrin says nothing was known about this.                   He's
22   right, nothing was known to him about this.                   But GE
23   knew it, and they could have used that information
24   to begin investigating and finding out what happened
25   to the leaked PCBs and could have stopped the flow


                  TSG Reporting - Worldwide   877-702-9580
                                                                              Page 221
 1                        KIRK WYE BROWN, Ph.D.
 2       to the river a whole lot quicker.
 3   Q   Are the fate and transport mechanisms of
 4       radionuclides and PCBs the same?
 5   A   They differ, but the principles are known how they
 6       differ.
 7   Q   How do they differ?
 8   A   Well, they both dissolve in water.                         They will have
 9       different absorption coefficients on the particles
10       through -- pass which they move.                         But those are
11       parameters that were being studied and known at the
12       time.
13   Q   And what are radionuclides?
14   A   Radionuclides are chemicals or atoms that emit
15       radiation.
16   Q   And thank you.        Even though it's spelled the way it
17       is, it's radionuclides.
18   A   Oops.
19   Q   I'm going to follow your pronunciation because you
20       will know better than me.
21   A   Yep.    Radionuclides is what it should be.
22   Q   Okay.    Radionuclides?
23   A   Yes.    Spellcheck doesn't catch these things.
24   Q   No worries.      Do radionuclides share the same
25       chemical properties as PCBs?


                       TSG Reporting - Worldwide   877-702-9580
                                                                          Page 222
 1                       KIRK WYE BROWN, Ph.D.
 2   A   They will -- as I said, there are certain
 3       characteristics that are known about different
 4       chemicals, their solubility in water, their
 5       partition coefficients, their density, their vapor
 6       pressure, their Henry's Law constant.                    All of those
 7       parameters can be put into a model that will handle
 8       radionuclides.        The same model will handle organic
 9       chemicals like PCB if you just change the parameters
10       in there that are specific to each chemical and that
11       you can calculate how far these move.
12   Q   Do -- strike that.
13                   Is a radionuclide an atomic particle?
14   A   Yes.
15   Q   Do radionuclides contain the same level of
16       solubility as PCBs?
17   A   It's different.        But what I said is if you have a
18       model that runs radionuclides and now you want to
19       run the model with PCBs, you change the parameters
20       that are specific to PCBs and then the model will
21       show you how the PCBs move in the groundwater.
22   Q   Right.    By my question wasn't about the model.                 My
23       question was just do they contain the same level of
24       solubility?
25   A   No.    They will differ.


                       TSG Reporting - Worldwide   877-702-9580
                                                                          Page 223
 1                      KIRK WYE BROWN, Ph.D.
 2   Q   Okay.   Can you please turn to page 32 of your
 3       rebuttal.    And I'd like to look at Section 6.2, Use
 4       of Granular Activated Carbon.                  Can you tell me what
 5       opinion you're offering here?
 6   A   Well, as I said before, it's a potential water
 7       treatment.    It's been used elsewhere for other
 8       chemicals and PCBs.          It's expensive.            You've got to
 9       discharge the water.           The backflush exceeds the
10       90-nanograms per liter for the State of New York.
11       It's a -- there are -- it's not perfect.                   There's a
12       list they're tunneling which causes breakthrough,
13       ineffective absorption, loss of particulates from
14       the filter, additional manpower, testing, energy.
15       So it's cost -- and it's not foolproof.                   So that's
16       the problem with it.
17   Q   And when you're talking about in the second
18       paragraph on page 32, "I was not in favor with the
19       decision to use activated carbon as a treatment
20       process for drinking water," are you referring there
21       to both granular activated carbon and powered
22       activated carbon?
23   A   Yes.
24   Q   Are you aware that Halfmoon designed and built its
25       water treatment plant in the early 2000s with a


                      TSG Reporting - Worldwide   877-702-9580
                                                                        Page 224
 1                       KIRK WYE BROWN, Ph.D.
 2       powder activated carbon or PAC systems?
 3   A   Yes.
 4   Q   Before Halfmoon switched over to Troy water during
 5       the Phase 1 dredging season in May of 2009, what did
 6       the Town of Halfmoon do with its backwash from its
 7       PAC system?
 8   A   I'm not aware of what they did with it.
 9   Q   Okay.    And is that also true of when Halfmoon
10       resumed using its water treatment plant after the
11       Phase 1 dredging season and before again went to
12       Troy water in March of 2010 that you don't know how
13       it disposed of its PAC backwash?
14   A   No, I don't.
15   Q   You refer here in this paragraph that I was just
16       talking about at the end of the paragraph in
17       parentheticals to the added expense for disposal and
18       handling costs Halfmoon would have incurred had it
19       relied on a PAC system during dredging.                  Do you know
20       how much those added expenses would have been?
21   A   No.    I didn't have an opportunity to get those
22       together.
23   Q   Okay.    So can you say sitting here today whether
24       those expenses would have been more or less than the
25       incremental cost Halfmoon was paying for obtaining


                       TSG Reporting - Worldwide   877-702-9580
                                                                            Page 225
 1                        KIRK WYE BROWN, Ph.D.
 2       Troy water?
 3   A   I don't know.
 4                 MR. TEDESCO:              Object to the form.
 5   Q   Please turn to page 33 at the top.                       So I'm still in
 6       the Section 6.2 and just closing out with your
 7       opinions here.        What is the basis for your opinion
 8       that the Troy water connection was the least
 9       additional cost for the Town of Halfmoon?
10   A   Well, most reliable I believe -- I have to go back
11       and check what I looked at on the costs.                       I don't
12       recall.
13   Q   Do you know what the cost differential between the
14       incremental water used through the connection with
15       Troy versus Halfmoon using a PAC system
16       during dredging would have been?
17   A   No, I'd have to look at the information on that.
18   Q   So are you able to say that the City of Troy
19       connection was the least add-on cost option?
20                 MR. TEDESCO:              Objection to the form.
21   A   At the time I wrote the report that opinion was
22       based on what I had available to me.                       But I haven't
23       looked at that since.
24   Q   And what was available to you?
25   A   There were some documents, but it's vague to me.


                       TSG Reporting - Worldwide   877-702-9580
                                                                        Page 226
 1                      KIRK WYE BROWN, Ph.D.
 2       I'd have to go back and look.
 3   Q   All right.    But you didn't include in your report
 4       here any assessment on the cost?
 5   A   I did not.
 6   Q   If you could please turn to page 35 of your
 7       rebuttal.    Now, it's your opinion, correct, that
 8       Halfmoon's use of Troy water full-time during the
 9       Phase 1 on-season dredging period and since March
10       2010 is consistent with the NCP; correct?
11   A   Yes.
12   Q   What is the basis for that opinion?
13   A   Well, the EPA and the state approved that.                 And if
14       they're the regulatory agency, so my understanding
15       is their approval of such a switch means that it's
16       substantially in compliance with the NCP.
17   Q   Did you review any provisions of the NCP prior to
18       arriving at your opinions in these reports?
19   A   I don't remember specific provisions, but I've
20       looked at that many times in the past.                  And so I was
21       relying on my memory and understanding of it.
22   Q   And when you say in the past, do you mean for
23       projects other than the project that you engaged for
24       in this case, meaning these rebuttal reports?
25   A   Yes.


                      TSG Reporting - Worldwide   877-702-9580
                                                                  Page 227
 1                     KIRK WYE BROWN, Ph.D.
 2   Q   When is the last time that you looked at the NCP?
 3   A   Oh, it's been three or four years.
 4   Q   Now, you don't cite any NCP provisions in your
 5       rebuttal report.       So my question is what provisions
 6       did you rely upon in coming to your conclusion here
 7       that Halfmoon's decision to go on Troy water
 8       full-time was consist with the NCP?
 9   A   I didn't cite anything.            And the other thing I would
10       say it's more really a legal question than a
11       scientific technical question.
12   Q   Okay.   But you've offered an opinion --
13   A   I did, yes, I admit that.
14   Q   Dr. Brown, and I'm just trying to understand the
15       basis for that opinion.
16   A   It was my understanding of what was consistent with
17       the NCP.
18   Q   And I'm saying what provisions of the NCP did you
19       rely upon in coming to your conclusion that
20       Halfmoon's use of Troy water was consistent with the
21       NCP?
22   A   I'd have to go back and review it to tell you which
23       ones.
24   Q   Is it your opinion that Halfmoon's actions
25       constitute a response action or a remedial action


                     TSG Reporting - Worldwide   877-702-9580
                                                                       Page 228
 1                      KIRK WYE BROWN, Ph.D.
 2       under CERCLA and the NCP?
 3   A   Well, that's a legal question.
 4   Q   So you're not able to say either way?
 5   A   I wouldn't say either way.
 6   Q   Does the NCP include the steps that a party has to
 7       take in order to make a cost recovery claim for
 8       response costs under CERCLA?
 9   A   Yes, they do.
10   Q   What steps under the NCP was Halfmoon required to
11       take?
12   A   I'd have to go back and check.                  I haven't looked at
13       that for a long time.
14   Q   Do you know if Halfmoon in fact took those steps?
15   A   I do not.
16   Q   And what is the basis for your disagreement with
17       Mr. Johnson that Halfmoon was not responsible for
18       performing an RI/FS under the NCP?
19   A   Well, if you're the responsible party for a
20       Superfund sight and your waste leaks over onto
21       somebody else's property or runs down a stream and
22       inhibits somebody from using that, the owner of the
23       property or the person trying to draw that stream
24       are not responsible for doing an RI/FS.                  It's the
25       originator of the waste.                The originator of the


                     TSG Reporting - Worldwide   877-702-9580
                                                                               Page 229
 1                      KIRK WYE BROWN, Ph.D.
 2       contamination in my view that has to do that RI/FS.
 3   Q   Do you know if under the NCP Halfmoon was required
 4       to perform an RI/FS?
 5   A   If they were, I'm not aware of that.
 6   Q   I just have a few housekeeping things to discuss
 7       with you, so I'm going to go back to your original
 8       report, and I'd like to focus you on Section 4.9.
 9       And the opinion that -- I'm sorry, that's on page
10       41, but I think you might have found that.                      The
11       opinion here is, "That in order to restore the well
12       field for future use, it is my opinion that the PCBs
13       and the aquifer materials of the Stillwater aquifer
14       must be removed, and the aquifer must be isolated
15       from the river so that infiltration from the river
16       cannot recontaminate the aquifer."                      Was this an
17       opinion that you were offering in support the
18       Village of Stillwater's claims in this case?
19   A   Yes.
20   Q   And now that the Village of Stillwater has settled
21       with GE, do you intend not to offer this opinion at
22       trial?
23   A   It won't be pertinent.
24   Q   Okay.    And is that true throughout your reports that
25       insofar as you have opinions here concerning claims


                      TSG Reporting - Worldwide   877-702-9580
                                                                       Page 230
 1                    KIRK WYE BROWN, Ph.D.
 2       for alternative water by Waterford and Stillwater,
 3       you don't intend to offer those at trial; correct?
 4   A   Some of those would also be applicable to Halfmoon
 5       and the potential for Saratoga County Water
 6       Authority claims and I would reserve those to be
 7       used at trial as necessary.
 8   Q   Well, I guess my question is, you don't intend to
 9       speak to the claims by Waterford and the Village of
10       Stillwater as made in this litigation that they
11       required alternative water and that they are owed
12       recovery for the costs incurred?
13   A   No, not that.    But the technical basis is the same
14       for all parties.
15                 MS. WADHWANI:           Okay.        Just give me two
16            minutes.    I think we're done, but I just want
17            to look at my notes.
18                 VIDEOGRAPHER:           Would you like to go off
19            the record?
20                 MS. WADHWANI:           Yes, please.
21                 VIDEOGRAPHER:           Off the record at 5:04 p.m.
22            (There was a short recess in the proceedings.)
23                 VIDEOGRAPHER:           On the record at 5:09 p.m.
24                 MS. WADHWANI:           Dr. Brown, I have no
25            further questions.           Thank you very much for


                    TSG Reporting - Worldwide   877-702-9580
                                                          Page 231
 1            KIRK WYE BROWN, Ph.D.
 2   your time today.
 3        THE WITNESS:            Thank you.
 4        VIDEOGRAPHER:               At 5:09 p.m. this ends
 5   today's deposition.               Thank you.
 6   (Whereupon, at 5:09 p.m., the examination of
 7   KIRK WYE BROWN, Ph.D. in the above-entitled
 8   matter was concluded.)
 9                           *****
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



          TSG Reporting - Worldwide   877-702-9580
                                                                 Page 232
 1
 2                                 EXHIBITS
 3   BROWN
     EXHIBIT NO.               DESCRIPTION                       PAGE
 4
     Exhibit 1     Dr. Brown's expert witness report              10
 5
     Exhibit 2     Dr. Brown's expert rebuttal report             10
 6
     Exhibit 3     Dr. Brown's updated resume                     11
 7
     Exhibit 4     John Connolly's expert witness report         106
 8
     Exhibit 5     Group of documents                            119
 9
     Exhibit 6     Statistical analysis of water
10                 sample for Stillwater                         125
11   Exhibit 7     Hudson River PCBs Site Revised
                   Engineering Performance Standards
12                 for Phase 2                                   138
13   Exhibit 8     Hudson River PCBs Reassessment
                   RI/FS Feasibility Study                       150
14
     Exhibit 9     Figure 1-3a from Connolly's report            152
15
     Exhibit 10    Figure 1-3c from Connolly's report            153
16
     Exhibit 11    Figure 1-3d from Connolly's report            154
17
     Exhibit 12    Annual Drinking Water Quality
18                 Report for 2008 for Town of
                   Halfmoon Consolidated Water District          194
19
     Exhibit 13    Memo by J.S. Nelson, 10/30/69                 215
20
     Exhibit 14    Letter w/attachments to Pyranol
21                 Task Force from K.R. Murphy,
                   6/5/70                                        215
22
23                             WITNESS INDEX
24                                                               PAGE
25   Examination by Ms. Wadhwani                                   5

                      TSG Reporting - Worldwide   877-702-9580
                                                                     Page 233
 1

 2   STATE OF NEW YORK                     )
 3                                         ss.
 4   COUNTY OF                             )
 5

 6               I, Kirk Wye Brown, Ph.D., have read the
 7               foregoing record of my testimony taken at the
 8               time and place as noted in the heading hereof
 9               and I do hereby acknowledge it to be a true and
10               correct transcript of the same.
11

12

                               ________________________________
13

                                             KIRK WYE BROWN, Ph.D.
14

15   Sworn to before me this ______
16

     day of _______________, 201___
17

18

     _______________________________
19   Notary Public
     Commission Expires:
20

21

22

23

24

25



                       TSG Reporting - Worldwide   877-702-9580
                                                                    Page 234
 1

 2

 3                    C E R T I F I C A T I O N
 4

 5              I, Diane Daly-Gage, Shorthand Reporter and
 6              Notary Public in and for the State of New York,
 7              do hereby certify that the foregoing record
 8              taken by me at the place and date noted in the
 9              heading hereof is a true and accurate
10              transcript of same to the best of my ability
11              and belief.
12

13                                      _________________________
14                                                Diane Daly-Gage
15

16   Dated:   April 28, 2014
17

18

19

20

21

22

23

24

25



                      TSG Reporting - Worldwide    877-702-9580
                                                                     Page 235
 1   NAME OF CASE:
 2   DATE OF DEPOSITION:
 3   NAME OF WITNESS:
 4   Reason Codes:
 5        1.   To clarify the record.
 6        2.   To conform to the facts.
 7        3.   To correct transcription errors.
 8   Page ______ Line ______ Reason ______
 9   From _____________________ to _____________________
10   Page ______ Line ______ Reason ______
11   From _____________________ to _____________________
12   Page ______ Line ______ Reason ______
13   From _____________________ to _____________________
14   Page ______ Line ______ Reason ______
15   From _____________________ to _____________________
16   Page ______ Line ______ Reason ______
17   From _____________________ to _____________________
18   Page ______ Line ______ Reason ______
19   From _____________________ to _____________________
20   Page ______ Line ______ Reason ______
21   From _____________________ to _____________________
22

23                                               ________________________
24

25



                     TSG Reporting - Worldwide    877-702-9580
